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UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT
                 ______________________
                              VIRNETX INC.,
                                 Appellant
                                      v.

                                APPLE INC.,
                                  Appellee
                          ______________________
                                 2022-1523
                          ______________________
          Appeal from the United States Patent and Trademark Office,
              Patent Trial and Appeal Board in No. 95/001,682
                         ______________________
          OPENING BRIEF FOR APPELLANT VIRNETX INC.
                    ______________________

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                        SELECTED CLAIM AT ISSUE

                            U.S. Patent No. 6,502,135

Claim 18:

     A method of transparently creating a virtual private network (VPN)
     between a client computer and a target computer, comprising the steps
     of:

        (1) generating from the client computer a Domain Name Service
        (DNS) request that requests an IP address corresponding to a domain
        name associated with the target computer;
        (2) determining whether the DNS request transmitted in step (1) is
        requesting access to a secure web site; and
        (3) in response to determining that the DNS request in step (2) is
        requesting access to a secure target web site, automatically initiating
        the VPN between the client computer and the target computer,
        wherein:

     steps (2) and (3) are performed at a DNS server separate from the client
     computer, and step (3) comprises the step of, prior to automatically
     initiating the VPN between the client computer and the target computer,
     determining whether the client computer is authorized to resolve
     addresses of non secure target computers and, if not so authorized,
     returning an error from the DNS request.
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                        CERTIFICATE OF INTEREST
Counsel for Appellant VirnetX Inc. certifies the following:

   1. The full name of the party represented by me in this case is:

            VirnetX Inc.

   2. The name of the real party in interest represented by me is:

            None

   3. All parent corporations and any publicly held companies that own 10 percent
      or more of the stock of the party represented by me are:

            VirnetX Holding Corporation

   4. All law firms, partners, and associates that appeared for the party represented
      by me in the agency below, or are expected to appear in this Court (and who
      have not or will not enter an appearance in this case):

            None

   5. The title and number of any case known to counsel to be pending in this
      Court or any other court or agency that will directly affect or be directly
      affected by this Court’s decision in the pending appeal:

            VirnetX Inc. v. Cisco Systems, Inc., No. 19-1671 (Fed. Cir.);

            VirnetX Inc. v. Mangrove Partners Master Fund,
               Nos. 20-2271, -2272 (Fed. Cir.);

            VirnetX Inc., Leidos, Inc. v. Apple Inc., No. 21-1672 (Fed. Cir.);

            VirnetX Inc. v. Apple Inc., No. 6:13-cv-00211(E.D. Tex.).
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  6. Information required by Federal Rule of Appellate Procedure 26.1(b) and (c)
     that identifies organizational victims in criminal cases and debtors and
     trustees in bankruptcy cases:

           Not Applicable


Dated: August 22, 2022                     /s/Naveen Modi
                                           Naveen Modi
                                           Counsel for Appellant VirnetX Inc.
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                      STATEMENT OF RELATED CASES
      This is an appeal from an inter partes reexamination proceeding before the

Patent Trial and Appeal Board (“the Board”). In the proceeding below, the Board

issued a decision finding claims 15 and 16 of U.S. Patent No. 6,502,135 (“the ’135

patent”) patentable but claims 10-14, 17, and 18 of the ’135 patent unpatentable.

      There are several other (prior or pending) appeals involving the patent at issue

(the ’135 patent). In No. 17-1368, the Court considered an appeal from the Board’s

decision in an inter partes review proceeding IPR2015-01046 that found several

claims of the ’135 patent (and those of a related patent) to be invalid over a different

prior art reference (Kiuchi) than the references at issue in this appeal. This Court

held that the Board erred in mapping the claim term “client computer” in the ’135

patent to Kiuchi’s client-side proxy without considering VirnetX’s proposed

construction of “client computer.” VirnetX Inc. v. The Mangrove Partners Master

Fund, Ltd., 778 F. App’x 897, 908-09 (Fed. Cir. 2019) (Moore, J., joined by

Prost, C.J., and Reyna, J.). The Court also held that the Board improperly refused

to give effect to VirnetX’s prosecution disclaimer when construing the term “virtual

private network” in the ’135 patent. Id. at 910. The Court vacated the Board’s

unpatentability findings and remanded to the Board with instruction “to assess

Kiuchi’s disclosure in light of the proper construction.” Id.




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      On remand, the Board agreed with VirnetX’s proposed construction of “client

computer” and accepted that, under this Court’s ruling in Mangrove, the term

“virtual private network” must be interpreted to exclude non-direct communications.

The Board, however, nevertheless found the claims at issue to be unpatentable.

VirnetX’s appeal from that decision is pending before this Court as No. 20-2271.

      The ’135 patent was also at issue in an inter partes reexamination proceeding

No. 95/001,679. In that proceeding, the Board found claims 1-9 and 13-18 of the

’135 patent unpatentable. VirnetX appealed that decision to this Court, and that

appeal is currently pending as No. 19-1671. In the No. 19-1671 appeal, in the

interest of judicial efficiency, VirnetX did not challenge the Board’s determination

regarding claims 13-17.

      This Court also considered (or is considering) several appeals from district

court proceedings that involved the ’135 patent (and related patents). The first

appeal (No. 13-1489) was from an infringement proceeding that VirnetX initiated in

the United States District Court for the Eastern District of Texas in 2010. After a

jury trial, the district court entered a judgment upholding the asserted claims against

an invalidity challenge. The jury also found that Appellee Apple Inc. (“Apple”)—

one of the defendants in the action—infringed the patents-in-suit, and awarded

damages. VirnetX Inc. v. Apple Inc., 925 F. Supp. 2d 816 (E.D. Tex. 2013). This

Court affirmed-in-part, reversed-in-part, vacated-in-part, and remanded for further


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proceedings. VirnetX, Inc. v. Cisco Sys., Inc., 767 F.3d 1308 (Fed. Cir. 2014)

(Prost, C.J., joined by Chen, J.).

      On remand, after another jury trial, the district court entered a judgment again

finding infringement by Apple and awarding damages. In a subsequent appeal

(No. 18-1197), this Court affirmed that judgment under Federal Circuit Rule 36.

VirnetX Inc. v. Cisco Sys., Inc., 748 F. App’x 332 (Fed. Cir. 2019) (per curiam)

(Prost, C.J., Moore and Reyna, JJ.). The Supreme Court denied a petition for a writ

of certiorari. Apple Inc. v. VirnetX Inc., 140 S. Ct. 1122 (2020).

      This Court also considered an appeal from a different infringement

proceeding VirnetX initiated against Apple in the United States District Court for

the Eastern District of Texas in 2012, asserting the ’135 patent (and three other

patents). In that proceeding, the district court granted VirnetX a summary judgment

on invalidity, finding that Apple was precluded from raising its invalidity challenges

because of prior litigation. After a jury trial, the district court entered a judgment

for VirnetX finding infringement by Apple and awarding damages. VirnetX Inc. v.

Apple Inc., No. 12-cv-00855, 2018 WL 10048706 (E.D. Tex. Aug. 30, 2018). On

appeal (in No. 19-1050), this Court upheld the district court’s ruling that Apple was

precluded from making its invalidity challenges and upheld the finding of

infringement as to the ’135 patent (and one related patent). The Court, however,

reversed the judgment of infringement as to the other two patents at issue, and


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therefore vacated the damages award and remanded. VirnetX Inc. v. Apple Inc., 792

F. App’x 796 (Fed. Cir. 2019) (Taranto, J., joined by Mayer and Lourie, JJ.).

      On remand, the district court held a new trial on damages. The jury awarded

VirnetX over $502 million in damages for Apple’s infringement of the ’135 patent

(and a related patent), and the district court entered a final judgment. Apple’s appeal

from that judgment is currently pending before this Court as No. 21-1672.




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                                INTRODUCTION
      Appellant VirnetX Inc. (“VirnetX”) pioneered easy-to-use methods of secure

communications over the Internet. In contrast to the prior art, which required special

software and a complex set-up process, VirnetX’s patented methods and devices

leverage domain names in a new way that enables users to establish secure

communications with ease. Appellee Apple Inc. (“Apple”) uses this technology in

well-known applications like FaceTime, and this Court has previously affirmed

multiple jury findings that Apple infringes the patent at issue—U.S. Patent

No. 6,502,135 (“the ’135 patent”).

      Claim 18 of the ’135 patent is generally directed to the formation of “a virtual

private network (VPN)” between a client computer and a target computer. Among

other things, it recites a particular way of checking and acting upon client

authorization. Specifically, claim 18 requires, “prior to automatically initiating the

VPN between the client computer and the target computer, determining whether the

client computer is authorized to resolve addresses of non secure target computers

and, if not so authorized, returning an error from the DNS request.” Appx134 (2:16-

21). In the proceeding below, the Patent Trial and Appeal Board (“the Board”) did

not even pretend to interpret the words of the claim or analyze whether the prior art

met the claim’s limitations.    Instead, the Board proclaimed that “claim 18 is

confusing because the language appears to be directed to the disclosed scenario [in



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the specification], but the claim language does not clearly recite this scenario.”

Appx31. Based on that professed confusion about the relationship of the claim to

the specification, the Board announced that it would only “decide whether as a

general matter, the prior art would have rendered obvious determining whether a

client has permission to access a web site and if not, returning an error message.”

Appx31.

      The Board’s approach, which erased various requirements from the

authorization limitation of claim 18, contravenes this Court’s consistent instruction

that “[t]he claims, not specification embodiments, define the scope of patent

protection.” Kara Tech. Inc. v. Stamps.com Inc., 582 F.3d 1341, 1347-48 (Fed. Cir.

2009). It was error for the Board to ignore limitations in claim 18 that it could not

find in the specification. Moreover, the Board’s premise was itself faulty—the

authorization limitation at issue in claim 18 is found in the specification, specifically

in the original claims filed with the application that led to the ’135 patent. “Original

claims are part of the specification and in many cases will satisfy the written

description requirement.” Crown Packaging Tech., Inc. v. Ball Metal Beverage

Container Corp., 635 F.3d 1373, 1380 (Fed. Cir. 2011). An examination of

claim 18’s actual language, rather than the Board’s simplified version of it, makes it

readily apparent that the prior art does not meet the claim.




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      The Board committed other errors as well. In addressing other limitations of

claim 18, the Board applied collateral estoppel to VirnetX’s arguments with respect

to rejections based on the Beser reference, even though the prior proceedings the

Board identified involved different claim language and different issues.1 And in

finding that the BinGO reference anticipated various claims (including claim 18),

the Board improperly relied on the combination of two separate pieces of prior art,

erroneously thinking that a mere reference in one prior art document to another prior

art document constitutes an incorporation by reference. But “a mere reference to

another application, or patent, or publication is not an incorporation of anything

therein.” In re de Seversky, 474 F.2d 671, 674 (C.C.P.A. 1973). Rather, in order

“[t]o incorporate material by reference, the host document must identify with

detailed particularity what specific material it incorporates and clearly indicate

where that material is found in the various documents.” Advanced Display Sys., Inc.

v. Kent State Univ., 212 F.3d 1272, 1282 (Fed. Cir. 2000).

      The Board’s final written decision should be reversed or, at a minimum,

vacated and remanded.




1
  The Board did not apply collateral estoppel with respect to the authorization
limitation.


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                                 JURISDICTION
      The Board issued its final decision in the inter partes reexamination below on

May 14, 2021, Appx1-53, and denied rehearing on January 10, 2022, Appx54-57.

VirnetX timely appealed to this Court on March 10, 2022. Appx7064-7067. This

Court has jurisdiction under 35 U.S.C. § 141(b) and 28 U.S.C. § 1295(a)(4)(A).

                              ISSUES PRESENTED
1.    Whether the Board erred in analyzing the authorization limitation in claim 18

      of the ’135 patent when it:

      (a)    ignored claim limitations that it could not find in the specification, and

      (b)    incorrectly found, based on the faulty construction, that the asserted

             references taught the limitation.

2.    Whether the Board erroneously applied collateral estoppel to VirnetX’s other

      arguments with respect to the rejections based on the Beser reference.

3.    Whether the Board erroneously relied on a combination of references in

      finding anticipation based on the BinGO reference.

4.    Whether the Board failed to properly consider VirnetX’s petition for

      rehearing.

                            STATEMENT OF THE CASE

I.    THE TECHNOLOGY AT ISSUE
      The invention at issue relates to secure Internet communications.

Communications are sent using an Internet Protocol (IP) address, a four-segment

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string of binary numbers (often represented in decimal form, e.g., “19.28.37.156”).

Appx118 (37:22-29). When one device sends data to another over the Internet, the

data is broken up into “packets.” The packets are labeled with the IP addresses

associated with the sending and destination computers. The packets travel across

the Internet using a series of specialized devices called “routers,” which direct traffic

over the networks comprising the Internet. Appx65 (Fig. 1). Each router checks the

packet’s destination IP address against internal tables, and passes the packet to the

next router. Packets traverse the Internet’s hierarchy of networks and routers until

they are ultimately delivered to the destination computer.

      Internet communications are ordinarily nonsecure. Packets can be intercepted

during routing by hackers, who can then read the data within. Appx118 (37:40-49).

The meteoric upswing in Internet use in the late 1990s generated demand for easy

and secure network communications. Appx100 (1:10-13, 1:16-18).

      Before VirnetX’s inventions, reliable secure communications were primarily

achieved through encrypted Virtual Private Networks (“VPNs”). Appx4326-4327.

VPNs, however, were cumbersome to use. VPN users had to be trained to set up

encryption keys used to scramble and unscramble the data, and the sender and the

receiver had to configure multiple parameters for the VPN link. VPN remote access

was “a nightmare for [IP] support desks.” Appx4326. The complexity of VPNs

presented an unintended security risk from incorrect use. Appx4326-4327.


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      The ’135 patent provided an innovative alternative that generated VPNs

automatically. The inventors looked to the domain name system, which translates

user-friendly “domain names,” such as “yahoo.com,” into IP addresses that routers

can use to direct data to a device, such as “98.137.11.163.” For example, when a

user types a domain name into a web browser, the user’s device sends a request to a

Domain Name Server (“DNS”).           The DNS responds with the IP address

corresponding to that domain name, which allows the user’s device to connect with

the target computer. Appx118 (37:22-29). VirnetX’s inventions allow users to

employ familiar techniques—typing a domain name into the browser—whereupon

the system seamlessly establishes a secure VPN between two devices. These

inventions provided an easy method of ensuring data security, particularly for

business travelers or between private networks. See, e.g., Appx100 (2:62-64);

Appx102 (6:1-3).

II.   THE ’135 PATENT
      The ’135 patent relates to a system and method in which a DNS proxy

automatically and transparently creates a VPN in response to a DNS lookup. See

VirnetX, Inc. v. Cisco Sys., Inc., 767 F.3d 1308, 1315 (Fed. Cir. 2014); Appx118-

119 (37:17-39:1); Appx93-94 (Figs. 26-27).




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      As shown in Figures 26 and 27, browser (2605) within user computer (2601)

generates a DNS request for an IP address corresponding to a domain name of a

target computer, such as secure target site 2604 and/or unsecure target site 2611.

Appx118-119 (38:23-39:6). Instead of a conventional DNS server (2609) receiving

the request, DNS proxy (2610) intercepts the request and determines whether it is

for a secure website. Appx118-119 (38:23-25, 39:2-3). According to a preferred

embodiment, the determination is made by checking the domain name against

domain name tables. Appx118 (38:23-30).

      If the domain name is listed therein, DNS proxy (2610) determines that the

user computer is requesting access to a secure site, and may determine whether the


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user and/or computer 2601 is authorized to access the secure web site. Appx118-

119 (38:23-30, 39:7-20). If so, DNS proxy (2610) automatically initiates a VPN

between browser (2605) and secure target site (2604). Appx118 (38:25-33).

      If the domain name is not listed in the domain name table, DNS proxy (2610)

determines that the request is not seeking access to a secure site and forwards the

request to conventional DNS (2609) without initiating a VPN. Appx118-119 (38:43-

47, 39:3-6). This contrasts with a situation where, for example, an unauthorized user

has requested lookup of a secure site, which would instead cause the DNS proxy to

return a “host unknown” error to the user. Appx118 (38:47-50).

      One embodiment for encrypting VPNs is the Tunneled Agile Routing

Protocol (“TARP”). A client directly addresses a target using the IP address of the

target. Appx103 (7:40-8:36). To avoid detection during routing, however, this

target IP address “is concealed behind an outer layer of encryption generated using

a link key.” Appx103 (7:59-60). TARP routers sit between the client and target and

“can use [a] link key to reveal the true destination of a TARP packet.” Appx103

(7:40-8:1). Based on a “time to live counter” designed to “help foil traffic analysis,”

a TARP router “determine[s] … whether it should forward the TARP packet [] to

another TARP router [] or to the destination TARP terminal.” Appx103 (8:16-36).

      During prosecution, VirnetX disclaimed any VPN that does not require direct

communication.     As this Court previously observed, VirnetX distinguished “a


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system in which a client computer communicates with an intermediate server via a

singular, point-to-point connection,” whereby “[t]hat intermediate server then relays

the data to a target computer on the same private network on which the server

resides.” VirnetX Inc. v. The Mangrove Partners Master Fund, Ltd., 778 F. App’x

897, 910 (Fed. Cir. 2019). VirnetX explained that, because in such a system “the

computers ‘do not communicate directly with each other’ and ‘[t]he client cannot

open a connection with the target itself,’ the computers are not on the same VPN.”

Id. (citation omitted).    This disclaimer, the Court concluded, “clearly and

unmistakably states that a ‘VPN between the client computer and the target

computer’ requires direct communication between the client and target computers.”

Id.

      Claim 18 of the ’135 patent is representative, and recites:

      A method of transparently creating a virtual private network (VPN)
      between a client computer and a target computer, comprising the steps
      of:
         (1) generating from the client computer a Domain Name Service
         (DNS) request that requests an IP address corresponding to a domain
         name associated with the target computer;

         (2) determining whether the DNS request transmitted in step (1) is
         requesting access to a secure web site; and

         (3) in response to determining that the DNS request in step (2) is
         requesting access to a secure target web site, automatically initiating
         the VPN between the client computer and the target computer,
         wherein:



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       steps (2) and (3) are performed at a DNS server separate from the client
       computer, and step (3) comprises the step of, prior to automatically
       initiating the VPN between the client computer and the target computer,
       determining whether the client computer is authorized to resolve
       addresses of non secure target computers and, if not so authorized,
       returning an error from the DNS request.
Appx134 (claim 18).

III.   THE ASSERTED REFERENCES

       A.    Beser
       U.S. Patent No. 6,496,867 to Beser et al. (“Beser”) “relates to

communications in data networks,” Appx2255 (1:8-9), and recognizes that “the

Internet is not a very secure network,” Appx2255 (1:26-27). Beser teaches a

“tunneling association” that hides the originating and terminating ends of the tunnel

during communications on a public network. Appx2256 (3:1-9). Because the source

is hidden, hackers are prevented from intercepting communications, resulting in

“increase[d] security of communication without an increased computational

burden.” Appx2255-2256 (2:36-40, 3:4-9).

       Beser’s solution involves “initiating a tunneling association between an

originating end [24] and a terminating end [26]” facilitated by an intermediary,

trusted-third-party network device 30. Appx2255-2258 (1:45-67, 7:62-64). Figure

1 of Beser illustrates this solution:




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Appx2238 (Fig. 1).

      When an originating end device 24 in Beser wants to communicate with a

terminating end device 26, it sends a tunnel initiation request 112 to first network

device 14. Appx2258 (7:65-67); Appx4099 (¶¶ 88, 89). This request “includes a

unique identifier for the terminating end of the tunneling association.” Appx2258

(8:1-3); see also Appx4099 (¶¶ 88, 89).

      The first network device 14 then sends an inform message 114 with tunnel

initiation request 112 to trusted-third-party network device 30 by constructing one

or more IP packets 58. Appx2258 (8:3-4); Appx2260 (11:9-25). The trusted-third-

party network device 30 associates a public IP address of a second network device

16 with the unique identifier of terminating telephony device 26. Appx2258 (8:4-


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7); Appx2260 (11:26-32); Appx4099 (¶ 89). The first and second network devices

14 and 16 then “negotiate” private IP addresses through the public network 12.

Appx2243 (Fig. 6 (step 118)); Appx2258 (8:9-15); Appx2260 (11:58); see also

Appx4099 (¶ 89). This “negotiation” assigns a first private network address to the

originating device 24 and a second private network address to the terminating device

26. Appx2260 (12:2-4).

      Once assigned, the private network address of originating device 24 and the

public IP address of first network device 14 are communicated to the second network

device 14. Appx2261 (13:33-48); Appx4099 (¶ 89). Similarly, the private network

address of the terminating device 26 and the public IP address of the second network

device 16 are communicated to the first network device 14. Appx2261 (14:19-33);

Appx4099 (¶ 89).

      B.    Kent
      Kent is a Request for Comments document, RFC 2401, that describes IPSec,

a type of security protocol for the Internet. Appx2272; Appx4099-4100 (¶ 91). RFC

2401 describes a method for automatically encrypting network traffic that is sent

through security gateways over a public network, and provides end-to-end

encryption. See, e.g., Appx2296-2299. Kent also describes the existence of “ICMP

error messages,” which are generally related to providing a message when a service




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is not available or a host or router could not be reached. See, e.g., Appx2308;

Appx4105 (¶ 110).

      C.    Blum
      U.S. Patent No. 6,182,141 to Blum et al. (“Blum”) is directed to a method for

providing transparent proxy services. Appx2348 (2:25-26); Appx4104 (¶ 108). A

“proxy server,” as defined by Blum, is an application that provides access to the

Internet or other external network, and evaluates requests and determines which of

the requests to pass on to the Internet or other network. Appx2348 (1:10-25);

Appx4104 (¶ 108). Blum enables communications from a client computer, through

a proxy, to remote DNS. Appx2350 (6:40-43); Appx4104 (¶ 108). Blum describes

returning an error message if a DNS request fails because DNS services available to

the client computer were not able to resolve the request. Appx2351 (8:65-9:3);

Appx4105 (¶ 110).

      D.    BinGO
      BinGO generally refers to two separate documents that Apple presented as a

“single reference document”: a printed publication titled “BinGO! User’s Guide”

(“BinGO UG”), purportedly published by March 1999, and another printed

publication titled “Extended Feature Reference” (“BinGO EFR”), purportedly

published by February 1999. Appx147.




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      BinGO UG is directed to a router used to connect a user with the network of

an Internet provider or to a company’s head office from the user’s home or branch

office via an integrated services digital network (ISDN).            Appx2369-2370;

Appx4105-4106 (¶ 113). BinGO UG states that if the user wants to access the

Internet, the user must set up the user’s Internet service provider (ISP) as a wide area

network (WAN) partner on the BinGO router, and if the user wishes to establish a

local area network (LAN) to LAN connection (e.g., between the user’s LAN and the

LAN of the user’s head office), the user must configure the LAN of the user’s head

office as a WAN partner. Appx2508; Appx4105-4106 (¶ 113). BinGO further

describes how to configure the BinGO router (e.g., by using a configuration wizard)

so that it may be connected to a WAN partner such as a corporate network.

Appx2399; Appx2418-2419; Appx4105-4106 (¶ 113).

      In configuring the BinGO router, encryption for a connection to the WAN

partner may be selected. Appx2514-2515; Appx2540; Appx4106 (¶ 114). While

BinGO UG describes that the connection to the WAN partner (e.g., either the ISP or

the corporate network) may be encrypted, the additional reference BinGO EFR

describes alleged VPNs that are established only through an ISP. In particular,

BinGO EFR describes two scenarios for establishing an alleged VPN: a point-to-

point tunneling protocol (PPTP) Client-to-VPN Server scenario and a LAN-to-LAN

VPN scenario.      Appx2828-2829; Appx4106 (¶ 114).            Under either scenario,


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however, BinGO EFR describes that a connection is established to the local ISP first,

and then an alleged VPN is established over the Internet.           Appx2828-2829;

Appx4106 (¶ 114).

      Regarding authentication, BinGO UG explains that “[b]efore every

connection, BinGO! and the router at HQ check the incoming data to see if they

should take the call. In order to protect the network against unauthorized access,

acceptance of the call only takes place after correct authentication.            This

authentication is based on a common password and two codes that you and your

partner use for the connection.” Appx2394.

IV.   PROCEDURAL BACKGROUND.
      A.     The Inter Partes Reexamination Proceedings Below
      Apple’s request for inter partes reexamination advanced twenty four different

grounds of unpatentability against claims 1-18 of the ’135 patent based on various

asserted references. Appx137-138. After Apple failed to prove invalidity in the

district court litigation, the Patent Office terminated the reexamination with respect

to claims 1-9 under 35 U.S.C. § 317(b) (2006)—the statutory estoppel provision

governing inter partes reexaminations.        Appx6788-6804.      After a prolonged

examination spanning over six years, the Examiner ultimately issued a Right of

Appeal Notice (“RAN”) directed to claims 10-18, adopting various rejections




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against these claims. Appx6865-6869. VirnetX appealed the Examiner’s findings

to the Board. Appx6906-6977; Appx7005-7024; Appx7035-7037; Appx7038-7047.

      B.    The Board’s Decision
      The Board’s decision identified various problems in the Examiner’s RAN.

For instance, the Examiner adopted rejections based on a reference referred to as

Aventail that even Apple acknowledged as defective. Appx9-10. The Board also

faulted the adoption of several rejections based on a reference referred to as Wang.

Appx10-17.2

      With respect to various rejections based on Beser, the Board agreed with

VirnetX that most of the rejections could not stand. Appx22-24. As to claim 18,

however, the Board found that some of VirnetX’s arguments were precluded by

collateral estoppel due to proceedings involving different VirnetX patents. Appx27-

30. The Board also found that the authorization limitation—requiring that “prior to

automatically initiating the VPN between the client computer and the target




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  The Board did affirm the rejection of claims 13, 14, and 17 based on Wang, either
alone or together with other references. Appx17-21. In another inter partes
reexamination proceeding, No. 95/001,679, the Board found these claims
unpatentable on the basis of a different reference, Kiuchi (which is not at issue in
this appeal). An appeal from that reexamination proceeding is pending before this
Court as No. 19-1671. In the interest of judicial efficiency, VirnetX did not
challenge the Board’s determination of unpatentability regarding claims 13-17 in
No. 19-1671. As such, the Board’s Wang-based rejections of claims 13, 14, and 17
below are effectively moot, and VirnetX is not challenging them here.


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computer, determining whether the client computer is authorized to resolve

addresses of non secure target computers and, if not so authorized, returning an error

from the DNS request”—while not precluded by collateral estoppel, was taught by

the combination of Beser, Kent, and Blum. Appx30-32. In making this finding, the

Board asserted that “[t]he language of claim 18 is confusing because the language

appears to be directed to the disclosed scenario at column 40, lines 4-13 of the ’135

Patent, but the claim language does not clearly recite this scenario.” Appx31.

Relying on this professed confusion, the Board set aside the actual language of the

limitation and instead proceeded to “decide whether as a general matter, the prior art

would have rendered obvious determining whether a client has permission to access

a web site and if not, returning an error message.” Appx31. The Board concluded

that the asserted references met this simplified version of claim 18’s authorization

limitation. Appx31-32.

      The Board also affirmed the Examiner’s anticipation rejection of claims 10,

12, 13, and 18 based on BinGO (as well as obviousness rejections of dependent

claims 11 and 17). Appx32-49. The Board opined that it was proper to rely on both

BinGO UG and BinGO EFR in finding anticipation because “BinGO UG expressly

refers to BinGO EFR in several places for detailed information in implementing

specific functions,” and that, as a result, “BinGO UG incorporates by reference

BinGO EFR.” Appx35-36. With respect to the authorization limitation of claim 18,


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the Board “reiterate[d] the issues with claim 18 discussed above,” Appx45 (i.e., its

purported confusion that led it to rewrite the authorization limitation, Appx31).

After redefining claim 18 in this way, the Board reasoned that BinGO could

anticipate claim 18 and teach the authorization limitation because “BinGO discloses

authentication of [an] initiating partner, which would include situations where the

requested web-site is non-secure,” and asserted that “[a]lthough it is true that BinGO

does not expressly disclose returning an error message should the authentication

fail,” it “d[id] not find it credible to argue that one of ordinary skill in the art would

not have immediately understood that such an authentication failure would result in

an error message being returned.” Appx45.

      C.     The Board’s Consideration of VirnetX’s Rehearing Request
      VirnetX sought rehearing of the Board’s decision. Appx7051-7057. In

addition to challenging the substance of the Board’s unpatentability determinations,

as part of the request VirnetX also pointed to the “imminent guidance from the

Supreme Court regarding the proper remedy for decisions rendered by Board panels

whose appointments did not comport with the requirements of the Appointments

Clause.” Appx7055. VirnetX explained how “Arthrex … argued to the Supreme

Court that APJs remain unconstitutionally appointed principal officers” even

following this Court’s ruling in Arthrex, Inc. v. Smith & Nephew, Inc., 941 F.3d

1320, 1335 (Fed. Cir. 2019), and thus requested that “whatever remedy is provided



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by the Supreme Court should be provided in the present reexamination.” Appx7055-

7056.

        After the Supreme Court’s decision in Arthrex issued, the Board “referred

VirnetX’s request to Mr. Hirshfeld, Commissioner for Patents, Performing the

Functions and Duties of the Under Secretary of Commerce for Intellectual Property

and Director of the United States Patent and Trademark Office.”                Appx56.

Commissioner Hirshfeld then issued an order denying VirnetX’s rehearing request

without explanation. Appx56.

                            SUMMARY OF ARGUMENT
        The Board committed several errors that compel reversal, or at least vacatur,

of the final written decision.

        First, the Board expressly disregarded the actual language of claim 18, which

recites that “prior to automatically initiating the VPN between the client computer

and the target computer, determining whether the client computer is authorized to

resolve addresses of non secure target computers and, if not so authorized, returning

an error from the DNS request.” Appx134 (claim 18). The Board asserted that

“claim 18 is confusing because the language appears to be directed to the disclosed

scenario at column 40, lines 4-13 of the ’135 patent, but the claim language does not

clearly recite this scenario.” Appx31. As a result, the Board elected to only “decide

whether as a general matter, the prior art would have rendered obvious determining



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whether a client has permission to access a web site and if not, returning an error

message.” Appx31. The Board’s approach, which negated several limitations of

claim 18, violated the “bedrock principle of patent law that the claims of a patent

define the invention to which the patentee is entitled the right to exclude.” Phillips

v. AWH Corp., 415 F.3d 1303, 1312 (Fed. Cir. 2005) (en banc) (internal quotation

marks and citations omitted).

      Regardless, the Board was wrong about the authorization limitation’s

relationship to the specification. The limitation at issue in claim 18—one that the

Board professed not to see in the claims—is, in fact, found in the original claims

filed with the application that led to the ’135 patent, and “[o]riginal claims are part

of the specification.” Crown Packaging Tech., 635 F.3d at 1380. With the Board’s

misreading of claim 18’s limitations corrected, neither the Beser-based rejections

nor the BinGO-based rejections satisfy the actual language of the claim.

      Second, in addressing other limitations of claim 18, the Board applied

collateral estoppel to certain of VirnetX’s arguments regarding the Beser-based

rejections. One of VirnetX’s arguments, however, was that the combination of

Beser, Kent, and Blum did not teach “determining whether the DNS request

transmitted in step (1) is requesting access to a secure web site,” as recited in claim

18. Appx6964-6965; see also Appx6957-6958. None of the past proceedings

identified by the Board involved this or similar claim language, or the issues


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underlying VirnetX’s argument. As such, application of collateral estoppel was

improper.

      Third, the Board improperly relied on the combination of multiple references,

BinGO UG and BinGO EFR, in finding anticipation. Noting that “BinGO UG

expressly refers to BinGO EFR in several places for detailed information in

implementing specific functions,” the Board concluded that “BinGO UG

incorporates by reference BinGO EFR.” Appx35 (citing Appx2480; Appx2591;

Appx2631; Appx2644). That was error. “To incorporate material by reference, the

host document must identify with detailed particularity what specific material it

incorporates and clearly indicate where that material is found in the various

documents.” Advanced Display Sys., Inc. v. Kent State Univ., 212 F.3d 1272, 1282

(Fed. Cir. 2000); see also In re de Seversky, 474 F.2d at 674 (“a mere reference to

another application, or patent, or publication is not an incorporation of anything

therein”). That strict standard was not met here.

      Fourth, the Board failed to comply with its own regulations when it referred

VirnetX’s request for rehearing to the Commissioner for Patents, who was then

performing the functions of the Patent Office’s Director, rather than considering the

merits of the rehearing request by a three-judge panel. The Board’s regulations

prescribe that, “[i]f a party to an appeal files a request for rehearing under paragraph

(a) of this section … the Board shall render a decision on the request for rehearing.”


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37 C.F.R. § 41.79(d) (emphasis added). By referring VirnetX’s request instead to

the Commissioner for Patents, who then issued a perfunctory rejection of VirnetX’s

request, the Board did not render a decision on VirnetX’s request. The Board’s

decision to refer the request for Director review instead of setting it for panel

rehearing is particularly faulty given the Board’s stated view that Director review is

not available for inter partes reexaminations.

                                   ARGUMENT
I.    STANDARD OF REVIEW
      This Court reviews the Board’s legal conclusions de novo and its factual

findings for substantial evidence. EmeraChem Holdings, LLC v. Volkswagen Grp.

of Am., Inc., 859 F.3d 1341, 1345 (Fed. Cir. 2017). Anticipation is a fact question

reviewed for substantial evidence. Power Integrations, Inc. v. Lee, 797 F.3d 1318,

1323 (Fed. Cir. 2015). Factual findings underlying obviousness are also reviewed

for substantial evidence, while the ultimate question of obviousness is reviewed de

novo. Dell Inc. v. Acceleron, LLC, 818 F.3d 1293, 1298 (Fed. Cir. 2016). Whether

and to what extent material has been incorporated by reference into a host document

is a question of law. Advanced Display Sys., 212 F.3d at 1283. This Court reviews

de novo questions of statutory or constitutional interpretation. U.S. Shoe Corp. v.

United States, 296 F.3d 1378, 1381 (Fed. Cir. 2002).




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II.   THE BOARD’S REJECTIONS BASED ON BESER, KENT, AND
      BLUM ARE FUNDAMENTALLY FLAWED

      A.     The Board Improperly Recrafted Claim 18 and Failed to Address
             Its Limitations
      Claim 18 requires, among other things, a particular authorization mechanism.

Specifically, claim 18 requires that “prior to automatically initiating the VPN

between the client computer and the target computer, determining whether the client

computer is authorized to resolve addresses of non secure target computers and, if

not so authorized, returning an error from the DNS request.” Appx134 (2:16-21).

The Board acknowledged this language, Appx30, but then asserted that “claim 18 is

confusing because the language appears to be directed to the disclosed scenario at

column 40, lines 4-13 of the ’135 patent, but the claim language does not clearly

recite this scenario.” Appx31. As a result, instead of addressing the claim as written,

the Board elected to “decide whether as a general matter, the prior art would have

rendered obvious determining whether a client has permission to access a web site

and if not, returning an error message.” Appx31.

      The Board’s redrafting of claim 18 omits key limitations. In particular, (1)

the Board erased the requirement that the determination be performed “prior to

automatically initiating the VPN between the client computer and the target

computer”; (2) the Board changed “determining whether the client computer is

authorized to resolve addresses of non secure target computers,” as recited in claim



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18, to simply “determining whether a client has permission to access a web site”;

and (3) the Board changed “returning an error from the DNS request,” as recited in

claim 18, to simply “returning an error message.” The Board’s approach of ignoring

the actual claim language in favor of its own paraphrasing was patently erroneous.

      “It is a bedrock principle of patent law that the claims of a patent define the

invention to which the patentee is entitled the right to exclude.” Phillips, 415 F.3d

at 1312 (internal quotation marks and citations omitted). “It is the claims that define

the metes and bounds of the patentee’s invention. The claims, not specification

embodiments, define the scope of patent protection.” Kara Tech., 582 F.3d at 1347-

48 (citation omitted). The Board’s apparent attempt to remove limitations from the

claim that it did not find in one particular example of the specification defies this

Court’s precedent, even if the Board was correct that “the claim language [of claim

18] does not clearly recite th[e] scenario [at column 40, lines 4-13 of the ’135

patent].” Appx31.

      The Board’s premise that the recited portion of claim 18—“prior to

automatically initiating the VPN between the client computer and the target

computer, determining whether the client computer is authorized to resolve

addresses of non secure target computers and, if not so authorized, returning an error

from the DNS request”—lacked support in the specification was erroneous in any

event. That language is supported by the original claims, which are part of the


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specification.    As this Court has explained, “[o]riginal claims are part of the

specification and in many cases will satisfy the written description requirement.”

Crown Packaging Tech., 635 F.3d at 1380. For instance, original claim 32, filed

with the original application that ultimately issued as the ’135 patent, recited

precisely the same limitation (and ultimately issued as claim 5 of the ’135 patent).

See Application No. 09/504,783, Claims filed February 15, 2000, at 4-5, available at

https://patentcenter.uspto.gov/applications/09504783/ifw/docs (find the document

dated “02/15/2000” with the document description “Claims,” and then click “PDF”);

see also Application/Control No. 95/001,269, Remarks filed April 15, 2010, at 1,

available at https://patentcenter.uspto.gov/applications/95001269/ifw/docs (find the

document dated “04/15/2010” with the document description “Applicant

Arguments/Remarks Made in an Amendment,” and then click “PDF”) (identifying

issued claim 5, which is original claim 32, as providing support for claim 18).

      The Board’s decision to evaluate obviousness based on its paraphrasing of

claim 18, rather than claim 18’s actual text, was outcome determinative. The Board

had rejected the Examiner’s analysis regarding claim 18 and the Beser and Kent

references. It observed that “the rejection of claim 18 as set forth in the Request and

adopted by the Examiner does not explain how claim 18 would have been obvious

over Beser and Kent alone, but rather relies on Blum for the client authorization

recitation.”     Appx31; Appx310-312.      The Board found obviousness only by


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reformulating the claims to exclude the missing limitations. It pointed to Beser and

Kent’s generic authorization-related disclosures: Beser’s disclosure that “IP packets

may require authentication,” Appx32 (citing Appx2260 (11:22-25)), and Kent’s

disclosure of “access control, which is ‘prevention of use of a resource in an

unauthorized manner,’” Appx32 (citing Appx2275; Appx2316). In addition, the

Board asserted that Blum “discloses employing protocol filters in order to impart

specific capabilities and functions, and when services are not available to a client

computer, an error message may be returned to the client.”          Appx32 (citing

Appx2351 (7:35-38, 7:56-58, 8:65-9:3)).

      There were multiple problems with the Board’s assertions. For one, the

Board’s characterization of Blum was not accurate; with respect to the error

message, Blum discloses only that “when none of the DNS services available to the

client compute system 300 are able to resolve the requested host name to an IP

address, an error message is returned.” Appx2351-2352 (8:65-9:3). Regardless, the

Board found only that “the determination of what web sites, whether secure or non-

secure, are available to the client would have been an obvious variation of the

authentication procedures disclosed in Beser, Kent, and Blum, such that determining

whether a client is authorized to access a non secure target computer and returning

an error if the client is not authorized to access a non-secure target as recited in

claim 18 would have been obvious.” Appx32. Thus, the Board did not even


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consider, much less determine, whether it would have been obvious to “determin[e]

whether the client computer is authorized to resolve addresses of non secure target

computers and, if not so authorized, return[] an error from the DNS request,” as

claimed, or to perform such authorization “prior to automatically initiating [a]

VPN,” as also claimed. Appx134 (claim 18). Nor could the Board make such

determination given its stated intention to rely on the generic prior art disclosures

that do not meet the express language in the claim.

      The Board’s obviousness analysis itself was also defective in that it failed to

properly analyze the motivation to combine Beser, Kent, and Blum. Even under the

Board’s rewriting of the claim, but particularly given the narrow requirements of the

claim, the Board’s analysis was cursory, and only pointed to a few disclosures of the

prior art in isolation. That is insufficient. “[T]he factual inquiry whether to combine

references must be thorough and searching, and the need for specificity pervades

[this Court’s] authority on the PTAB’s findings on motivation to combine.” In re

NuVasive, Inc., 842 F.3d 1376, 1381-82 (Fed. Cir. 2016) (internal quotation marks

and citation omitted). There was no such specificity here. For this additional reason,

the Board’s finding of obviousness should be set aside.




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      B.     The Board Failed to Address VirnetX’s Arguments as to the
             Remaining Limitations Based on an Erroneous Application of
             Collateral Estoppel
      In addition to the determining step discussed above, VirnetX challenged

whether the combination of Beser, Kent, and Blum taught several other limitations

of claim 18, including “determining whether the DNS request transmitted in step (1)

is requesting access to a secure web site.” Appx6964-6965; see also Appx6957-

6958. The Board, however, failed to properly address this argument.

      The Board asserted that VirnetX was “collaterally estopped from relying on

such arguments.” Appx27 (referring to VirnetX’s “argument[] that Beser does not

render obvious … determining whether the request is requesting access to a

secure/non-secure web site”); see also Appx29 (opining that “the issue[] of whether

as a general matter … Beser determines that a requested web-site is secure/non-

secure [is] identical and actually litigated in the aforementioned inter pates review

proceedings”). The Board’s finding of collateral estoppel fails.

      As an initial matter, VirnetX was denied a fair opportunity to respond to this

argument, which was never presented by the Examiner or Apple. While the Board

indicated that Apple “observe[d] … that several issues identified by Patent Owner

with respect to the combination of Beser and Kent have been decided previously by

the Board in other proceedings,” Appx27, Apple in fact never argued collateral

estoppel.    See, e.g., Appx7020-7021; see also Appx7008 (identifying other



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proceedings only as generally presenting “issues that are the same or similar to issues

present in this appeal”). Since VirnetX did not have a “‘fair opportunity to react to

the thrust of the rejection,’” the Board’s collateral estoppel finding should be set

aside. See In re Biedermann, 733 F.3d 329, 337 (Fed. Cir. 2013) (quoting In re

Leithem, 661 F.3d 1316, 1319 (Fed Cir. 2011)); see also In re NuVasive, Inc., 841

F.3d 966, 972 (Fed. Cir. 2016).

      In any event, there is no basis to apply collateral estoppel. In addressing past

Board findings relating to Beser (which supposedly served as grounds for collateral

estoppel), the Board observed only that VirnetX “has argued in multiple inter partes

review proceedings in which the combination of Beser and Kent have been applied

to claims reciting a request for an IP address based on a domain name and where a

virtual private network link is established, that Beser does not disclose or suggest

DNS look up functionality and that Beser teaches away from the use of IP sec protocol

in Kent, arguments that were rejected by the Board and where the Decisions were

affirmed by the Federal Circuit.” Appx28-29. But the question in the proceeding

below was more specific—it was whether the combination of Beser, Kent, and Blum

teaches determining whether a DNS request is requesting access to a secure web site.

The Board thus did not find that any of the prior proceedings concerned this precise




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issue. Nor could the Board have found so, given the markedly different claim

language at issue in the other proceedings identified by the Board. 3

III.   THE BOARD’S REJECTIONS                     BASED       ON     BINGO       ARE
       FUNDAMENTALLY FLAWED
       A.    The Board Improperly Recrafted Claim 18 and Failed to Address
             Claim 18’s Limitations
       As discussed above, claim 18 requires, among other things, a particular

authorization mechanism: “prior to automatically initiating the VPN between the

client computer and the target computer, determining whether the client computer is

authorized to resolve addresses of non secure target computers and, if not so

authorized, returning an error from the DNS request.” Appx134 (claim 18); see also

supra at 23. In addressing this limitation, the Board reiterated its misguided

approach that ignored the actual claim language on the grounds that the Board could

not find the same limitation in the specification. See Appx45 (“As to determining

whether the client computer is authorized to access non-secure target computers and

returning an error message if it determined the client is not authorized to access non-

secure target computers, we reiterate the issues with claim 18 discussed above.”).

As a result, the Board analyzed only its own rewriting of the determining limitation,



3
  The patents at issue in the proceedings identified by the Board are U.S. Patent
Nos. 8,504,696, 8,868,705, 8,850,009, 8,458,341, 8,516,131, and 8,560,705. None
of them contains a limitation directed to determining whether a DNS request is
requesting access to a secure web site.


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and found that “BinGO discloses authentication of the initiating partner, which

would include situations where the requested web-site is non-secure” and that

“authentication failure would result in an error message being returned.” Appx45.

For reasons discussed above, see supra at 23-27, the Board’s recrafting of claim 18

was improper.

      The Board committed an additional error in its analysis of the determining

step. Not only did the Board fail to address the limitation as written, the Board did

not even properly find that BinGO taught the Board’s simplified version of the

limitation. Specifically, the Board acknowledged that “it is true that BinGO does

not expressly disclose returning an error message should authentication fail,” but did

“not find it credible to argue that one of ordinary skill in the art would not have

immediately understood that such an authentication failure would result in an error

message being returned.” Appx45. This finding lacks any evidence whatsoever.

      For starters, the asserted ground of unpatentability based on BinGO was

anticipation, not obviousness. Appx32. Under an anticipation analysis, “a reference

missing a limitation cannot anticipate even if a skilled artisan would ‘at once

envisage’ the missing limitation.” Genentech, Inc. v. Hospira, Inc., 946 F.3d 1333,

1340 (Fed. Cir. 2020) (quoting Nidec Motor Corp. v. Zhongshan Broad Ocean

Motor Co. Ltd, 851 F.3d 1270, 1274-75 (Fed. Cir. 2017)). The Board’s concession




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that BinGO does not expressly recite returning an error message is fatal to any theory

of anticipation.

      In addition, as VirnetX’s expert, Dr. Angelos Keromytis, explained, BinGO

operates differently than claim 18. It simply describes “authenticating against

unauthorized access to the network,” but “determining if the user’s PC is authorized

to access a network is not the same as determining if the user’s PC is authorized to

resolve addresses not located at that network.”        Appx4122 (¶ 163).       As Dr.

Keromytis further explained, BinGO says nothing about performing such a

determination with respect to “non secure target computers,” Appx4123 (¶ 164), let

alone performing the claimed determination “prior to [when] the alleged VPN

between the user’s PC and the BossPC is initiated,” Appx4123 (¶ 165). And BinGO

also fails to say anything about “returning an error from the DNS request if the client

computer is not authorized to resolve addresses of non secure target computers.”

Appx4123-4124 (¶ 166). There is simply no evidence to support the Board’s

conclusion that “one of ordinary skill in the art would … have immediately

understood that … an authentication failure [in BinGO] would result in an error

message being returned,” even if such was sufficient to meet the claim (it is not) or

was a finding that could support a finding of anticipation (it cannot).




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      B.    The Board Improperly Relied on a Combination of Multiple
            References for Anticipation
      The anticipation rejections of claims 10, 12, and 18 based on BinGO are also

defective because they improperly rely on the combination of two different

rejections, referred to as “BinGO UG” and “BinGO EFR.” See, e.g., Appx324-332;

Appx340-342; Appx347-352. Apple misleadingly packaged BinGO UG and BinGO

EFR together as a single exhibit, but they are indisputable different documents

published at different times. See, e.g., Appx35-36 (recognizing that BinGO UG

bears a March 1999 date, while BinGO EFR bears a February 1999 date); see also

Appx2354-2366; Appx2738-2744 (showing separate dates, separate tables of

contents, and separate page numbering).        The Board nonetheless relied on

disclosures from both BinGO UG and BinGO EFR to support a single anticipation

rejection on the specious rationale that “BinGO UG expressly refers to BinGO EFR

in several places for detailed information in implementing specific functions.”

Appx35 (citing Appx2480; Appx2591; Appx2631; Appx2644). The Board took

these references to mean that “BinGO UG incorporates by reference BinGO EFR.”

Appx35. The Board erred as a matter of law.

      As this Court has explained, “[t]o incorporate material by reference, the host

document must identify with detailed particularity what specific material it

incorporates and clearly indicate where that material is found in the various

documents.” Advanced Display Sys., 212 F.3d at 1282. The Board did not even


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attempt to make this requisite finding. Nowhere did the Board explain what

“specific material” BinGO UG incorporates from BinGO EFR, nor did the Board

explain “where that material is found” in BinGO EFR.

      Nor could the Board have properly made such findings here. The Board

identified four pages of BinGO UG in support of its incorporation-by-reference

finding: pages 115, 226, 266, and 279.       Appx35.    Page 115 indicates, when

discussing “necessary settings for Virtual Private Networking (VPN),” that “[y]ou

will find more detailed explanations and instructions in Extended Features

Reference.” Appx2480. Similarly, pages 226 and 266 of BinGO UG indicate, again

when discussing settings for virtual private networking, that “You can find detailed

information and configuration instructions (with examples) in Extended Feature

Reference.” Appx2591; Appx2631. But “a mere reference to another application,

or patent, or publication is not an incorporation of anything therein.” In re de

Seversky, 474 F.2d at 674; see also In re Saunders, 444 F.2d 599, 602-03 (C.C.P.A.

1971) (a rejection for anticipation is appropriate only if one reference “expressly

incorporates a particular part” of another reference). BinGO UG expresses no intent

to incorporate anything in BinGO EFR, much less something specific. Nor does

BinGO UG indicate where any such specific item could be found in BinGO EFR;

instead, it simply directs the reader to BinGO EFR if the reader wants to “find more

detailed explanations and instructions,” Appx2480, or to “find detailed information


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and configuration instructions,” Appx2591; Appx2631. And page 279 of BinGO

UG simply indicates that some “general product information” can be found in

several documents, including “Software Reference, Extended Features Reference,

[and] BRICKware for Windows.” Appx2644. Again, there is no clear indication

that BinGO UG even intends to incorporate by reference anything in BinGO EFR,

much less does it “identify with detailed particularity what specific material it

incorporates and clearly indicate where that material is found.” Advanced Display,

212 F.3d at 1282.

      The references to BinGO EFR contained in BinGO UG are at best akin to a

citation, which is not sufficient for an incorporation by reference.           See

Commonwealth Sci. & Indus. Rsch. Organisation v. Buffalo Tech. (USA), Inc., 542

F.3d 1363, 1372 (Fed. Cir. 2008) (“The footnote citation … could provide a

justification for combining the references for obviousness purposes, but there is

nothing about the reference to Bingham that appears to constitute an incorporation

of any or all of the information from the Bingham reference under the standard set

forth in Advanced Display Systems.”). This Court’s discussion of the GSM standard

in Kyocera Wireless Corp. v. International Trade Commission, 545 F.3d 1340 (Fed.

Cir. 2008), is instructive. As the Court explained, “[t]he GSM standard is a

comprehensive set of specifications for a second generation (‘2G’) mobile network.”

Id. at 1350. Each specification that is part of the GSM standard has “its own title


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and separate page numbering.” Id. at 1351. Nonetheless, appellant “assert[ed] that

each GSM specification incorporates the others by reference.” Id. at 1351. As the

Court explained, however, even though “specifications at times cross-reference

other specifications,” “[t]his vague referencing practice is hardly sufficient to meet

this court’s legal requirements for incorporation.” Id. at 1352.

      Finally, the Board’s obviousness rejection of claim 11 based on BinGO also

fails for the same reason. While obviousness permits the combination of multiple

references, here the Board did not make the requisite findings under Graham v. John

Deere Co., 383 U.S. 1 (1966), to combine BinGO UG and BinGO EFR. To the

contrary, the Board continued to treat both references as a single BinGO reference.

Appx45-47; Appx49.

IV.   THE BOARD ERRONEOUSLY REFUSED TO PROPERLY
      CONSIDER VIRNETX’S REQUEST FOR REHEARING
      A.     The Board’s Treatment of VirnetX’s Rehearing Request Did Not
             Comply with the Applicable Regulations
      At a minimum, vacatur and remand is required because the Board refused to

consider properly VirnetX’s request for rehearing of the Board’s May 14, 2021 final

written decision. Appx7051. VirnetX’s request for rehearing was made under the

Board’s regulation in 37 C.F.R. § 41.79, which grants “[p]arties to [an] appeal” the

right to “file a request for rehearing of [a] decision within one month.” 37 C.F.R.

§ 41.79(a); see also id. § 42.71(d) (“A party dissatisfied with a decision may file a



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single request for rehearing without prior authorization from the Board.”). The rule

prescribes that, “[i]f a party to an appeal files a request for rehearing under paragraph

(a) of this section … the Board shall render a decision on the request for rehearing.”

37 C.F.R. § 41.79(d) (emphasis added).

      VirnetX’s rehearing request identified a host of problems with the Board’s

May 14, 2021 decision, including the Board’s treatment of expert evidence,

Appx7052, and its consideration of the asserted references, Appx7052-7055. In

addition, because the Supreme Court was poised to render its decision regarding the

proper remedy for the Appointments Clause violations this Court had identified in

Arthrex, Inc. v. Smith & Nephew, Inc., 941 F.3d 1320 (Fed. Cir. 2019), VirnetX also

requested “whatever remedy is provided by the Supreme Court.” Appx7055-7056.

      Rather than substantively consider VirnetX’s rehearing request, the Board

“referred VirnetX’s request to Mr. Hirshfeld, Commissioner for Patents, Performing

the Functions and Duties of the Under Secretary of Commerce for Intellectual

Property and Director of the United States Patent and Trademark Office.” Appx56.

The Board notionally did so in light of VirnetX’s request for “whatever remedy is

provided by the Supreme Court” in Arthrex, and the Supreme Court’s subsequent

decision. Id. Commissioner Hirshfeld then summarily denied VirnetX’s request

without explanation. Appx56.




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      The Board’s approach defied the regulation governing rehearing requests in

inter partes reexaminations, which obligates the Board to issue a decision when a

timely request for rehearing is filed. See 37 C.F.R. § 41.79(d) (“the Board shall

render a decision on the request for rehearing”) (emphasis added). Commissioner

Hirshfeld’s summary rejection of VirnetX’s request does not qualify as such a

decision in conformance with the requirements of the Administrative Procedure Act

(“APA”). The APA obligates the Board “to come to a sound decision” and “to fully

and particularly set out the bases upon which it reached that decision.” Power

Integrations, Inc. v. Lee, 797 F.3d 1318, 1323 (Fed. Cir. 2015); see also Pers. Web

Techs., LLC v. Apple, Inc., 848 F.3d 987, 992 (Fed. Cir. 2017) (“The Board, as an

administrative agency, ‘must articulate “logical and rational” reasons for [its]

decision.’”) (quoting Synopsys, Inc. v. Mentor Graphics Corp., 814 F.3d 1309, 1322

(Fed. Cir. 2016)). The Board thus acts improperly when it “fails to adequately

evaluate” a party’s arguments. Power Integrations, 797 F.3d at 1325; see also In re

Hodges, 882 F.3d 1107, 1116 (Fed. Cir. 2018) (“The Board must … ‘explicate its

factual conclusions, enabling us to verify readily whether those conclusions are

indeed supported by “substantial evidence” contained within the record.’”) (quoting

In re Gartside, 203 F.3d 1305, 1314 (Fed. Cir. 2000)); Shinn Fu Co. of Am., Inc. v.

Tire Hanger Corp., 701 F. App’x 942, 946 (Fed. Cir. 2017) (“Because the Board did

not provide any analysis with regard to the manner in which Shinn Fun proposed its


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key obviousness combination, we have no meaningful way to review the Board’s

patentability determination in light of Shinn Fu’s arguments.”). Commissioner

Hirshfeld’s denial of VirnetX’s request provides no indication whatsoever as to why

VirnetX’s request was rejected.

      This is not to suggest that the Director necessarily must present a detailed

analysis any time a request for Director review is submitted. Here, however,

VirnetX did not submit a request for Director review. VirnetX’s rehearing request

was filed under the provisions of the regulation governing ordinary rehearing request

in inter partes reexaminations, 37 C.F.R. § 41.79. See Appx7051. The Board’s

decision to recast VirnetX’s request as a request for Director review, Appx56, was

improper, at least insomuch as the Board did so as a substitute for rehearing under

37 C.F.R. § 41.79. VirnetX’s request for “whatever remedy is provided by the

Supreme Court [in Arthrex],” Appx7055-7056, cannot properly be construed as a

request for such relief instead of the rehearing to which VirnetX was entitled under

section 41.79, as the Supreme Court never held that a party may only request either

panel rehearing or Director review—that is an invention of the Patent Office’s own

creation. See, e.g., U.S. Patent and Trademark Office, Interim Process for Director

Review,    available    at   https://www.uspto.gov/patents/patent-trial-and-appeal-

board/interim-process-director-review (“Under the interim process, parties are

limited to requesting either Director review or a rehearing by the original Board


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panel. … Requests for both Director review and panel rehearing of the same

decision are treated as a request for Director review only.”).

      The Supreme Court in Arthrex prescribed a “tailored” remedy to the

Appointments Clause violation: It held 35 U.S.C. § 6(c)—the statutory provision

that required rehearing “by at least 3 members of the … Board”—“unenforceable as

applied to the Director insofar as it prevents the Director from reviewing the

decisions of the PTAB on his own.” United States v. Arthrex, Inc., 141 S. Ct. 1970,

1987 (2021) (emphasis added). The Supreme Court did not make the panel rehearing

option (to which a party is entitled under the Board’s regulations) and the Director

review option interchangeable. Even if Director review alone might be sufficient

under the statute governing inter partes reviews and the Appointments Clause,

neither requires that it be the only review mechanism provided by the Board, and

the plain terms of 37 C.F.R. § 41.79 entitle a party to another mechanism—namely,

a panel rehearing. As long as that still-effective regulation remains on the books,

the Board has to follow it. See Wagner v. United States, 365 F.3d 1358, 1361 (Fed.

Cir. 2004) (“an agency is bound by its own regulations”) (citing Service v. Dulles,

354 U.S. 363, 388 (1957)). And, to be sure, the Board never asked VirnetX whether

it wanted to convert its request for rehearing into a request for Director review.

      There is no indication that Commissioner Hirshfeld even substantively

considered VirnetX’s rehearing request. The Patent Office maintains a list of


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completed requests for Director reviews. See U.S. Patent and Trademark Office,

Status      of       Director       Review        Requests,        available       at

https://www.uspto.gov/patents/patent-trial-and-appeal-board/status-director-

review-requests (follow “Director review requests spreadsheet”). Previously, as part

of that list, the Patent Office provided “issue(s)” associated with each request. In

the entry for the request in this case, the first issue was “[w]hether the Supreme

Court’s holding in Arthrex applies to inter partes reexams”—implying that, in the

Patent Office’s view, there is a question of whether Director review even applies in

inter partes reexaminations. See U.S. Patent and Trademark Office, Status of

Director   Review    Requests,   archived    on   July   29,   2022,   available   at

https://web.archive.org/web/20220729000429/https://www.uspto.gov/patents/paten

t-trial-and-appeal-board/status-director-review-requests (follow “Director review

requests spreadsheet,” click on “Completed” tab, and see row 2, identifying PTAB

Case Number “2021-001315 (95/001,682)”). 4 This was consistent with Apple’s

argument below that “Arthrex does not apply to inter partes reexamination

proceedings such as this one.” Appx7061-7062. It is thus entirely possible that




4
  In the August 2022 version of the spreadsheet available at the time this brief is
being submitted, it appears the Patent Office no longer provides such “issue”
information to the public. As such, VirnetX is citing the Internet Archive,
documents the July version of the spreadsheet.


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Commissioner Hirshfeld found that Director review was not even available for inter

partes reexaminations, and denied VirnetX’s request for that reason.

      Indeed, evidence suggests that is exactly what happened. In a co-pending

inter partes reexamination between VirnetX and Apple, where VirnetX explicitly

requested Director review, the Board indicated that “‘parties may only request

Director review of final written decisions issued in inter partes reviews and post-

grant reviews’” and, as a result, “[VirnetX] cannot request Director review in this

[inter partes reexamination] proceeding.” Application/Control No. 95/001,697,

Decision      entered      May       6,        2022,       at       2,     available   at

https://patentcenter.uspto.gov/applications/95001697/ifw/docs (find the document

dated “05/06/2022” with the document description “Board of Appeals Decision on

Rehearing,” and then click “PDF”) (quoting U.S. Patent and Trademark Office,

Arthrex Q&A, A9, available at https://www.uspto.gov/patents/patent-trial-and-

appeal-board/procedures/arthrex-qas).5 It thus appears highly likely that the Board

refused to consider VirnetX’s request for rehearing in this inter partes reexamination

by unilaterally converting it into a request for Director review—which was then

denied on the ground that Director review is not available in inter partes

reexaminations.


5
 An appeal from the Board’s decision in Application/Control No. 95/001,697 is
currently pending before this Court as No. 22-1997.


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      That position, however, is contrary to this Court’s precedent. As the Court

made clear, the holding in Arthrex extends to inter partes reexaminations. See, e.g.,

VirnetX Inc. v. Cisco Sys., Inc., 958 F.3d 1333, 1336-37 (Fed. Cir. 2020); see also

VirnetX Inc. v. Cisco Sys., Inc., No. 19-1671, Dkt. No. 63 (Fed. Cir. Oct. 5, 2021)

(applying the Supreme Court’s remedy in Arthrex to an inter partes reexamination).

At a minimum, the Court should vacate the decision below and remand to the Board

to conduct a proper rehearing based on VirnetX’s request under 37 C.F.R. § 41.79.

      B.     The Appointments Clause, the Supreme Court’s Arthrex Decision,
             and the FVRA Require a Remand to a Permanent PTO Director
      To the extent VirnetX’s rehearing request could properly be referred to the

Patent Office’s Director, the Appointments Clause, the Supreme Court’s Arthrex

decision, and the Federal Vacancies Reform Act of 1998 (“FVRA”) require a

presidentially appointed, Senate-confirmed principal officer to make a final decision

for the Board. Commissioner Hirshfeld, however, was appointed as an inferior

officer by the Secretary of Commerce—just like the other Board members who lack

the power under the Constitution to issue final decisions for the Executive Branch.

Arthrex, 141 S. Ct. at 1987. Permitting an inferior officer to have the Executive’s

final say contravenes Arthrex’s express holding that “[o]nly an officer properly

appointed to a principal office may issue a final decision.” Id. at 1985 (emphasis

added).




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      The FVRA independently barred Commissioner Hirshfeld from exercising the

Director’s exclusive authority to issue final decisions on rehearing.        When a

principal office is vacant, any functions or duties “required by statute to be

performed by the [principal] officer (and only that officer)” may be performed only

by (1) the officer’s “first assistant” or (2) someone directed by “the President (and

only the President)” to perform them. 5 U.S.C. §§ 3345(a), 3348(a)-(b). Under

Arthrex, singlehanded review of Board decisions is a function or duty only the

Director may perform. Commissioner Hirshfeld was not the Deputy Director (i.e.,

“first assistant”), and he has not been directed by the President to perform the

Director’s functions and duties. Under the FVRA, Commissioner Hirshfeld’s denial

of rehearing is “of no force and effect.” 5 U.S.C. § 3348(d)(1).

      VirnetX acknowledges that its Appointments Clause and FVRA challenges to

Commissioner Hirshfeld’s authority in this Section IV.B are foreclosed by this

Court’s recent decision in Arthrex, Inc. v. Smith & Nephew, Inc., 35 F.4th 1328 (Fed.

Cir. 2022). VirnetX raises the arguments here to preserve them for potential en banc

or Supreme Court review.




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                             CONCLUSION
     The Board’s final written decision should be reversed or, at a minimum,

vacated and remanded.



August 22, 2022                   Respectfully submitted,
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                     ADDENDUM
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Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.




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      UNITED STATES PATENT AND TRADEMARK OFFICE


       BEFORE THE PATENT TRIAL AND APPEAL BOARD


                             APPLE INC.
                              Requester

                                  V.

                       Patent of VIRNETX INC.
                      Patent Owner and Appellant



                        Appeal 2021-001315
                   Reexamination Control 95/001,682
                         Patent 6,502,135 B 1
                       Technology Center 3900



Before KARL D. EASTHOM, JEFFREY B. ROBERTSON, and
JEREMY J. CURCURI, Administrative Patent Judges.

ROBERTSON, Administrative Patent Judge.


                       DECISION ON APPEAL




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Patent 6,502,135 Bl

                     I.    STATEMENT OF THE CASE
      VirnetX Inc. ("Patent Owner") appeals under 35 U.S.C. §§ 134(b) and
315(a) (Pre-AIA) from the Examiner's decision to reject claims 10-18. 1
Third-Party Requester Apple Inc. (hereinafter "Requester") urges that the
Examiner's decision must be affirmed. 2 We have jurisdiction under 35
U.S.C. §§ 134(b) and 315(a) (Pre-AIA).
      We affirm in part.


                             II. INTRODUCTION
                          A. Background and Summary
      United States Patent 6,502,135 B 1 (hereinafter the '" 135 Patent"),
which is the subject of the current inter partes reexamination, issued to
Munger et al. on December 31, 2002. Inter partes reexamination was
requested by Apple. Inc. ("REQUEST FOR INTER PARTES
REEXAMINATION" filed on July 10, 2011, "Request"). Both Patent
Owner and Requester identify numerous related appeals and proceedings.
See Appeal Br. iv-vii; Resp't Br. iv, 1-2.
      In particular, the Federal Circuit, in VirnetX v. Mangrove Partners
Master Fund, Ltd., 778 F. App'x 897 (Fed. Cir. 2019), vacated and
remanded a PTAB Final Written Decision in IPR2015-01046, an inter partes
review of the '135 Patent. Subsequently, the panel in that case issued a


1 See Patent Owner's Appeal Brief filed February 6, 2020 (hereinafter
"Appeal Br."); Examiner's Answer (mailed August 25, 2020) (hereinafter
"Ans."); Right of Appeal Notice (mailed November 6, 2019) (hereinafter
"RAN"); Patent Owner's Rebuttal Brief filed September 24, 2020
(hereinafter "Reb. Br.").
2 See Respondent Brief (filed April 17, 2020) (hereinafter "Resp't Br.").



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Final Written Decision on Remand Determining All Challenged Claims
Unpatentable (claims 1, 3, 4, 7, 8, 10, 12). Mangrove Partners Master
Fund, LTD v. VirnetX, IPR2015-01046, Paper No. 112 (PTAB July 14,
2020).
         In addition, the' 135 Patent is the subject of inter partes
reexamination control no. 95/001,679 requested by Cisco Systems, Inc., and
in which a Decision on Appeal (Appeal No. 2017-011862) was entered on
February 6, 2018, which affirmed the Examiner's rejections of claims 1-9
and 13-18. 3
                                B. The '135 Patent
         The '13 5 Patent describes a system and method for communicating
over the Internet and the automatic creation of a virtual private network
(VPN) in response to a domain-name server look-up function. See' 135
Patent, col. 2, 1. 66- col. 3, 1. 2, col. 37, 11. 19-21.
         Claims 10, 13, and 18, the independent claims on appeal, are
illustrative of the appealed subject matter, and read as follows:
               10. A system that transparently creates a virtual private
         network (VPN) between a client computer and a secure target
         computer, comprising:


3 Rehearing was requested by Patent Owner, and denied in a Decision
mailed January 18, 2019. The Board's decisions were appealed to the
Federal Circuit. A General Order by the Chief Administrative Patent Judge
entered on May 5, 2020 in the 95/001,679 reexamination indicated that the
Federal Circuit had issued orders vacating a number of decisions by the
PTAB including the Board's Decision in 95/001,679 in view of Arthrex, Inc.
v. Smith & Nephew, Inc., 941 F.3d 1320 (Fed. Cir. 2019)(cert. granted sub
nom. United States v. Arthrex, Inc., 2020 WL 6037206 (Oct. 13, 2020)).
The General Order ordered 95/001,679 be held in abeyance until the
Supreme Court ultimately resolves the issues raised in Arthrex.

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            a DNS proxy server that receives a request from the
     client computer to look up an IP address for a domain name,
     wherein the DNS proxy server returns the IP address for the
     requested domain name if it is determined that access to a non-
     secure web site has been requested, and wherein the DNS proxy
     server generates a request to create the VPN between the client
     computer and the secure target computer if it is determined that
     access to a secure web site has been requested; and
            a gatekeeper computer that allocates resources for the
     VPN between the client computer and the secure web computer
     in response to the request by the DNS proxy server.


           13. A method of establishing communication between
     one of a plurality of client computers and a central computer
     that maintains a plurality of authentication tables each
     corresponding to one of the client computers, the method
     comprising the steps of:
            (1) in the central computer, receiving from one of the
     plurality of client computers a request to establish a connection;
            (2) authenticating, with reference to one of the plurality
     of authentication tables, that the request received in step ( 1) is
     from an authorized client;
            (3) responsive to a determination that the request is from
     an authorized client, allocating resources to establish a virtual
     private link between the client and a second computer; and
           (4) communicating between the authorized client and the
     second computer using the virtual private link.


           18. A method of transparently creating a virtual private
     network (VPN) between a client computer and a target
     computer, comprising the steps of:
           (1) generating from the client computer a Domain Name
     Service (DNS) request that requests an IP address
     corresponding to a domain name associated with the target
     computer;

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              (2) determining whether the DNS request transmitted in
       step (1) is requesting access to a secure web site; and
              (3) in response to determining that the DNS request in
       step (2) is requesting access to a secure target web site,
       automatically initiating the VPN between the client computer
       and the target computer, wherein:
              steps (2) and (3) are performed at a DNS server separate
       from the client computer, and step (3) comprises the step of,
       prior to automatically initiating the VPN between the client
       computer and the target computer, determining whether the
       client computer is authorized to resolve addresses of non secure
       target computers and, if not so authorized, returning an error
       from the DNS request.
(Appeal Br., Claims App. i-iii.)

                           C. Claim Construction
       Patent Owner informs us that the '135 Patent has expired. Appeal
Br. 6. Requester does not dispute that the' 135 Patent is expired, but rather
contends the Board need not construe the claims, which, according to
Requester, are unpatentable even under Patent Owner's construction. Resp't
Br. 2--4.
       Because the '135 Patent is expired, we construe the claims using the
standard in Phillips v. AWH Corp., 415 F.3d 1303 (Fed Cir. 2005) (en bane)
as held in In re CSB-Sys. Int'/ Inc., 832 F.3d 1335, 1342 (Fed Cir. 2016)
(holding that the PTO should apply the Phillips standard for claim
construction once a patent expires). We largely agree with Requester, that
the claims on appeal do not require construction in order to resolve the
issues on appeal as discussed infra. However, to the extent claim
construction is necessary to resolve the case, we construe the claims under




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the Phillips standard to the extent necessary as discussed below. Vivid
Techs., Inc. v. Am. Sci. & Eng'g, Inc., 200 F.3d 795, 803 (Fed. Cir. 1999).


                                          D. Adopted Rejections
          Patent Owner contests the Examiner's decision to reject the claims as
follows (Appeal Br. 2-4; see RAN 6---10; Ans. 1):

····················••111111111J.1111••··
   10, 12-14                              · •·•·• •· •·•·•·•· ······••11•11~1~•••1••····
                                                                 102 a                   Aventail Connect v3.1 4
    10, 12-14                                    102                     Aventail Connect v3.01 5
    10, 12, 13                                   102                     AutoSOCKS 6
    11                                           103(a)                  Aventail Connect v3.1,
                                                                         Reed7
    11                                           103(a)                  Aventail Connect v3.01,
                                                                         Reed
    11 14 15                                     103 a                   AutoSOCKS Reed
    16                                           103(a)                  Aventail Connect v3 .1,
                                                                         Boden8
    16                                           103(a)                  Aventail Connect v3.01,
                                                                         Boden
    16                                           103 a                   AutoSOCKS, Reed, Boden
    17                                           103(a)                  Aventail Connect v3 .1,
                                                                         Weiss 9
    17                                           103 a                   Aventail Connect v3.01,

4 Aventail Connect v3. l/v2. 6 Administrator's Guide, 1999 ("Aventail
Connect v3 .1 ").
5 Aventail Connect v3.0llv2.51 Administrator's Guide, 1999 ("Aventail

Connect v3.01 ").
6 Aventail AutoSOCKS v2.1 Administration & User's Guide, 1997

("AutoSOCKS").
7 Michael G. Reed, Paul F. Syverson, and David M. Goldschlag, Proxies/or

Anonymous Routing, 12th Annual Computer Security Applications
Conference, San Diego, CA, December 9-13, 1996 ("Reed").
8 Boden et al., US 6,615,357 Bl, issued September 2, 2003 ("Boden").

9 Weiss, US 4,885,778, issued December 5, 1989 ("Weiss").



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                                               Weiss
 17                            103(a)          AutoSOCKS, Weiss
 10, 12, 13, 18                102(a)          Wang 10
 11,14,15                      103(a)          Wang, Reed
 16                            103(a)          Wang,Reed,Boden
 17                            103(a)          Wang, Weiss
 10, 12, 13, 18                103(a)          Beser 11 Kent 12
 18                            103(a)               '
                                               Beser, Kent, Blum 13
 18                            103(a)          Beser, Kent, AutoSOCKS
 11                            103(a)          Beser, Kent, Reed
 10, 12-15, 18                 102(a)          BinGO 14
 11                            103(a)          BinGO, Reed
 16                            103(a)          BinGO, Borden
 17                            103(a)          BinGO, Weiss




10 Wang, Broadband Forum TR-025: Core Network Architecture
Recommendations For Access to Legacy Data Networks over ADSL, Issue
1.0 (September 1999), accessible at http://www.broadband-forum.org/
technical/download/TR-025. pdf ("Wang").
11 Beser et al., US 6,496,867 Bl, issued December 17, 2002 ("Beser").
12 S. Kent and R. Atkinson, "Security Architecture for the Internet Protocol,"

Network Working Group RFC 2401, November 1998 ("Kent").
13 Blum et al., US 6,182,141 Bl, issued January 30, 2001 ("Blum").
14 BinGO! User's Guide ("BinGO UG") incorporating by reference BinGO!

Extended Feature Reference ("BinGO EFR"), accessible at
ftp://ftp.funkwerk-ec.com/bintec/old_products/bintec/bingo-generation/
bingo/doku/71 000b.pdf, ftp://ftp.elmeg.de/bintec/doku/swref/old/
71050a_v12.pdf (collectively referred to as "BinGO").

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                     III. PATENT OWNER'S APPEAL
A. Rejections based on Aventail Connect v3.1, Aventail Connect v3.01, and
          AutoSOCKS ("the Aventail References'') (Issues 19-30)15
                       1. The Examiner's Rejections
      The Examiner rejected claims 10-17 based on the Aventail
References either alone or in combination with other prior art by virtue of
adopting the Requester's explanations in the Request. See RAN 10-22,
citing Request 18-24 and 38-118, Exh. Cl-C3. The Examiner did not offer
any substantive comments in response to the Appeal Brief or Respondent
Brief. Ans. 1.


                      2. Patent Owner's Contentions
      Patent Owner contends, inter alia, the A ventail References do not
disclose the methods recited in the claims. Appeal Br. 11-25. Patent Owner
argues the Federal Circuit has already held that Patent Owner has disclaimed
systems such as those described in the Aventail References. Id. at 12, citing
VimetXv. Mangrove Partners, 778 F. App'x at 909-10.



                        3. Requester's Contentions
      Requester does not dispute Patent Owner's arguments, but rather
appears to agree with Patent Owner. See Resp't Br. 1 ("Requester
recommends that the Board not affirm the Examiner's rejections based on
[the Aventail References]."); Reb. Br. 3.


15The designation "Issue 19" is based on the labeling of rejections by the
Patent Owner, Requester, and the Examiner. We refer to these designations
for convenience of the reader.

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                                 4. Discussion
      As a result of the above discussion, it appears Requester has
withdrawn its earlier position that claims 10-1 7 would have been
unpatentable over the A ventail References alone or in combination with the
other prior art cited. In this regard, we observe that, as discussed above, the
Examiner's rejections based on the Aventail References were adopted as set
forth in the Request. In addition, the Examiner relies almost exclusively on
(and adopts) Requester's previous arguments in maintaining the rejections
based on the Aventail References. RAN 28-34.
      In view of the above, we reverse the rejections of claims 10-17 over
the A ventail References. 16


                      B. Anticipation - Wang (Issue 31)
      We limit our discussion to claims 10, 13, and 18, which is sufficient to
resolve the issues associated with this rejection. See 37 C.F.R.
§ 41.67(c)(l)(vii).
                               1. Claims 10 and 18
                         a) The Examiner's Findings
      The Examiner adopted the proposed rejection of independent claims
10 and 18 as set forth in the Request. RAN 22, citing Request 12-13,



16In this regard, although the Answer indicates all of the grounds in the
RAN are maintained based on the determinations made therein (Ans. 1), we
cannot reconcile the Examiner's positions, which adopt Requester's
rejections and positions, with the positions set forth by the Requester in the
Respondent Brief.

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25-26, and 119-139, 142; Exh. C4. Thus, the Examiner found Wang
discloses client computers (PC Clients), a gateway computer (PC-based
remote access server), and a corporate network containing secure destination
computers. Request 135, 137-138. The Examiner found Wang discloses
systems that include a DNS proxy server, namley L2TP Access Aggregation
(LAA) architecture, which includes an L2TP Access Concentrator (LAC) as
the DNS proxy server, and point-to-point protocol (PPP) Terminated
Aggregation (PTA), which includes a Broadband Access Server (BAS) as
the DNS proxy server. Request 135-137; Exh. C4, 24-27. The Examiner
found Wang discloses in the LAA architecture, PPP tunnels through the
Regional Broadband Network, and the PPP allows for authentication to be
requested during negotiation of a configuration request. Request 135-136.
The Examiner found Wang discloses the LAC determines the destination of
the request based on the user-name and domain information, and also
whether a tunnel exists to the proper L2TP Network Server (LNS), and if a
tunnel does not exist, the LAC establishes one. Request 136. The Examiner
found the BAS provides similar functions in the PTA architecture. Request
136---137.
      The Examiner found Wang discloses "VPNs (i.e., secure encrypted
tunnels being established after authentication)" that are established in
response to DNS requests specifying a secure domain, a corporate network.
Request 135-137, citing Wang 14-16, 18; see id. at 124, citing Wang 8-9.


                       b) Patent Owner's Contentions
      Patent Owner contends, inter alia, that neither the L2TP Access
Concentrator (LAC) used in the L2TP Access Aggregation (LAA)


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architecture nor the Broadband Access Server (BAS), used in the point-to-
point protocol (PPP) Terminated Aggregation (PTA) architecture disclosed
in Wang correspond to the DNS proxy server recited in claim 10. Appeal
Br. 27. In particular, Patent Owner argues the LAC and BAS do not receive
a request from a client computer to look up an IP address for a domain
name, but rather, only receive a user name from the user computer during
the PPP authentication phase. Id. Thus, Patent Owner argues the LAC and
BAS challenge the user for a user-name and password, and a user's response
to this challenge is not a request to look up an IP address even if the
destination Network Service Provider (NSP) is determined by the LAC and
BAS after receiving a user-name. Id. at 28.
      Similarly, Patent Owner argues Wang's LAC and BAS do not
disclose the DNS proxy server in claim 10, because neither returns an IP
address for a requested domain name if it is determined that access to a non-
secure web site has been requested. Appeal Br. 28-29. In this regard,
Patent Owner contends the Examiner has already determined Wang does not
disclose this feature in reference to claim 3, which recites similar language.
Id. at 28, citing, e.g., Action Closing Prosecution ("ACP") dated April 27,
2015. Patent Owner contends the LAC determines only the destination
Network Service Provider (NSP) from the name, determines if a tunnel
already exists to the proper LNS, and if one does not, the LAC establishes a
tunnel. Id. at 29. Patent Owner contends the BAS does not include
additional DNS servers as indicated by Requester, and further that the NSP
is not alleged to be the claimed DNS proxy server, such that the NSP cannot
correspond to the claimed DNS proxy server. Id.




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      Patent Owner also contends that Wang's LAC and BAS do not
generate a request to create a VPN between a client computer and a secure
target computer as recited in claim 10. Id. at 29-30. Patent Owner argues
Requester has not shown that a tunnel exists in any portion of the path
between the user computer and the NSP through the BAS such that Wang
does not disclose a VPN, and with regard to the LAC, the mere creation of a
tunnel does not mean traffic satisfies all the requirements of a VPN. Id. at
30. Patent Owner argues that in view of Wang's failure to disclose a VPN,
Wang fails to disclose the gatekeeper computer recited in claim 10. Id. at
31-32.
      Patent Owner contends also that Requester has improperly combined
elements from different architectures, the LAC and BAS of Wang, in order
to meet the recited DNS proxy server of claim 10. Id. at 31.
      Regarding independent claim 18, Patent Owner contends Wang does
not disclose generating a DNS request from a client computer that requests
an IP address corresponding to a domain name associated with a target
computer, because Wang merely discloses that a user name is provided by a
user to the LAC or BAS (an intermediate device) so that the user's intended
NSP is known. Id. at 34-36. Patent Owner contends Wang fails to disclose
automatically initiating a VPN between a client computer and a target
computer in response to determining a DNS request is requesting access to a
secure target web site. Id. at 36-38. Similar to claim 10, Patent Owner
argues that the rejection improperly combines separate elements from Wang
to anticipate claim 18. Id. at 38.




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                         c) Requester's Contentions
      Requester contends the rejection should be affirmed for the reasons
stated in the RAN and the Request, as Patent Owner's arguments are
substantially the same as those previously of record. Resp't Br. 13.


                                d) Analysis
      We are persuaded by Patent Owner's contentions that Wang does not
look up an IP address for a domain name as a result of a request from a
client computer as recited in claim 10 and generating from the client
computer a DNS request that requests an IP address corresponding to a
domain name associated with the target computer as recited in claim 18.
Wang discloses that in the LAA embodiment, the user will send a request to
initiate a session between a user's Customer Premises Equipment (CPE) and
the LAC (DNS proxy server), where for the purposes of authentication, the
user enters a user name as well as a domain name for the Network Service
Provider (NSP) for example, by entering "Joe@nsp.net." Wang 14-15. The
LAC determines the destination NSP "[b]ased on the user-name and domain
information." Id. at 15. The LAC establishes a tunnel to the proper LNS if
one does not exist. Id. Thus, as Patent Owner contends, Wang does not
disclose the LAC returns an IP address as recited in claim 10. See
Keromytis Deel. ,i,i 78, 79.
      Similarly, in the PTA architecture, Wang discloses the user initiates a
PPP session to the BAS over Asynchronous (ATM) Virtual Circuit
Connection (VCC), where the virtual dialer will send a PPP Link Control
Protocol (LCP) Configuration-Request to the BAS. Wang 18. The BAS
responds with a PPP LCP configuration-ACK and the PPP dialer responds


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with a PPP LCP Configuration-ACK to complete the configuration. Id.
After a link is established, the BAS initiates an authentication stage, which
challenges the user for a user-name and password, and the user will reply
with a fully qualified domain name. Id. Wang discloses "[t]he BAS extracts
the domain string portion of the user-name and sends off a query to NSP to
authenticate and obtain address information (e.g., DNS server's address)."
Id. Wang discloses "[i]n the case of IP network, The NSP replies with an IP
address and other IP configuration information (e.g. DNS Server's address).
This information is passed along to the user during the NCP phase for
configuring IP transport (based on IPCP)." Id. Thus, as Patent Owner
contends, Wang discloses receiving the IP address of the DNS server and not
the IP address of a domain name for a target computer. Appeal Br. 35;
Keromytis Deel. 80.
      Further with respect to claim 10, the Examiner and Requester do not
address, and we cannot reconcile, the apparent inconsistency identified by
Patent Owner in the Examiner's positions regarding the similar language in
claims 3 and 10 as to whether Wang discloses a DNS proxy server that
returns an IP address for a requested domain name if it is determined that
access to a non-secure web site has been requested. After identifying the
proposed rejection of claim 3 from the Request, the Examiner agreed that it
was well known for DNS servers to return an IP address associated with a
domain name, but found such was not the only mode of operation for the
systems disclosed in Wang. ACP 23-24, citing Request 128, Wang 18. The
Examiner found the portion of Wang cited in the Request discloses returning
an IP address of the DNS server, not the IP address associated with the target
domain name. Id. at 24. Thus, the Examiner found the Request was


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deficient in showing Wang discloses a DNS server that returns an IP address
associated with a domain name in response to a query for access to a non
secure target and showing that such an operation in Wang would have been
inherent. Id. Requester did not dispute the Examiner's findings with respect
to claim 3. See Req. 3rd Comments 18-25 (addressing anticipation
rejections of the claims based on Wang, but not the Examiner's findings that
the Request failed to show claim 3 was anticipated). The Examiner made no
additional comments or findings with respect to claim 10 being anticipated
by Wang, choosing instead to rely solely on the Request and Requester's
comments with respect thereto. See ACP 23, 38; RAN 22, 34, citing
Request 12, 13, 25, 26, 119-142, Exh. C4; Req. 3rd Comments 18-25. We
observe that the Request, in describing how claims 3 and 10 are anticipated
by Wang, relies on some of the same passages therein. Compare Request
Exh. C4, 11-12, with 23-26.
      Moreover, we are unable to find a clear statement of how Wang
discloses a DNS proxy server that returns an IP address for a requested
domain name if it is determined that access to a non-secure web site has
been requested as recited in claim 10. See, e.g., Request 12, 13, 25, 26, 119-
142, Exh. C4; Req. Req. 3rd Comments 18-25. That is, Requester focuses
on whether Wang discloses a DNS proxy server that returns an IP address as
a general matter, rather than the specific language of claim 10, as to what
happens in the event it is determined the DNS request is for a non-secure
web-site.
      Therefore, we agree with Patent Owner that the Examiner and
Requester have failed to provide sufficient explanation that Wang discloses
the system and method recited in claims 10 and 18 as arranged in the claims.


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Appeal Br. 31 (citing NetMoneyIN, Inc. v. VeriSign, Inc., 545 F.3d 1359,
1371 (Fed. Cir. 2008)), 36 (citing Richardson v. Suzuki Motor Co., 868 F.2d
1226, 1236 (Fed. Cir. 1989)).
      Accordingly, we reverse the Examiner's rejection of claims 10 and 18
as anticipated by Wang.


                                 2.    Claim 13
                          a) The Examiner's Findings
      The Examiner adopted the proposed rejection of independent claim 13
as set forth in the Request. RAN 22, citing Request 12-13, 25-26, and 139-
142; Ex. C4.
                       b) Patent Owner's Contentions
      Patent Owner argues Wang does not disclose a central computer that
maintains a plurality of authentication tables each corresponding to one of
the client computers, because authentication tables are not inherently present
in the LAC and BAS, which are alleged to correspond to the central
computer. Appeal Br. 32-33. Patent Owner argues also that the LAC and
BAS in Wang control admissions to tunnels based on the number of users in
a tunnel, and not responsive to authorization of a client, such that Wang does
not disclose allocating resources to establish a VPN based on a
determination that a client is authorized. Id. at 33-34.
                          c) Requester's Contentions
      Requester contends the rejection should be affirmed for the reasons
stated in the RAN and the Request, as Patent Owner's arguments are
substantially the same as those previously of record. Resp't Br. 13.



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                                  d) Analysis
      We are not persuaded by Patent Owner's arguments. That is, Patent
Owner's main argument is that the LAC does not compare the user name
with any credential stored therein, and similarly, the BAS does not compare
the received user name and password to any credentials stored therein, but
rather sends a query to the NSP to authenticate, and as such neither the LAC
nor the BAS is a central computer "maintains a plurality of authentication
tables" as recited in claim 13.
      In responding to Patent Owner's arguments, the Examiner, in the
RAN, incorporated by reference Requester's Comments filed July 15, 2015
("Req. 3rd Comments"). RAN 34. The Examiner and Requester rely on the
LAC as a central computer in the LAA architecture, and the BAS as the
central computer in the PTA architecture. Request, Exh. C4, 32-33; Req.
3rd Comments 24. The Request identifies the authentication phase between
the request from the client and the LAC, and the username and password
unique to the user as the information contained in authentication tables on
the LAC. Request, Exh. C4, 32, citing Wang, 14-15. In addition, the
Request specifically identifies Challenge Handshake Authentication
Protocol (CHAP) used in conjunction with the BAS as involving a
comparison of credentials stored on the server computer with credentials
presented by a client computer as involving the use of authentication tables.
Request, Exh. C4, 32-33, citing Wang, 18, Fig. 8. We agree with the
Examiner and Requester that claim 13 does not recite any particular form or
content for the "authentication tables" recited therein. Req. 3rd Comments
24. As such, we do not discern a distinction between the username and
password information that would be stored on the LAC for authentication


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phase or the BAS for CHAP authentication and the "authentication tables"
recited in claim 13.
      As to Patent Owner's arguments that the LAC and BAS in Wang do
not allocate resources responsive to a determination that the request is from
an authorized client, the Request explains that upon authenticating a client,
Wang discloses several gateway computers (LAC, BAS, and NSP) that
allocate resources to establish a VPN. Request, Exh. C4, 32-35, citing
Wang 12, 14-22. Patent Owner's arguments appear to be based on the
position that Wang does not disclose client authorization (Appeal Br. 33-
34), which we found unpersuasive as previously discussed. In this regard,
whether the LAC and BAS also perform admission control based on the
number of users in a tunnel (Appeal Br. 34) does not address the rationale in
the Request and adopted by the Examiner.
      As a result, we affirm the Examiner's rejection of claim 13 as
anticipated by Wang.
        C. Obviousness- Wang, Reed, Boden, Weiss (Issues 34-36)
             1. Claims 11, 14, and 15- Wang, Reed (Issue 34)
                            a) Claims 11 and 14
      Regarding claim 11, which depends from claim 10, because we
reversed the rejection of claim 10, and as Patent Owner points out, Reed
does not remedy the deficiencies of Wang (Appeal Br. 39), we reverse the
rejection of claim 11 as obvious over Wang and Reed.
      Regarding claim 14, Patent Owner does not set forth any additional
arguments with respect to claim 14, relying on it dependency from claim 13
as basis for patentability. Appeal Br. 39. Accordingly, we affirm the



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Examiner's rejection of claim 14 for similar reasons as discussed above with
respect to claim 13.
                                  b) Claim15
      Claim 15 depends from claim 14 and recites "wherein step (4)
comprises the step of comparing an Internet protocol (IP) address in a header
of each data packet to a table of valid IP addresses maintained in a table in
the second computer."
      The Examiner relied on the explanation provided by Requester in the
Request that Reed discloses comparing IP addresses because Reed discloses
"[w]hen a data cell arrives, the onion router looks up the cell's identifier in
its tables and finds the corresponding outbound identifier." RAN 23, citing
Request 145-146; Request Exh. C4, 36; Reed 7.
      Patent Owner contends Reed does not disclose or suggest the features
of claim 15. Appeal Br. 39 (citing§ VIII(I)(3), 22). In particular, Patent
Owner argues Reed discloses an onion router, which looks up a data cell's
identifier in its tables when the data cell arrives at the onion router. Id. at 22,
citing Reed§ 5.3.1. Patent Owner contends the cell identifiers are not IP
addresses, because they identify an anonymous connection and not the onion
router transmitting a cell. Id. citing Reed§§ 5.1, 5.2.1, Fig. 3.
      The Examiner and Requester do not respond to Patent Owner's
arguments. Resp't Br. 14; Req. Req. 3rd Comments 25.
      We agree with Patent Owner that there is no indication in Reed that
the cell identifier disclosed therein is an IP address. Reed discloses "cells
have type data and are labeled with the identifier of the associated
anonymous connection." Reed 7, § 5.3.1. The onion router looks up the
cell's identifier in tables within the onion router to find the corresponding


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outbound identifier. Id. The Examiner and Requester do not sufficiently
explain how the identifier would be an IP address. Indeed, Requester relies
on the Declaration of Michael Fratto executed on July 7, 2011 (Resp't Br.
Exh. E2) for support. See Request Exh. C4, 36, citing Fratto Deel. Exh. E2
11 193-194. Yet, the cited portion of the Fratto Declaration discussing
claim 15 does not rely on Reed for disclosing tables of IP addresses. Fratto
Deel. 11193-194.
      As a result, we reverse the Examiner's rejection of claim 15 as
obvious over Wang and Reed.


               2. Claim 16- Wang, Reed, Boden (Issue 35)
      Claim 16, depends from claim 15 and is rejected over the combination
of Wang, Reed, and Boden. See RAN 23; Request 147-148; Exh. C4, 37-
38. Thus, because, as Patent Owner points out, Boden does not remedy the
deficiencies of Reed (Appeal Br. 39), we reverse the Examiner's rejection of
claim 16 for similar reasons as discussed above for claim 15.


                3. Claim 17 - Wang, Reed, Weiss (Issue 36)
      Regarding claim 17, Patent Owner does not set forth any additional
arguments with respect to claim 17, relying on its dependency from claim 13
as the basis for patentability. Appeal Br. 39-40. Accordingly, we affirm the
Examiner's rejection of claim 17 for similar reasons as discussed above with
respect to claim 13.




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              D. Obviousness - Beser and Kent (Issues 37-40)
      We limit our discussion to claims 10, 13, and 18, which is sufficient to
resolve the issues associated with these rejections. See 3 7 C.F .R.
§ 41.67(c)(l)(vii).
                                 1.    Claim 10
                        a) The Examiner's Findings
      In rejecting claim 10 as obvious over Beser and Kent, the Examiner
adopted the rejections as proposed by Requestor. RAN 24, citing Request
13, 29-30, and 150-173, Exh. CS.


                       b) Patent Owner's Contentions
      Patent Owner contends, inter alia, Beser and Kent do not disclose or
suggest both a request to look up an IP address for a domain name and a
request to create a VPN as recited in claim 10, because Beser's tunneling
request (request to initiate a VoIP association) cannot be both requests, as
there is no request from the trusted-third-party network device to the second
network device to negotiate the IP tunnel. Appeal Br. 47.


                         c) Requester's Contentions
      Requester argues Beser receives a request from a client computer to
look up an IP address for a domain name because Beser discloses that the
trusted-third-party-network device, which can be a DNS server, contains a
table that correlates unique identifiers (domain names) to both the IP address
of the terminating device and the IP address of the associated second
network device. Id. at 10-11. Requester contends Beser and Kent teach
both a request to look up an IP address for a domain name and a request to


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create a VPN, because Beser discloses that after the trusted-third-party
network device receives a tunneling request, it sends a request to the second
network device to begin negotiating the IP tunnel (VPN). Id. at 11.


                                 d) Analysis
      Claim 10 recites "a gatekeeper computer that allocates resources for
the VPN between the client computer and the secure web computer in
response to the request by the DNS proxy server." As explained in the' 135
Patent, the "[g]atekeeper 2603 can be implemented on a separate computer
(as shown in FIG. 26) or as a function within the modified DNS server
2602." '135 Patent, col. 38, 11. 53-55. Claim 10 expressly recites a system
including a DNS proxy server and a gatekeeper computer that allocates
resources for the VPN. Thus, in view of the' 135 Patent, we interpret claim
10 to be directed to embodiments where the gatekeeper is a separate
computer and not a function within the DNS server.
      In the rejection, the Examiner and Requestor rely on the trusted third
party network device disclosed in Beser as a gateway computer (see
Request, Exh. CS, 12, 16) and also as the DNS proxy server (see Resp't Br.
9 (discussing how the trusted-third-party network device would return an
unsecure IP address, recited in claim 10 as a function performed by the DNS
proxy server); Request, Exh. CS, 14). Beser discloses a trusted third party
network device 30 that is connected to a public network 12, which may be a
domain name server. Beser, col. 3, 1. 60- col. 4, 1. 18; Fig. 1. Although
Beser discloses the trusted-third party network device 30 may be distributed
over several locations (id.), the rejection does not sufficiently explain how
Beser would be modified to meet the requirements set forth in claim 10.


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Thus, because claim 10 requires a gatekeeper computer that allocates
resources for the VPN that is separate from a DNS proxy server, we agree
with Patent Owner that the same third party trusted network cannot relied on
as disclosing both limitations. Appeal Br. 47.
         As a result, we reverse the Examiner's rejection of claim 10 and claim
12, dependent therefrom, as obvious over Beser and Kent.
         In addition, claim 11, which depends from claim 10, is separately
rejected as obvious over Beser, Kent, and Reed (Issue 40). Reed does not
remedy the above noted deficiencies (see Request, Exh. CS, 16-18). Thus,
we reverse the rejection of claim 11 as well.


                                  2. Claim 13
         Although claim 13 is listed as rejected in the Request (see Request 29)
and in the Right of Appeal Notice (see RAN 24), we agree with Patent
Owner (Appeal Br. 48-49) that there is no articulation of a rejection of claim
13. See Request, Exh. CS, 18-19 (showing claim charts for claims 12 and
18, but not claim 13). Neither the Requester nor the Examiner provides any
clarity with respect to this issue. See RAN generally; Resp't Br. 4-14. We
are of the view the reference to claim 13 in the rejection is a typographical
error.
         However, to the extent that the Request and RAN may be interpreted
to set forth a rejection of claim 13 as obvious over Beser and Kent, we
reverse such a rejection as being facially deficient. That is, there is no
articulated prima facie case of how the limitations of claim 13 would have
been rendered obvious over Beser and Kent on this record.



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                                 3. Claim 18
                        a) The Examiner's Findings
      In rejecting claim 18 as obvious over Beser, Kent, Blum, and
AutoSOCKS, the Examiner adopted the rejections as proposed by
Requestor. RAN 24--25, 36---37, citing Request 12, 13, 29-32, 150--173, and
178-182, Exh. CS.


                       b) Patent Owner's Contentions
      Patent Owner argues one of ordinary skill in the art would not have
combined Beser and Kent because Beser teaches away from encryption
between a client computer and a target computer and the IPsec protocol
disclosed in Kent. Appeal Br. 42-44, 49. Patent Owner contends Beser and
Kent do not disclose or suggest receiving a request from a client computer to
look up an IP address for a domain name or determining whether the DNS
request is requesting access to a secure web site. Id. at 46, 49-51.
      Patent Owner contends also that Beser and Kent do not disclose or
suggest returning an IP address for a requested domain name if it is
determined that access to a non-secure web site has been requested. Id. at
44-45. Specifically, Patent Owner contends that Beser is silent as to what
would happen if an identifier for an unknown destination were sent to the
trusted-third-party network device, and if the destination is unknown, the
trusted-third-party network device has no information about the destination
and therefore cannot determine whether the tunneling request is requesting
access to a secure or unsecure destination or web site. Id.
      Patent Owner argues Beser and Kent do not disclose or suggest
determining whether the client computer is authorized to resolve addresses


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of non-secure target computers. Id. at 51. Patent Owner contends also that
Blum's DNS services do not factor in client authorization. Id. at 52-53.


                        c) Requester's Contentions
      Requester points out that the Board, in a number of other proceedings
involving other patents in the same family as the '135 Patent, has made
findings with respect to Beser that are consistent with the Examiner's
determinations in the current reexamination. Resp't Br. 4-5. Requester
argues Beser does not teach away from encryption in IP tunneling
applications, rather, Beser discloses encryption is conventional and is
ordinarily used in IP tunneling schemes, expressly referring to Kent for such
implementations. Id. at 6-8. Requester argues the practical concerns in
implementing encryption in IP tunneling schemes discussed in Beser are in
only two data transfer scenarios that may be overcome by using more
powerful equipment. Id. at 7-8. Requester contends that contrary to Patent
Owner's argument that Beser does not disclose returning an IP address if it
is determined that access to a non-secure web site is requested, Beser
discloses the trusted-third-party network device would return either an
unsecure IP address, or if the identifier was not contained in a public DNS
entry, a "host unknown" error. Id. at 9. Requester argues Beser receives a
request from a client computer to look up an IP address for a domain name
because Beser discloses that the trusted-third-party-network device, which
can be a DNS server, contains a table that correlates unique identifiers
(domain names) to both the IP address of the terminating device and the IP
address of the associated second network device. Id. at 10-11. Requester
contends Beser and Kent teach both a request to look up an IP address for a


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domain name and a request to create a VPN, because Beser discloses that
after the trusted-third-party network device receives a tunneling request, it
sends a request to the second network device to begin negotiating the IP
tunnel (VPN). Id. at 11.
      Requester contends Blum discloses errors are provided in a variety of
scenarios incidental to DNS queries in its scheme, such as if a DNS request
fails or to enforce security policies. Resp't Br. 12. Requester contends that
Patent Owner admits various errors are returned in VPN deployment using
IPSec as disclosed in Kent including "ICMP error messages." Id.


                                 d) Analysis
                           (1) Collateral Estoppel
      At the outset, we observe, as does Requester, that several issues
identified by Patent Owner with respect to the combination of Beser and
Kent have been decided previously by the Board in other proceedings and
subsequently affirmed by the Federal Circuit. In particular, Patent Owner's
arguments that Beser teaches away from the use of encryption and the IPsec
protocol disclosed in Kent, as well as Patent Owner's arguments that Beser
does not render obvious looking up an IP address for a domain name and
determining whether the request is requesting access to a secure/non-secure
web site have been addressed and as such, we are of the view that Patent
Owner is collaterally estopped from relying on such arguments here for the
reasons that follow.
      As recently held by our reviewing court in SynQor, Inc. v. Vicor
Corp., No. 19-1704, slip op. at 13-14, 18 (Fed. Cir. Feb. 22, 2021),
collateral estoppel arising from a first reexamination may be applied to a


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second reexamination. In addition, as noted in SynQor, issue preclusion
applies to inter partes review. Id. at 7, citing Papst Licensing GmbH & Co.
KG v. Samsung Elecs. Am., Inc., 924 F.3d 1243, 1250-51 (Fed. Cir. 2019).
Thus, as further discussed below, we do not see a reason why issue
preclusion would not apply to a reexamination based on a previous inter
partes review.
                Issue preclusion is appropriate only if: ( 1) the issue is
         identical to one decided in the first action; (2) the issue was
         actually litigated in the first action; (3) resolution of the issue was
         essential to a final judgment in the first action; and (4) plaintiff
         had a full and fair opportunity to litigate the issue in the first
         action.
SynQor, slip op. at 18, quoting In re Freeman, 30 F.3d 1459, 1465 (Fed. Cir.
1994).
         In determining whether the issues are identical, we observe that the
patent claims of the patents at issue in each proceeding need not be identical.
Id., quoting Ohio Willow Wood Co. v. Alps S., LLC, 735 F.3d 1333, 1342
(Fed. Cir. 2013). In addition, "an 'issue' must be understood broadly
enough 'to prevent repetitions litigation of what is essentially the same
dispute."' Id. at 18-19, citing B&B Hardware, Inc. v. Hargis Indus., Inc.,
575 U.S. 138, 157 (2015) (citing Restatement (Second) of Judgments§ 27
cmt. c, at 252-253).
         Here, Patent Owner has argued in multiple inter partes review
proceedings in which the combination of Beser and Kent have been applied
to claims reciting a request for an IP address based on a domain name and
where a virtual private network link is established, that Beser does not
disclose or suggest DNS look up functionality and that Beser teaches away



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from the use of IPsec protocol in Kent, arguments that were rejected by the
Board and where the Decisions were affirmed by the Federal Circuit. See
Apple, Inc. v. VirnetX, Inc., IPR2016-00331, Paper 29 at 6, 21-41 (PTAB
June 22, 2017) (Final Written Decision), aff'd, VirnetX, Inc. v. Apple, Inc.,
909 F.3d 1375 (Fed. Cir. 2018); Apple, Inc. v. VirnetX, Inc., IPR2015-
00810, Paper 44 at 5, 26-45 (PTAB August 30, 2016) (Final Written
Decision); Apple, Inc. v. VirnetX, Inc., IPR2015-00812, Paper 43 at 4-5, 16-
38 (PTAB August 30, 2016) (Final Written Decision); Apple, Inc. v.
VirnetX, Inc., IPR2015-00866, Paper 39 at 4-5, 17-39 (PTAB September
28, 2016) (Final Written Decision); Apple, Inc. v. VirnetX, Inc., IPR2015-
00868, Paper 39 at 5, 18-41 (PTAB September 28, 2016) (Final Written
Decision); Apple, Inc. v. VirnetX, Inc., IPR2015-00870, Paper 39 at 4-5, 29-
52 (PTAB September 28, 2016) (Final Written Decision), aff'd, VirnetX, Inc.
v. Apple, Inc., 715 F. App'x 1024 (Fed. Cir. 2018). See VirnetX, 909 F.3d at
1378 (discussing that a Rule 36 judgment may serve as a basis for collateral
estoppel, citing Phil-Insul Corp. v. Airlite Plastics Co., 854 F.3d 1344,
1356-57 (Fed. Cir. 2017)).
      Thus, the issues of whether as a general matter, Beser teaches away
from encryption and the IPsec protocol disclosed in Kent, whether Beser
discloses or renders obvious receiving a request to look up an IP address for
a domain name, and whether Beser determines that a requested web-site is
secure/non-secure are identical and actually litigated in the aforementioned
inter partes review proceedings. Such issues were also essential to the final
judgment, because they were essential to the determination of whether Beser
and Kent rendered the claims obvious. Moreover, Patent Owner had a full
and fair opportunity to litigate such issues in the inter partes review


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proceedings through the presenting of evidence in the form of expert
declarations and cross-examination. See SynQor, slip op. at 15-17 (citing
MaxLinear, Inc. v. CF CRESPE LLC, 880 F.3d 1373, 1376 (Fed. Cir. 2018),
for the proposition that live testimony is not a prerequisite for the application
of collateral estoppel in administrative proceedings such as inter partes
reviews). Accordingly, Patent Owner is collaterally estopped from arguing
that Beser teaches away from encryption and that Beser fails to disclose or
render obvious receiving a request to look up an IP address for a domain
name and determining whether the request is to a secure/non-secure web
site.
         Alternatively, even if collateral estoppel does not apply, the findings
and rationale of the Examiner and arguments and evidence cited by
Requestor, as summarized above, show persuasively that the combination of
Beser and Kent renders obvious the claims at issue here. Accordingly, no
good reason exists on this record to depart from the above-listed Board
decisions directed to materially similar issues.


         (2) "determining whether the client computer is authorized . .. "
         Claim 18 recites in part, "step (3) comprises the step of, prior to
automatically initiating the VPN between the client computer and the target
computer, determining whether the client computer is authorized to resolve
addresses of non secure target computers and, if not so authorized, returning
an error from the DNS request."
         The ' 13 5 Patent discloses a scenario where if a client does not have
permission to establish a normal/non-VPN link, the gatekeeper would reject
the request and the DNS proxy server would return an error message to the


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client. '135 Patent, col. 40, 11. 4-13. The language of claim 18 is confusing
because the language appears to be directed to the disclosed scenario at
column 40, lines 4-13 of the '135 Patent, but the claim language does not
clearly recite this scenario. In an effort to resolve the issues with respect to
claim 18, we consider Patent Owner's arguments and decide whether as a
general matter, the prior art would have rendered obvious determining
whether a client has permission to access a web site and if not, returning an
error message.
        We observe, as does Patent Owner, that although claim 18 is listed as
rejected as obvious over Beser and Kent alone (RAN 24, Issue 37), and
additionally over the combination of Beser, Kent, and Blum (RAN 24, Issue
38), the rejection of claim 18 as set forth in the Request and adopted by the
Examiner does not explain how claim 18 would have been obvious over
Beser and Kent alone, but rather relies on Blum for the client authorization
recitation. See Request 176-178, Exh. CS, 19-21. Moreover, regarding the
combination of Beser, Kent, and AutoSOCKS (RAN 25, Issue 39; Request
181-182), although the Examiner indicates that the proposed rejection is
adopted, as Patent Owner observes, the Examiner expressly found
AutoSOCKS does not disclose determining whether the client is authorized
to resolve addresses of non-secure target computers. RAN 18.
        Accordingly, we limit our discussion to the combination of Beser,
Kent, and Blum, and to the extent claim 18 stands rejected over the
combination of Beser and Kent alone or the combination of Beser, Kent, and
AutoSOCKS, we reverse such rejections due to the lack of a prima facie
case.




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       We are not persuaded by Patent Owner's arguments. In particular,
Patent Owner's arguments that Beser does not necessarily require any
determination of client computer authorization and that Kent's disclosure of
ICMP error messages do not relate to authorization or DNS requests (Appeal
Br. 52, citing Keromytis Deel. 1 102 and Supp. Keromytis Deel. 1 21) fail to
appreciate what the prior art as a whole would convey to one of ordinary
skill in the art. In this regard, Beser discloses the IP packets may require
authentication (Beser, col. 11, 11. 22-25), and Kent discloses access control,
which is "prevention of use of a resource in an unauthorized manner." Kent
4, 45. Further, Blum discloses employing protocol filters in order to impart
specific capabilities and functions, and when services are not available to a
client computer, an error message may be returned to the client. Blum,
col. 7, 11. 35-38, 56-58; col. 8, 1. 65 - col. 9, 1. 3.
       Thus, the determination of what web sites, whether secure or non-
secure, are available to the client would have been an obvious variation of
the authentication procedures disclosed in Beser, Kent, and Blum, such that
determining whether a client is authorized to access a non secure target
computer and returning an error if the client is not authorized to access a
non-secure target as recited in claim 18 would have been obvious.
       Accordingly, we affirm the Examiner's rejection of claim 18 as
obvious over Beser, Kent, and Blum.


                      E. Anticipation - Bin GO (Issue 41)
       We limit our discussion to claims 10, 13, 14, and 18, which is
sufficient to resolve the issues associated with this rejection. See 37 C.F.R.
§ 41.67(c)(l)(vii).


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                                 1. Claim 10
                        a) The Examiner's Findings
      The Examiner adopted the rejection of claims 10, 12-15, and 18 as
anticipated by BinGO as proposed in the Request. See RAN 25-26, citing
Request 13, 14, 32, 33, and 184-218; Exh. C6. Thus, the Examiner found
that BinGO discloses systems including client computers, the BinGO! router
or routers in a corporate network acting as a gateway computer, and
destinations that are both secure and non-secure. Request 206, citing BinGO
15, Fig. 1-1. The Examiner found BinGO discloses three different ways that
will determine if a DNS request specifies a secure destination: ( 1) a local
DNS server is set up on a Local Area Network (LAN); (2) the client
computer will compare the DNS request first to the data in the LMHOSTS
(LAN Manager HOSTS) file on the client computer; and (3) the BinGO!
router is configured to have a corporate network as a "default route," where
the DNS request would be resolved. Id. at 206-207, citing BinGO UG 17,
40, 145, 175-176, 265-266; BinGO EFR 82-85. The Examiner found
BinGO discloses automatically establishing a VPN if a secure destination is
requested and if a non-secure web site is requested an IP address of that
DNS request is returned to the client computer. Id. The Examiner found
BinGO discloses the BinGO! router is a gateway computer, because it is
separate from the client computer and allocates resources for the VPN
between the client computer and the secure web computer in response to the
DNS request. Id. at 207.




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                      b) Patent Owner's Contentions
      Patent Owner contends BinGO does not disclose determining that
access to a secure web site has been requested as recited in claim 10.
Appeal Br. 55. That is, Patent Owner argues BinGO's disclosures of
querying a local DNS server on a local area network (LAN), querying a
LMHOSTS file, and querying a "default route" in the absence of any
internet service provider (ISP) do not perform the determining step of claim
10. Id. Patent Owner argues querying a local DNS server on a LAN and
querying a default route in the absence of any ISP, the BinGO! router
blindly forwards a request to a primary domain name server in accordance
with its "Static Settings." Id. at 55-56. As a result, Patent Owner contends
the BinGO! router makes no determination as recited in claim 10. Id. at 56.
Patent Owner contends BinGO discloses that LMHOSTS is an alternative to
setting up a domain name server and operates without asking for a DNS. Id.
Patent Owner contends that BinGO does not disclose a gatekeeper computer
that allocates resources for the VPN. Id. Patent Owner contends it was
improper for the rejection to rely on the combination ofBinGO UG and
BinGO EFR in order to support an anticipation rejection. Id. at 56--57.


                        c) Requester's Contentions
      Requester contends the rejection should be affirmed for the reasons
stated in the RAN and the Request, as Patent Owner's arguments are
substantially the same as those previously of record. Resp't Br. 14-15.




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                                  d) Analysis
        Initially, we are not persuaded by Patent Owner's contentions that the
rejection improperly relies on the combination ofBinGO UG and BinGO
EFR in order to support the anticipation rejection. In support of their
argument, Patent Owner cites to Advanced Display Sys., Inc. v. Kent State
Univ., 212 F.3d 1272, 1282 (Fed. Cir. 2000). Appeal Br. 57. As explained
in Advanced Display, material not explicitly contained in a single document
may still be considered for anticipation if the material is incorporated into
the document. 212 F.3d at 1282. The material must be cited "in a manner
that makes clear that the material is effectively part of the host document as
if it were explicitly contained therein." Id. In addition, "the host document
must identify with detailed particularity what specific material it
incorporates and clearly indicate where that material is found in the various
documents." Id. "Whether and to what extent material has been
incorporated by reference into a host document is a question of law." Id. at
1283.
        In this case, BinGO UG discloses "BinTec Documentation," which
includes the "Extended Feature Reference." BinGO UG 22. BinGO UG
expressly refers to BinGO EFR in several places for detailed information in
implementing specific functions. See BinGO UG 115,226,266,279. Thus,
we are of the view that BinGO UG incorporates by reference BinGO EFR.
See RAN 37; Req. 3rd Comments 40.
        Patent Owner's contention that BinGO UG bears a later date (March
1999) than BinGO EFR (February 1999) is not persuasive, as the earlier date
in BinGO EFR is consistent with the proposition that in order for the host
document to incorporate another document by reference, the incorporated


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document must have an earlier date than the host document. See Advanced
Display, 212 F.3d at 1282-83 (citing National Latex Prods. Co. v. Sun
Rubber Co., 274 F.2d 224,230 (6th Cir. 1959) (requiring a specific
reference to material in an earlier application in order have that material
considered part of a later application)).
      We are not persuaded by Patent Owner's argument that BinGO fails
to disclose the "determining" step in claim 10, because Patent Owner's
argument is not commensurate in scope with the claim. That is, Patent
Owner's contention is based on the position that the "BinGO! router plays
no role in deciding where a DNS request is seeking access." Appeal Br. 55.
However, claim 10 does not assign the determining step to a particular
component or function therein. That is, claim 10 recites that the DNS proxy
server returns an IP address for the requested domain name "if it is
determined" access to a non-secure web site has been requested. Similarly,
claim 10 recites that the DNS proxy server generates a request to create a
VPN between the client computer and secure target computer "if it is
determined" access to a secure web site has been requested. Thus, whether
the BinGO! router plays a role in deciding where a DNS request is seeking
access is not relevant to claim 10.
      We are also not persuaded by Patent Owner's argument that
LMHOSTS does not perform DNS resolution. Appeal Br. 56. BinGO UG
expressly discloses: "In the LMHOSTS file, IP addresses are arranged with
their computer names in tabular form. If, for example, you are looking for
BossPC, ... your PC asks its LMHOSTS file for the corresponding IP
address and in this way is able to find the PC." BinGO UG 61. Patent
Owner has not sufficiently explained why this name resolution process does


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not equate to the DNS resolution process at the level of particularity recited
in the claim. See Claim 10 ("[T]he DNS proxy server returns the IP address
for the requested domain name.").
      To the extent Patent Owner's argument is that the processes in BinGO
would not distinguish between a secure and non-secure target computer, we
are not persuaded, because BinGO expressly discloses connections for
"usual internet services" as well as secure connections to a head office. See
BinGOUG 18.
      In addition, BinGO also discloses that in situations where the request
from a client computer is a secure target computer, the BinGO! router
creates a VPN between the client computer and the target computer. That is,
BinGO discloses the BinGO! router sets up a VPN using PPTP (Point to
Point Tunneling Protocol) in order to provide access for field service staff
via an internet and laptop to a company network. BinGO 226.
      As a result, we affirm the Examiner's rejection of claim 10 as
anticipated by BinGO.
                                 2. Claim 12
      Claim 12 depends from claim 10, and further recites that "the
gatekeeper computer determines whether the client computer has sufficient
security privileges to create the VPN and, if the client computer lacks
sufficient security privileges, rejecting the request to create the VPN."
      The Examiner found the BinGO ! router discloses requiring
authentication before establishing connections to a remote server, by
disclosing checking incoming data to decide whether the connection should
be allowed, such that acceptance of the call takes place only after correct
authentication. Request Exh. C6, citing BinGO UG 269. The Examiner


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found BinGO discloses personal authentication and thus discloses the
BinGO! router (as the gatekeeper computer) will determine if the client
computer has sufficient security privileges to create the VPN and if not, will
reject the request to create the VPN. Id. citing BinGO UG 77, 114, 145,
149, 154-156, 182, 190-192, 242-243, and 263; BinGO EFR at 76-77, 84-
85, 88-91, 93, 95 and 97.
      Patent Owner contends the BinGO! router, when checking incoming
data, is authenticating the target computer, and does not disclose
authenticating its own client computer. Appeal Br. 57-58.
      The Examiner incorporates by reference Requester's comments
regarding BinGO. RAN 37, citing Req. 3rd Comments 37-45. Requester
relies on the rejections as set forth in the Request and contends Patent
Owner's arguments in the Appeal Brief are substantially the same as those
responded to in the Comments relied upon by the Examiner. See Resp't Br.
14-15.
      We are not persuaded by Patent Owner's arguments, because as
Requester points out, in BinGO, when a user makes a request to the BinGO!
router and that request is for a secure connection through a VPN,
authentication of the initiating partner is performed via PAP, CHAP, or MS-
CHAP. BinGO EFR 84. As such, if the authentication fails, the BinGO!
router would reject the request consistent with the very purpose of
performing an authentication.




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                                 3. Claim 13
                        a) The Examiner's Findings
      Although the Request relies on BinGO' s disclosure of local name and
common password information, which is also known by a WAN partner and
stored on the BinGO! router (the central computer), as the authentication
tables (see Request, Exh. C6, 30), the Examiner found that it is the use of
PAP, CHAP, and MS-CHAP protocols that correspond to the authentication
tables recited in claim 13. Req. 3rd Comments 43-44, citing BinGO EFR
84. The Examiner found that such authentication protocols require the
BinGO! router as the authenticating device to store user/password
combinations in an authentication table, and to use tables to authenticate
requests from clients. Id.
                       b) Patent Owner's Contentions
      Regarding claim 13, Patent Owner argues that BinGO does not
disclose a central computer that maintains a plurality of authentication tables
as recited therein. Appeal Br. 58-59. Patent Owner contends there is
insufficient explanation as to how the use of PAP, CHAP, and MS-CHAP
protocols in BinGO necessarily require a central computer that maintains a
plurality of authentication tables. Id. Patent Owner contends that BinGO's
disclosure of checking incoming calls does not constitute determining that
the request is from an authorized client or allocating resources to establish a
VPN, because BinGO does not disclose a BinGO! router that authenticates
its own client. Id. at 59. In addition, Patent Owner contends the rejection
relies on BinGO EFR for this feature, which is an additional reference that
cannot be combined with BinGO UG in an anticipation rejection. Id.; see id.




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at 56-57. Patent Owner argues that BinGO does not disclose any virtual
private link or encrypted communications. Id.
                         c) Requester's Contentions
      The Examiner incorporates by reference Requester's comments
regarding BinGO. RAN 37, citing Req. 3rd Comments 37-45. Requester
relies on the rejections as set forth in the Request and contends Patent
Owner's arguments in the Appeal Brief are substantially the same as those
responded to in the Comments relied upon by the Examiner. See Resp't Br.
14--15.
                                 d) Analysis
      Initially, we have already addressed the rejection's reliance on the
combination ofBinGO UG and BinGO EFR above with respect to claim 10.
We are not persuaded by Patent Owner's argument that BinGO does not
disclose a central computer with authentication tables. Claim 13 recites the
central computer receives a request from a client computer to establish a
connection, and requires a determination that the request is from an
authorized client.
      In BinGO, when a user makes a request to the BinGO! router and that
request is for a secure connection through a VPN, authentication of the
initiating partner is performed via PAP, CHAP, or MS-CHAP. BinGO EFR
84. As discussed above with respect to Wang, we do not discern a
distinction between the "authentication tables" recited in claim 13 and such a
disclosure as in BinGO. Once this authentication has taken place, the
BinGO! router can set up a VPN (allocate resources) between the client and
second computer. BinGO UG 226.



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      Accordingly, we affirm the Examiner's rejection of claim 13 as
anticipated by BinGO.
                            4. Claims 14 and 15
      Claim 14 depends from claim 13 and recites "wherein step (4)
comprises the step of communicating according to a scheme by which at
least one field in a series of data packets is periodically changed according to
a known sequence."
      In adopting the rejections set forth in the Request, the Examiner found
the BinGO! router "can be configured to implement a variety of Network
Address Translation (NAT) schemes." Request 212, Exh. C6, 33. The
Examiner found "NAT schemes inherently function by changing at least one
field in a series of data packets periodically according to a known sequence."
Id. The Examiner relied on an additional reference, RFC 2663, as
"representative of what was publicly known about NAT schemes." Id.; see
Resp't Br. Exh. Yl 7. The Examiner found RFC 2663 discloses NAT
devices provide a transparent routing solution to end hosts by modifying end
node addresses en-route. Id. citing RFC 2663 1. The Examiner found NAT
schemes were known to be useful and compatible with VPNs based on IP
tunneling. Id. citing RFC 2663 21.
      Patent Owner contends BinGO does not disclose NAT as being used
in a virtual private link. Appeal Br. 59. Patent Owner contends further that
BinGO does not incorporate by reference RFC 2663, or explain that its use
ofNAT complies with RFC 2663. Id. citing BinGO UG 244--49.
      Requester contends NAT schemes inherently function by periodically
changing at least one field in a series of data packets according to a
predetermined sequence. Req. 3rd Comments 45, citing Request 212; RAN


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37. Requester contends "[b]ecause the BinGO! router is able to map IP
addresses so that the datagrams are sent to the correct end-point (as opposed
to a random end-point), the sequence of address changes must be known."
Id. Requester contends that BinGO explicitly discloses it uses NAT, which
is a standard defined in RFC 2663, such that BinGO incorporates RFC 2663
by reference. Id.
      We are persuaded by Patent Owner's argument that BinGO does not
inherently disclose the use of NAT in a manner that necessarily complies
with RFC 2663 by incorporating RFC 2663 by reference. That is, BinGO
has a copyright date of March 1999. BinGO UG 3. RFC 2663 has a date of
August 1999. RFC 2663 1. Thus, BinGO was available prior to RFC 2663,
and cannot have incorporated RFC 2663 by reference. In addition, BinGO
expressly discloses the guidelines and standards to which it adheres, and
RFC 2663 is not listed. BinGO UG 2-3.
      To the extent the rejection of claim 14 relies on BinGO itself, we find
no express description that in using NAT, the requirement in claim 14 that
"at least one field in a series of data packets is periodically changed
according to a known sequence" is disclosed therein. BinGO UG 244-249.
      Thus, the Examiner's and Requester's position that claim 14 is
anticipated by BinGO via the incorporation of RFC 2663 is not sufficiently
supported. Accordingly, we reverse the rejection of claim 14 as anticipated
by BinGO. Because claim 15 depends from claim 14, we reverse the
rejection of claim 15 as well.




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                                5. Claim 18
                       a) Patent Owner's Contentions
      Patent Owner contends BinGO does not disclose determining that
access to a secure web site has been requested as recited in claim 18.
Appeal Br. 55, 60. That is, Patent Owner argues BinGO's disclosures of
querying a local DNS server on a local area network (LAN), querying a
LMHOSTS file, and querying a "default route" in the absence of any
internet service provider (ISP) do not perform the determining step of claim
18. Id. Patent Owner argues that in querying a local DNS server on a LAN
and querying a default route in the absence of any ISP, the BinGO! router
blindly forwards a request to a primary domain name server in accordance
with its "Static Settings." Id. at 55-56. As a result, Patent Owner contends
the BinGO! router makes no determination as recited in claim 18. Id. at 56.
Patent Owner contends BinGO discloses that the LMHOSTS is an
alternative to setting up a domain name server and operates without asking
for a DNS. Id. Patent Owner contends BinGO does not disclose a request to
create a VPN between the client computer and a secure target computer as
BinGO does not mention encryption or VPNs at all. Id. Patent Owner
contends that the rejection improperly relies on a second reference, BinGO
EFR, which is improper for an anticipation rejection. Id. at 56-57. Patent
Owner contends that the VPN disclosed in BinGO EFR is implemented only
for connecting to the Internet through an ISP, which is the result of a query
requesting a non-secure computer, not for a secure web site as recited in
claim 18. Id. at 57.
      In addition, Patent Owner argues BinGO does not disclose that steps
(2) and (3) are performed at a DNS server separate from a client computer as


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recited in claim 18. Appeal Br. 60. In particular, Patent Owner contends the
BinGO! router is not a DNS server, and that a DNS server located on either
a LAN or corporate network does not automatically initiate a VPN. Id. at
60-61. Patent Owner argues also that BinGO does not disclose determining
whether a client computer is authorized to resolve addresses of non secure
target computers, and if not so authorized, returning an error from the DNS
request, and the position that such a step would be inherent in the BinGO!
router is not sufficiently supported. Id. at 61-62.
      The Examiner and Requester did not provide any specific responses to
Patent Owner's contentions.
                                b) Discussion
      BinGO discloses that its BinGO! router is used as a DNS proxy
server. BinGO 87. BinGO discloses the BinGO! router is used to connect to
non-secure sites over the internet, as well as secure sites such as a
company's head office. See BinGO 15, Fig. 1-1, 18. BinGO discloses that
when the user enters a DNS request for a website (www.bintec.de), if the
destination is unknown to the BinGO! router, it forwards the request to a
further DNS server (provider) for domain name resolution. Id. at 92.
BinGO discloses the IP address is returned to the PC and the PC is
connected to the destination using a default route. Id.
      Although in this case, the BinGO! router itself does not perform the
domain name resolution step, claim 18 allows for such a scenario. That is,
claim 18 recites only that that "steps (2) and (3) are performed at a DNS
server separate from the client computer." Claim 18 does not require a
particular DNS server to perform determining step (2), which allows for the




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BinGO! router acting as a DNS proxy server to forward the request to
another DNS as disclosed in BinGO.
      BinGO also discloses that in situations where the request from a client
computer is a secure target computer, the BinGO! router creates a VPN
between the client computer and the target computer. That is, BinGO
disclose the BinGO! router sets up a VPN using PPTP (Point to Point
Tunneling Protocol) in order to provide access for field service staff via an
internet and laptop to a company network. BinGO 226. This also does not
violate the language of claim 18, which again only recites that step (3) is
performed at a DNS server separate from the client computer.
      As to determining whether the client computer is authorized to access
non-secure target computers and returning an error message if it determined
the client is not authorized to access non-secure target computers, we
reiterate the issues with claim 18 discussed above. As we discussed above,
BinGO discloses authentication of the initiating partner, which would
include situations where the requested web-site is non-secure. Although it is
true that BinGO does not expressly disclose returning an error message
should the authentication fail, we do not find it credible to argue that one of
ordinary skill in the art would not have immediately understood that such an
authentication failure would result in an error message being returned as
contended by Requester. Req. 3rd Comments 41.


           F. Obviousness - Claim 11 - BinGO, Reed (Issue 42)
      Claim 11 depends from claim 10, and further recites "wherein the
gatekeeper computer creates the VPN by establishing an IP address hopping




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regime that is used to pseudorandomly change IP addresses in packets
transmitted between the client computer and the secure target computer."
      The Examiner adopted the rejection of claim 11 as proposed by the
Requester. Request 33, Exh. C6, 26; RAN 26. The Examiner found BinGO
does not expressly disclose an IP hopping scheme, but Reed discloses an IP
hopping scheme in the form of an onion-routing scheme that meets the
requirements of the IP address hopping regime recited in claim 11. Request,
Exh. C6, 26-27. The Examiner determined one of ordinary skill in the art
would have been motivated by BinGO to ensure that pathways carrying
sensitive data are shielded from the interception or monitoring and would
have integrated the onion-routing schemes disclosed in Reed into a VPN
solution based on use ofBinGO! routers. Id. at 27.
      Patent Owner contends Reed is incompatible with direct-dialing in
BinGO, and if Reed is combined with the non-direct dialing in BinGO, there
is no transparent creation of a VPN as recited in claim 10. Appeal Br. 62.
      We are not persuaded by Patent Owner's contentions. As the
Examiner stated, despite Patent Owner's arguments pointing out differences
between the two references, Patent Owner does not provide a sufficient
explanation as to why the results of the combination would be unsatisfactory
or that the principle of operation would be changed in a manner that would
render the combination inoperable. RAN 38. Although Patent Owner
suggests that the Examiner and Requester now rely on indirect dialing, we
do not find the Examiner's and Requester's position to be so limited.
Requester and the Examiner stated only that BinGO does not suggest that a
direct dial is the sole intended purpose of its communication schemes, that
any other method for transporting packets would be unsatisfactory. Id.; Req.


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3rd Comments 45. Patent Owner has not provided a sufficient explanation
to demonstrate error in the rejection's reasoning that one of ordinary skill in
the art would have applied the onion routing scheme of Reed in a VPN
solution in BinGO in a manner that would have rendered claim 11 obvious.
      We affirm the rejection of claim 11 as obvious over BinGO and Reed.


           G. Obviousness - Claim 16 - BinGO, Boden (Issue 43)
      Claim 16 depends from claim 15, and is rejected over the combination
ofBinGO and Boden. Request 33-34; RAN 26. Because Boden does not
rectify the deficiencies discussed above with respect to claim 15 (dependent
from claim 14), we reverse the rejection of claim 16 as obvious over BinGO
and Boden.


                H. Obviousness - Claim 17 - BinGO, Weiss
      Claim 17 depends from claim 13 and further recites "wherein step (2)
comprises the step of using a checkpoint data structure that maintains
synchronization of a periodically changing parameter known by the central
computer and the client computer to authenticate the client."
                        1.   The Examiner's Findings
      The Examiner found BinGO discloses BinGO! routers may be
configured to use SecurID token authentication methods. Request, Exh. C6,
36, citing BinGO EFR 56; RAN 26-27. The Examiner found BinGO
discloses a configuration where a checkpoint is included, which is used by
the BinGO! router to implement a SecurID authentication process. Id. citing
BinGO EFR 56. The Examiner found Weiss discloses methods in which
codes are periodically changed according to a pre-defined algorithm and at


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least one dynamic variable. Id. at 36-37, citing Weiss, col. 1, IL 63-68. The
Examiner found Weiss discloses the method can be used with a mechanism
that synchronizes the codes for use in a method for authenticating users. Id.
at 37, citing Weiss, col. 2, L 44 - col. 3, L 27, col. 3, 1. 38 - col. 4, 1. 29. The
Examiner found Weiss discloses the code is represented in a data structure,
and used by client server computers to perform authentication of a user. Id.
citing Weiss, col. 5, 11. 34-43, col. 6, IL 9-17, col. 7, 11. 14-32.
       The Examiner found the SecurID token system is an example of
periodically changing the token system that is synchronized by the client and
server as taught by Weiss. Id. The Examiner determined that because
BinGO EFR provides specific direction to incorporate token authentication
processes as disclosed in Weiss into the BinGO! router, the additional step
of using a checkpoint data structure that maintains synchronization of a
periodically changing parameter known by the central computer and the
client computer to authenticate the client would have been obvious. See id.
                          2. Patent Owner's Position
       Patent Owner contends that the Examiner's reasoning for combining
Weiss and BinGO is not sufficiently supported because the discussion in
BinGO EFR of SecurID features is for a BRICK router and not for the
BinGO! router. Appeal Br. 64. Patent Owner also argues that BinGO UG
and BinGO EFR are not properly combinable for the reasons discussed
above. Id.
                          3. Requester's Contentions
       The Examiner and Requester maintain that BinGO and Weiss are
properly combinable. RAN 39; Req. 3rd Comments 46; Resp't Br. 15.




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                                4. Analysis
      As discussed above for claim 13, we are of the view that BinGO UG
incorporates BinGO EFR by reference. We are also not persuaded by Patent
Owner's contention that the SecurID features disclosed in BinGO EFR are
for a BRICK router and not for the BinGO! router. That is, BinGO EFR
discloses expressly that it is applicable to both BIANCA/BRICK and
BinGO! routers. BinGO EFR "NOTE" on page following cover page.
Thus, we are not persuaded that one of ordinary skill in the art would have
understood the SecurID feature as not applicable to the BinGO! router as
well as the BRICK router.
      Accordingly, we affirm the Examiner's rejection of claim 17 as
obvious over the combination of BinGO and Weiss.




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                                 IV. CONCLUSION
           In summary, the status of the Adopted Rejections is as follows:
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    10, 12-         102(a)    A ventail Connect                            10, 12-14
    14                        v3.1
    10, 12-         102(b)    A ventail Connect                            10, 12-14
    14                        v3.01
    10, 12,         102(b)    Auto SOCKS                                   10, 12, 13
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    11              103(a)    A ventail Connect                            11
                              v3.1, Reed
    11              103(a)    A ventail Connect                            11
                              v3.01, Reed
    11, 14,         103(a)    AutoSOCKS, Reed                              11, 14, 15
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    16              103(a)    A ventail Connect                            16
                              v3.1, Boden
    16              103(a)    A ventail Connect                            16
                              v3.01, Boden
    16              103(a)    AutoSOCKS,                                   16
                              Reed, Boden
    17              103(a)    A ventail Connect                            17
                              v3.l, Weiss
    17              103(a)    A ventail Connect                            17
                              v3.01, Weiss
    17              103(a)    AutoSOCKS,                                   17
                              Weiss
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    13, 18
    11, 14,         103(a)    Wang, Reed           14                      11, 15
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    16              103(a)    Wang, Reed,                                  16
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    17              103(a)    Wang, Weiss          17


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 18          103(a)       Beser, Kent, Blum      18
 18          103(a)       Beser, Kent,                           18
                          Auto SOCKS
 11          103(a)       Beser, Kent, Reed                      11
 10, 12-     102(a)       BinGO                  10, 12, 13,     14, 15
 15, 18                                          18
 11          103(a)       BinGO, Reed            11
 16          103(a)       BinGO, Borden                          16
 17          103(a)       BinGO, Weiss           17
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 Outcome                                         18

      In accordance with 37 C.F.R. § 41.79(a)(l), the "[p]arties to the
appeal may file a request for rehearing of the decision within one month of
the date of: ... [t]he original decision of the Board under§ 41.77(a)." A
request for rehearing must be in compliance with 37 C.F.R. § 41.79(b).
Comments in opposition to the request and additional requests for rehearing
must be in accordance with 37 C.F.R. § 41.79(c) & (d), respectively. Under
37 C.F.R. § 41.79(e), the times for requesting rehearing under paragraph (a)
of this section, for requesting further rehearing under paragraph (d) of this
section, and for submitting comments under paragraph (c) of this section
may not be extended.
      An appeal to the United States Court of Appeals for the Federal
Circuit under 35 U.S.C. §§ 141-144 and 315 and 37 C.F.R. § 1.983 for an
inter partes reexamination proceeding "commenced" on or after November
2, 2002 may not be taken "until all parties' rights to request rehearing have
been exhausted, at which time the decision of the Board is final and




                                        50



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Appeal 2021-001315
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Patent 6,502,135 Bl

appealable by any party to the appeal to the Board." 37 C.F.R. § 41.81. See
also MPEP § 2682 (8th ed., Rev. 7, July 2008).


                          AFFIRMED IN PART




                                    51



                                 Appx52
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Reexamination Control 95/001,682
Patent 6,502,135 Bl


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THIRD PARTY REQUESTER:

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2021 McKinney A venue
Suite 2000
Dallas, TX 75201




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                                                                                     UNITED STATES DEPARTMENT OF COMMERCE
                                                                                     United States Patent and Trademark Office
                                                                                     Address: COMMISSIONERFORPATENTS
                                                                                           P.O. Box 1450
                                                                                           Alexandria, Virginia 22313 -1 450
                                                                                           www.uspto.gov




    APPLICATION NO.            FlLINGDATE                  FIRST NAMED INVENTOR         ATTORNEY DOCKET NO.                    CONFIRMATION NO.

       95/00 1,682             07/ 11 /201 I                     6,502,135                     077580-0 I 32                         1074

       1373 13          7590               01 / 10/2022
                                                                                                                   EXAMINER
       PAUL HASTING S LLP
                                                                                                              PEIKARI, BEHZAD
       2050 M. Street NW
       Washington, DC 20036
                                                                                                 ART UNIT                       PAPER NUMBER

                                                                                                    3992


                                                                                               MAIL DATE                        DELIVERY MODE

                                                                                                01/10/2022                          PAPER


Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.




PTOL-90A (Rev. 04/07)




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          UNITED STATES PATENT AND TRADEMARK. OFFICE



 BEFORE THE OFFICE OF THE UNDERSECRETARY AND DIRECTOR OF
     THE UNITED STATES PATENT AND TRADEMARK. OFFICE


                                APPLE INC.,
                                 Requester

                                      v.

                          Patent of VIRNETX INC.,
                         Patent Owner and Appellant


                           Appeal 2021-001315
                      Reexamination Control 95/001,682
                            Patent 6,502,135 Bl
                          Technology Center 3900




Before ANDREW HIRSHFELD, Commissioner for Patents, Performing the
Functions and Duties of the Under Secretary of Commerce for Intellectual
Property and Director of the United States Patent and Trademark Office.




                                   ORDER




                                   Appx55
       Case: 22-1523       Document: 17      Page: 117    Filed: 08/22/2022



Appeal 2021-001315
Reexamination Control 95/001,682
Patent 6,502,135

      Patent Owner, VimetX Inc. ("VimetX"), filed a Request for Rehearing
("Request") in the above-captioned case. See Reexamination Control No.
95/001,682, Patent Owner Request, dated June 14, 2021. In the Request, "VimetX
respectfully submits that whatever remedy is provided by the Supreme Court [in
United States v. Arthrex, Nos. 19-1434, 19-1452, 19-1458] should be provided in
the present reexamination." Id. at 6. After the Supreme Court issued its decision
in Arthrex, the Patent Trial and Appeal Board ("Board") referred VimetX's request
to Mr. Hirshfeld, Commissioner for Patents, Performing the Functions and Duties
of the Under Secretary of Commerce for Intellectual Property and Director of the
United States Patent and Trademark Office.
      It is ORDERED that the Request is denied; and
      FURTHER ORDERED that the Board's Decision on Appeal in this case is
the final decision of the agency.




                                         2




                                     Appx56
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Appeal 2021-001315
Reexamination Control 95/001,682
Patent 6,502,135

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For Third Party Requester:
HAYNES AND BOONE, LLP
IP SECTION
2323 VICTORY A VENUE, SUITE 700
DALLAS, TX 75219




                                     3




                                   Appx57
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                                                                                                                                           USOO6502135B1

(12) United States Patent                                                                                 (10) Patent No.:                           US 6,502,135 B1
       Munger et al.                                                                                      (45) Date of Patent:                                Dec. 31, 2002

(54) AGILE NETWORK PROTOCOL FOR                                                                     DE                        199 24 575            12/1999
        SECURE COMMUNICATIONS WITH                                                                  EP                             2 317 792         4/1998
        ASSURED SYSTEM AVAILABILITY                                                                 EP                             O 858, 189        8/1998
                                                                                                    GB                             O 814 589        12/1997
(75) Inventors: Edmund Colby Munger, Crownsville,                                                   W                  W                   3.        SEC
                      MD (US); Douglas Charles Schmidt,                                             WO                 WO 99 38O81                   7/1999
                      Severna Park, MD (US); Robert                                                 WO                 WO 99 483O3                   9/1999
                      Dunham Short, III, Leesburg, VA                                               WO                  WO OO/70458                 11/2000
                      (US); Victor Larson, Fairfax, VA (US);                                        WO                 WOO150688                     7/2001
                      Michael Williamson, South Riding, VA
                      (US)                                                                                                           OTHER PUBLICATIONS
(73) Assignee: Science Applications International                                                   Fasbender, Kesdogan, and Kubitz: “Variable and Scalable
               Corporation, San Diego, CA (US)                                                      Security: Protection of Location Information in Mobile IP,
                                                                                                    IEEE publication, 1996, pp. 963–967.
(*) Notice: Subject to any disclaimer, the term of this                                                   p                   pp
                      p   a --
                                 is Sh adjusted under 35
                                          y U dayS.
                                                                                                                                  (List continued on next page.)
                                                                                                    Primary Examiner Krisna Lim
(21) Appl. No.: 09/504,783                                                                          (74) Attorney, Agent, or Firm-Banner & Witcoff, Ltd.
(22) Filed:           Feb. 15, 2000                                                                 (57)                                        ABSTRACT
                Related U.S. Application Data                                                       A plurality of computer nodes communicate using Seem
                                                                                                    ingly random Internet Protocol Source and destination
(63) Stigagain part of application No. 09/429,643, filed on                                         addresses. Data packets matching criteria defined by a
(60) Provisional application No. 60/106,261, filed on Oct. 30,                                      moving window of valid addresses are accepted for further
        1998, and provisional application No. 60/137,704, filed on                                  processing, while those that do not meet the criteria are
        Jun. 7, 1999.                                                                               quickly rejected. Improvements to the basic design include
(51) Int. Cl." .............................................. G06F 15/173                           (1) a load balancer that distributes packets across different
(52) U.S. Cl. .................          09/225; 709/229; 709/245                                   yers. Tin Resis,
(58) Field of Search ............709.225,229 '93.                                                   private network in response to a domain name inquiry; (3)
                                                s        s               s                          a large-to-Small link bandwidth management feature that
(56)                      References Cited                                                          prevents denial-of-service attacks at System chokepoints; (4)
                                                                                                    a traffic limiter that regulates incoming packets by limiting
                 U.S. PATENT DOCUMENTS                                                              the rate at which a transmitter can be Synchronized with a
       4,933,846 A         6/1990 Humphrey et al.                                                   receiver; and (5) a signaling Synchronizer that allows a large
                                                                                                    number of nodes to communicate with a central node by
                 (List continued on next page.)                                                     partitioning the communication function between two sepa
                                                                                                    rate entities.
              FOREIGN PATENT DOCUMENTS
DE                O838,930            12/1999                                                                                 17 Claims, 35 Drawing Sheets
                                                                   -100
                                                          TAR
                                                        TERMINAL
                                                                                                          107
                                                             140
                                                                                                                  13
                                                       ARPPACKET
                                                                                 (-122                     P
                                                     LINKKEY                    TARP                    ROUTER
                                                                               ROUTER               o
                                                                   123                      130         LINKKEY 124
                                                             ?i.                                            R i?
                                                        TARP                           P                   TARP
                                                       ROUTER            129     ROUTER                   ROUTER                  (-128
                                                               Pf               (-125 INTERNET             -132              IP
                                                                                TARP                       P            ROUTER
                                                         ROUTER                ROUTER                   ROUTER
                                                                                           LINKKEY           126


                                                                               EFV,                       f
                                                                                                         TARP
                                                             148
                                                                                  -        ENKKEY
                                                                                                        RGUTER     8
                                                                                                                   LINKKEY                 to
                                                    SESSION KEY                                                 TARPPACKET            f
                                                                                                                                    TARP

                                                               S                                                                   ERMINAL




                                                                               Appx63
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                                                                 Appx64
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                  100
         ORIGINATING
          TERMINAL
                                                       107
                  40

                                       22



                                            30                    24
            P                         P                   P
         ROUTER                    ROUTER              ROUTER                   28
                        29      - 25 INTERNET                32          P
              IP                 IP                     P              ROUTER
            ROUTER             ROUTER                ROUTER
                                                             26
                                   - 27
                               P                       IP
                             ROUTER                  ROUTER

                                                                                     110
     ENCRYPTION KEY                                                       DESTINATION

              N                                                              TERMINAL

                                       FIG. 1




                                       Appx65
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                                                       P
                                                    ROUTER



          TARP
         ROUTER
                  12    4.
                       LINKKEY
                                                 GSur
                                                    LINKKEY 124
                                                         TARP
                                                        ROUTER                  128
                       129       -125 INTERNET              132          IP
              P                  TARP                   P              ROUTER
           ROUTER            I.           LINKKEY
                                                    ROUTER
                                                            126
                                                     TARP
                              TARP
                             ROUTER                 ROUTER

                                                               LINKKEY
                                                                                       110
      SESSION KEY                                           TARPPACKET
                                                                                TARP

               N                                                           TERMINAL




                                        FIG. 2




                                        Appx66
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         207a      207b)          2O7C          2O7d o o o


                                                     DATASTREAM300
                                                INTERLEAVED




                                                         SESSION-KEYENCRYPTED
                                                            PAYLOADDATA330
                                                            TARPPACKET WITH
                                                         ENCRYPTEDPAYLOADS 340
                                                           LINK-KEYENCRYPTED
                                                         TARPPACKETS350
                                                 ; :
                                                   ... :)
                                                           IPPACKETSWIENCRYPTED
                                                              TARPPACKETSAS
                                                                PAYLOAD 360

                             TARP            TARP
                           ROUTER 1        ROUTER2

                      TARP                             TARP
                    ROUTER 7            TARP         ROUTER 5
                                      ROUTER3
                                                   TARP
                             TARP                ROUTER6
                           ROUTER 4
                                                                         TARP
                                                                      DESTINATION



                               FIG. 3A




                                  Appx67
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                        Appx68
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         (M?d|E)V}{WMO?TIEN




                                      Appx69
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                                            BACKGROUND LOOP-DECOY
                                                  GENERATION                SO



                                           ATE.ca TARPPACKET S2
              S6                           OUTERLAYER DECRYPTION OF
                                           TARPPACKETUSING LINKKEY YS3
              DUMP DECOY
                                           CHECK FORDECOY AND
                                        INCREMENTPERISHABLEDECOY NS4
                                          COUNTERAS APPROPRIATE



                                                TRANSMITDECOY?         S5

                                                       YES

                                      NO          DECREMENT

                                                       YES
       DETERMINEDESTINATIONTARP              GENERATENEXT-HOP TARP
       ADDRESS AND STORELINKKEY            ADDRESS AND STORE LINKKEY    S8
            AND PADDRESS                         AND PADDRESS


                                            GENERATENEXT-HOP TARP
                                        ADDRESSANDSTORELINKKEYNs
                                             AND PADDRESS


                                              GENERATEPHEADER
                                                ANDTRANSMIT             S11
                           FIG. 5



                                   Appx70
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                   BACKGROUND LOOP-DECOY
                        GENERATION                       S2O


                  GROUPRECEIVED PPACKETS
                   INTO INTERLEAVE WINDOW                S21


                  DETERMINEDESTINATIONTARP
              ADDRESS, INITIALIZETTL STORE NS22
                          INTARPHEADER


              RECORD WINDOWSEQ, NOS, AND
                  INTERLEAVE SEQ. NOSINTARP NS23
                              HEADERS


                    CHOOSE FIRSTHOP TARP
               ROUTER, LOOK UPIPADDRESS                  S24
              AND STORE INCLEARIPHEADER,
                     OUTERLAYERENCRYPT


                   INSTALLCLEARPHEADER
                       ANDTRANSMIT                       S25

                            FIG. 6


                                   Appx71
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                                   S40

         BACKGROUND LOOP-DECOY
              GENERATION
                               S42

         AUTHENTICATE TARPPACKET
                 RECEIVED
                                                   DIVIDE BLOCKINTO PACKETS
                                   S43            USING WINDOWSEQUENCE DATA,
                                                     ADD CLEARPHEADERS
                                                     GENERATED FROMTARP
           DECRYPT OUTERLAYER                              HEADERS
         ENCRYPTION WITH LINKKEY
                                   S44

          INCREMENTPERISHABLE                      HaigEEEETS
              COUNTERF DECOY
                                   S45

        THROWAWAYDECOYORKEEP
         NRESPONSE TO ALGORITHM
                                   S46

         CACHE TARPPACKETS UNTIL
           WINDOWSASSEMBLED
                                   S47

           DEINTERLEAVE PACKETS
             FORMING WINDOW
                                   S48

               DECRYPTBLOCK



                                         FIG. 7



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                          Appx77
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                                  Appx78
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                                            (0N1OI8H0Od)


                                     Appx79
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                                           9607


                                           0




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                  8




                                           9607
  )




                  0OZ8                   Appx82
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         000


                  2
                                                                  INACTIVE
                                                                  ACTIVE
 WINDOWSIZE
                  2
                  2
                  2
                  Z
                  2

 WINDOWSIZE       2
                  2
                  2
                  2

                           FIG. 17




                                  Appx83
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         000                      O



                2
                                                                  INACTIVE
 WINDOW. SIZE                                                  24 ACTIVE
                2                                              ... USED
                Z
                Z
                Z
                2

 WINDOWSIZE Z


                          FIG. 18




                                  Appx84
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               2
        000
               2
               2
               2
                                                                   INACTIVE
                                                                   ACTIVE
WINDOW. SIZE                                                   35 USED
               2
               Z
               2
               2
               2
                                                       OOO
WINDOW. SIZE                         2

               2

                          FIG. 19




                                  Appx85
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                                     ADTABLE
                                     P      IP2         2101
                                     IP3         P4

                                      AETABLE
                                                        2102

                                      AFTABLE
                                                        2103

                                      BDTABLE
                                                        2104


                                      BETABLE
                                                        2105
              LINKDOWN

                                      BFTABLE
                                                        2106


                  2100 /              CD TABLE
                                                        2107


                                      CE TABLE
                                                        2108

                                      CFTABLE
                                                        2109



                                    FIG. 21



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                 MEASURE
                QUALITY OF
               TRANSMISSION
                    PATHX



                   MORE
                 THANONE
               TRANSMITTER
                  TURNED
                     ON?


                                                                       2209
                    PATHX
                  QUALITY K                                    SETWEIGHT
                THRESHOLD?                                    TOMIN, VALUE




                  PATHX
               WEIGHTLESS                DECREASE
               THAN STEADY              WEIGHT FOR
                  STATE                   PATHX
                 WALUE)



              INCREASE WEIGHT
                  FOR PATHX
              TOWARD STEADY
               STATEWALUE


            ADJUST WEIGHTS
             FORREMAINING
             PATHS SOTHAT
           WEIGHTSEQUALONE
                                                        FIG.22A


                                    Appx88
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     2210     (EVENT) TRANSMITTER
                     FOR PATHX
                     TURNS OFF




      2211            ATLEAST                    DROPALLPACKETS
                  ONETRANSMITTER                UNTILATRANSMITTER
                    TURNED ON?                      TURNS ON




     2212           SETWEIGHT
                     TOZERO



                  ADJUST WEIGHTS
     2213          FOR REMAINING
                   PATHS SO THAT
              WEIGHTSEQUALONE


     2214




                             FIG.22B

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   80% W                                     ?




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              SNODE!}
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                                        Appx92
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                  RECEIVE DNS
    2701          REQUEST FOR
                   TARGET SITE

                                                                2703


     2702           ACCESS TO                          PASS THRU
                   SECURESITE                          REQUEST TO
                   REQUESTED?                          DNS SERVER

                            YES
                                                                2705

     2704             USER                            RETURN
                  AUTHORIZED TO                   "HOSTUNKNOWN"
                    CONNECT?                          ERROR

                            YES

    27O6            ESTABLISH
                    VPN WITH
                   TARGET SITE



                              FIG. 27


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         CLENT                                                   SERVER

 SEND DATAPACKET
 USING CKPTN
 CKPT O=CKPTN                                               PASS DATAUPSTACK
 GENERATE NEWCKPTN                                          CKPT O=CKPTN
 START TIMER, SHUT                                          GENERATE NEWCKPTN
 TRANSMITTER OFF                                            GENERATE NEWCKPTR
 IFCKPT OINSYNCACK                                          FORTRANSMITTERSIDE
 MATCHESTRANSMITTERS                                        TRANSMITSYNCACK
 CKPTO                                                      CONTAININGCKPT O
 UPDATE RECEIVER'S
 CKPTR
 KILLTIMER, TURN
 TRANSMITTER ON

 SEND DATAPACKET
 USING CKPTN
 CKPT O=CKPTN
 GENERATE NEWCKPTN
 START TIMER, SHUT
 TRANSMITTER OFF
  WHEN TIMEREXPRES
  TRANSMITSYNCREQ                       SYNCREQ             CKPT O=CKPTN
  USINGTRANSMITTERS                                         GENERATE NEWCKPTN
  CKPT O, STARTTIMER                                        GENERATE NEWCKPTR
                                                            FORTRANSMITTERSIDE
                                                            TRANSMITSYNCACK
 IFCKPT OINSYNCACK                                          CONTAININGCKPT O
 MATCHESTRANSMITTERS
 CKPT O
 UPDATE RECEIVERS
 CKPTR
 KILL TIMER, TURN
 TRANSMITTER ON
                                       FIG. 32




                                       Appx99
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                                                     US 6,502,135 B1
                              1                                                                     2
        AGILE NETWORK PROTOCOL FOR                                     originating terminals are connected through a mix (a server)
        SECURE COMMUNICATIONS WITH                                     to multiple target servers. It is difficult to tell which of the
         ASSURED SYSTEM AVAILABILITY                                   originating terminals are communicating to which of the
                                                                       connected target Servers, and the dummy messages confuse
          CROSS-REFERENCE TO RELATED                                   eavesdroppers efforts to detect communicating pairs by
                 APPLICATION                                           analyzing traffic. A drawback is that there is a risk that the
   This application claims priority from and is a                      mix server could be compromised. One way to deal with this
continuation-in-part of previously filed U.S. application Ser.         risk is to spread the trust among multiple mixeS. If one mix
No. 09/429,643, filed on Oct. 29, 1999. The subject matter             is compromised, the identities of the originating and target
of that application, which is bodily incorporated herein,              terminals may remain concealed. This Strategy requires a
derives from provisional U.S. application No. 60/106.261               number of alternative mixeS. So that the intermediate Servers
(filed Oct. 30, 1998) and No. 60/137,704 (filed Jun. 7, 1999).         interposed between the originating and target terminals are
                                                                       not determinable except by compromising more than one
         BACKGROUND OF THE INVENTION                                   mix. The Strategy wraps the message with multiple layers of
  Atremendous variety of methods have been proposed and
                                                                  15   encrypted addresses. The first mix in a Sequence can decrypt
implemented to provide Security and anonymity for com                  only the outer layer of the message to reveal the next
munications over the Internet. The variety Stems, in part,             destination mix in Sequence. The Second mix can decrypt the
from the different needs of different Internet users. A basic          message to reveal the next mix and So on. The target Server
                                                                       receives the message and, optionally, a multi-layer
heuristic framework to aid in discussing these different               encrypted payload containing return information to Send
Security techniques is illustrated in FIG.1. Two terminals, an         data back in the Same fashion. The only way to defeat Such
originating terminal 100 and a destination terminal 110 are            a mix Scheme is to collude among mixeS. If the packets are
in communication over the Internet. It is desired for the
communications to be Secure, that is, immune to eavesdrop              all fixed-length and intermixed with dummy packets, there
ping. For example, terminal 100 may transmit Secret infor              is no way to do any kind of traffic analysis.
mation to terminal 110 over the Internet 107. Also, it may be
                                                                  25      Still another anonymity technique, called 'crowds, pro
desired to prevent an eavesdropper from discovering that               tects the identity of the originating terminal from the inter
terminal 100 is in communication with terminal 110. For                mediate proxies by providing that originating terminals
example, if terminal 100 is a user and terminal 110 hosts a            belong to groups of proxies called crowds. The crowd
web site, terminal 100's user may not want anyone in the               proxies are interposed between originating and target termi
intervening networks to know what web sites he is “visit               nals. Each proxy through which the message is sent is
ing.” Anonymity would thus be an issue, for example, for               randomly chosen by an upstream proxy. Each intermediate
companies that want to keep their market research interests            proxy can Send the message either to another randomly
private and thus would prefer to prevent outsiders from                chosen proxy in the “crowd' or to the destination. Thus,
knowing which web-sites or other Internet resources they               even crowd members cannot determine if a preceding proxy
are “visiting.” These two Security issues may be called data
                                                                  35   is the originator of the message or if it was simply passed
Security and anonymity, respectively.                                  from another proxy.
   Data Security is usually tackled using Some form of data              ZKS (Zero-Knowledge Systems) Anonymous IP Protocol
encryption. An encryption key 48 is known at both the                  allows users to Select up to any of five different pseudonyms,
originating and terminating terminals 100 and 110. The keys       40
                                                                       while desktop Software encrypts outgoing traffic and wraps
may be private and public at the originating and destination           it in User Datagram Protocol (UDP) packets. The first server
terminals 100 and 110, respectively or they may be sym                 in a 2+-hop System gets the UDP packets, Strips off one layer
metrical keys (the same key is used by both parties to                 of encryption to add another, then sends the traffic to the next
encrypt and decrypt). Many encryption methods are known                Server, which Strips off yet another layer of encryption and
and usable in this context.                                       45
                                                                       adds a new one. The user is permitted to control the number
  To hide traffic from a local administrator or ISP, a user can        of hops. At the final server, traffic is decrypted with an
employ a local proxy server in communicating over an                   untraceable IP address. The technique is called onion
encrypted channel with an outside proxy Such that the local            routing. This method can be defeated using traffic analysis.
administrator or ISP only sees the encrypted traffic. Proxy            For a simple example, bursts of packets from a user during
Servers prevent destination Servers from determining the          50
                                                                       low-duty periods can reveal the identities of Sender and
                                                                       receiver.
identities of the originating clients. This System employs an
intermediate Server interposed between client and destina                 Firewalls attempt to protect LANs from unauthorized
tion server. The destination server sees only the Internet             acceSS and hostile exploitation or damage to computers
Protocol (IP) address of the proxy server and not the                  connected to the LAN. Firewalls provide a server through
originating client. The target Server only Sees the address of    55   which all access to the LAN must pass. Firewalls are
the outside proxy. This Scheme relies on a trusted outside             centralized Systems that require administrative overhead to
proxy Server. Also, proxy Schemes are Vulnerable to traffic            maintain. They can be compromised by Virtual-machine
analysis methods of determining identities of transmitters             applications (“applets”). They instill a false Sense of Security
and receivers. Another important limitation of proxy Servers           that leads to Security breaches for example by users Sending
is that the server knows the identities of both calling and       60
                                                                       sensitive information to servers outside the firewall or
called parties. In many instances, an originating terminal,            encouraging use of modems to SideStep the firewall Security.
Such as terminal A, would prefer to keep its identity con              Firewalls are not useful for distributed systems such as
cealed from the proxy, for example, if the proxy server is             business travelers, extranets, Small teams, etc.
provided by an Internet service provider (ISP).                                    SUMMARY OF THE INVENTION
  To defeat traffic analysis, a Scheme called Chaum's mixes       65
employs a proxy server that transmits and receives fixed                 A Secure mechanism for communicating over the internet,
length messages, including dummy messages. Multiple                    including a protocol referred to as the Tunneled Agile




                                                      Appx100
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Routing Protocol (TARP), uses a unique two-layer encryp                    To transmit a data Stream, a TARP originating terminal
tion format and special TARP routers. TARP routers are                  constructs a series of TARP packets from a series of IP
similar in function to regular IP routers. Each TARP router             packets generated by a network (IP) layer process. (Note that
has one or more IP addresses and uses normal IP protocol to             the terms “network layer,” “data link layer,” “application
send IP packet messages (“packets” or “datagrams”). The IP              layer,' etc. used in this specification correspond to the Open
packets exchanged between TARP terminals via TARP rout                  Systems Intercomection (OSI) network terminology.) The
erS are actually encrypted packets whose true destination               payloads of these packets are assembled into a block and
address is concealed except to TARP routers and Servers.                chain-block encrypted using the Session key. This assumes,
The normal or “clear” or “outside’ IP header attached to                of course, that all the IP packets are destined for the same
TARP IP packets contains only the address of a next hop                 TARP terminal. The block is then interleaved and the
router or destination Server. That is, instead of indicating a          interleaved encrypted block is broken into a Series of
final destination in the destination field of the IP header, the        payloads, one for each TARP packet to be generated. Special
TARP packet's IP header always points to a next-hop in a                TARP headers IPT are then added to each payload using the
series of TARP router hops, or to the final destination. This           IP headers from the data stream packets. The TARP headers
means there is no overt indication from an intercepted TARP        15
                                                                        can be identical to normal IP headers or customized in Some
packet of the true destination of the TARP packet since the             way. They should contain a formula or data for deinterleav
destination could always be next-hop TARP router as well as             ing the data at the destination TARP terminal, a time-to-live
the final destination.                                                  (TTL) parameter to indicate the number of hops still to be
   Each TARP packet's true destination is concealed behind              executed, a data type identifier which indicates whether the
a layer of encryption generated using a link key. The link key          payload contains, for example, TCP or UDP data, the
is the encryption key used for encrypted communication                  Sender's TARP address, the destination TARP address, and
between the hops intervening between an originating TARP                an indicator as to whether the packet contains real or decoy
terminal and a destination TARP terminal. Each TARP                     data or a formula for filtering out decoy data if decoy data
router can remove the outer layer of encryption to reveal the           is spread in Some way through the TARP payload data.
destination router for each TARP packet. To identify the link      25      Note that although chain-block encryption is discussed
key needed to decrypt the outer layer of encryption of a                here with reference to the Session key, any encryption
TARP packet, a receiving TARP or routing terminal may                   method may be used. Preferably, as in chain block
identify the transmitting terminal by the sender/receiver IP            encryption, a method should be used that makes unautho
numbers in the cleartext IP header.                                     rized decryption difficult without an entire result of the
   Once the outer layer of encryption is removed, the TARP              encryption process. Thus, by Separating the encrypted block
router determines the final destination. Each TARP packet               among multiple packets and making it difficult for an
140 undergoes a minimum number of hops to help foil traffic             interloper to obtain access to all of Such packets, the contents
analysis. The hops may be chosen at random or by a fixed                of the communications are provided an extra layer of
value. As a result, each TARP packet may make random trips              Security.
among a number of geographically disparate routers before          35      Decoy or dummy data can be added to a Stream to help
reaching its destination. Each trip is highly likely to be              foil traffic analysis by reducing the peak-to-average network
different for each packet composing a given message                     load. It may be desirable to provide the TARP process with
because each trip is independently randomly determined.                 an ability to respond to the time of day or other criteria to
This feature is called agile routing. The fact that different           generate more decoy data during low traffic periods So that
packets take different routes provides distinct advantages by      40   communication bursts at one point in the Internet cannot be
making it difficult for an interloper to obtain all the packets         tied to communication bursts at another point to reveal the
forming an entire multi-packet message. The associated                  communicating endpoints.
advantages have to do with the inner layer of encryption                   Dummy data also helps to break the data into a larger
discussed below. Agile routing is combined with another                 number of inconspicuously-sized packets permitting the
feature that furthers this purpose; a feature that ensures that    45   interleave window Size to be increased while maintaining a
any message is broken into multiple packets.                            reasonable size for each packet. (The packet size can be a
   The IP address of a TARP router can be changed, a feature            Single Standard size or Selected from a fixed range of sizes.)
called IP agility. Each TARP router, independently or under             One primary reason for desiring for each message to be
direction from another TARP terminal or router, can change              broken into multiple packets is apparent if a chain block
its IP address. A separate, unchangeable identifier or address     50   encryption Scheme is used to form the first encryption layer
is also defined. This address, called the TARP address, is              prior to interleaving. A Single block encryption may be
known only to TARP routers and terminals and may be                     applied to portion, or entirety, of a message, and that portion
correlated at any time by a TARP router or a TARP terminal              or entirety then interleaved into a number of Separate
using a Lookup Table (LUT). When a TARP router or                       packets. Considering the agile IP routing of the packets, and
terminal changes its IP address, it updates the other TARP         55   the attendant difficulty of reconstructing an entire Sequence
routers and terminals which in turn update their respective             of packets to form a single block-encrypted message
LUTS.                                                                   element, decoy packets can significantly increase the diffi
  The message payload is hidden behind an inner layer of                culty of reconstructing an entire data Stream.
encryption in the TARP packet that can only be unlocked                    The above scheme may be implemented entirely by
using a Session key. The Session key is not available to any       60   processes operating between the data link layer and the
of the intervening TARP routers. The session key is used to             network layer of each Server or terminal participating in the
decrypt the payloads of the TARP packets permitting the                 TARP system. Because the encryption system described
data Stream to be reconstructed.                                        above is insertable between the data link and network layers,
   Communication may be made private using link and                     the processes involved in Supporting the encrypted commu
Session keys, which in turn may be shared and used accord          65   nication may be completely transparent to processes at the IP
ing to any desired method. For example, public/private keys             (network) layer and above. The TARP processes may also be
or Symmetric keys may be used.                                          completely transparent to the data link layer processes as




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                              S                                                                   6
well. Thus, no operations at or above the Network layer, or           transmission path quality; (2) a DNS proxy server that
at or below the data link layer, are affected by the insertion        transparently creates a virtual private network in response to
of the TARP stack. This provides additional security to all           a domain name inquiry; (3) a large-to-Small link bandwidth
processes at or above the network layer, Since the difficulty         management feature that prevents denial-of-Service attacks
of unauthorized penetration of the network layer (by, for             at System chokepoints; (4) a traffic limiter that regulates
example, a hacker) is increased Substantially. Even newly             incoming packets by limiting the rate at which a transmitter
developed Servers running at the Session layer leave all              can be Synchronized with a receiver; and (5) a signaling
processes below the Session layer Vulnerable to attack. Note          Synchronizer that allows a large number of nodes to com
that in this architecture, Security is distributed. That is,          municate with a central node by partitioning the communi
notebook computers used by executives on the road, for                cation function between two Separate entities
example, can communicate over the Internet without any                     BRIEF DESCRIPTION OF THE DRAWINGS
compromise in Security.
   IP address changes made by TARP terminals and routers                FIG. 1 is an illustration of Secure communications over
can be done at regular intervals, at random intervals, or upon        the Internet according to a prior art embodiment.
detection of “attacks.” The variation of IP addresses hinders    15     FIG. 2 is an illustration of Secure communications over
traffic analysis that might reveal which computers are                the Internet according to a an embodiment of the invention.
communicating, and also provides a degree of immunity                    FIG. 3a is an illustration of a process of forming a
from attack. The level of immunity from attack is roughly             tunneled IP packet according to an embodiment of the
proportional to the rate at which the IP address of the host          invention.
is changing.                                                            FIG. 3b is an illustration of a process of forming a
   AS mentioned, IP addresses may be changed in response              tunneled IP packet according to another embodiment of the
to attacks. An attack may be revealed, for example, by a              invention.
regular Series of messages indicating that a router is being            FIG. 4 is an illustration of an OSI layer location of
probed in some way. Upon detection of an attack, the TARP        25   processes that may be used to implement the invention.
layer proceSS may respond to this event by changing its IP              FIG. 5 is a flow chart illustrating a proceSS for routing a
address. In addition, it may create a Subprocess that main            tunneled packet according to an embodiment of the inven
tains the original IP address and continues interacting with          tion.
the attacker in Some manner.
   Decoy packets may be generated by each TARP terminal                 FIG. 6 is a flow chart illustrating a process for forming a
on Some basis determined by an algorithm. For example, the            tunneled packet according to an embodiment of the inven
                                                                      tion.
algorithm may be a random one which calls for the genera                FIG. 7 is a flow chart illustrating a process for receiving
tion of a packet on a random basis when the terminal is idle.         a tunneled packet according to an embodiment of the
Alternatively, the algorithm may be responsive to time of             invention.
day or detection of low traffic to generate more decoy           35
packets during low traffic times. Note that packets are                  FIG. 8 shows how a secure session is established and
preferably generated in groups, rather than one by one, the           synchronized between a client and a TARP router.
groups being sized to Simulate real messages. In addition, So            FIG. 9 shows an IP address hopping scheme between a
that decoy packets may be inserted in normal TARP message             client computer and TARP router using transmit and receive
Streams, the background loop may have a latch that makes         40
                                                                      tables in each computer.
it more likely to insert decoy packets when a message Stream             FIG. 10 shows physical link redundancy among three
is being received. Alternatively, if a large number of decoy          Internet Service Providers (ISPs) and a client computer.
packets is received along with regular TARP packets, the                 FIG. 11 shows how multiple IP packets can be embedded
algorithm may increase the rate of dropping of decoy                  into a single "frame” Such as an Ethernet frame, and further
packets rather than forwarding them. The result of dropping      45   shows the use of a discriminator field to camouflage true
and generating decoy packets in this way is to make the               packet recipients.
apparent incoming message Size different from the apparent               FIG. 12A shows a system that employs hopped hardware
outgoing message size to help foil traffic analysis.                  addresses, hopped IP addresses, and hopped discriminator
  In various other embodiments of the invention, a Scalable           fields.
version of the System may be constructed in which a              50     FIG. 12B shows several different approaches for hopping
plurality of IP addresses are preassigned to each pair of             hardware addresses, IP addresses, and discriminator fields in
communicating nodes in the network. Each pair of nodes                combination.
agrees upon an algorithm for “hopping” between IP                        FIG. 13 shows a technique for automatically
addresses (both sending and receiving), Such that an eaves            re-establishing Synchronization between Sender and receiver
dropper Sees apparently continuously random IP address           55   through the use of a partially public Sync value.
pairs (Source and destination) for packets transmitted                   FIG. 14 shows a “checkpoint' scheme for regaining
between the pair. Overlapping or “reusable’ IP addresses              Synchronization between a Sender and recipient.
may be allocated to different users on the same Subnet, Since
each node merely verifies that a particular packet includes a            FIG. 15 shows further details of the checkpoint scheme of
valid Source/destination pair from the agreed-upon algo          60
                                                                      FIG. 14.
rithm. Source/destination pairs are preferably not reused                FIG. 16 shows how two addresses can be decomposed
between any two nodes during any given end-to-end Session,            into a plurality of Segments for comparison with presence
though limited IP block sizes or lengthy Sessions might               VectOrS.
require it.                                                             FIG. 17 shows a storage array for a receiver's active
   Further improvements described in this continuation-in        65   addresses.
part application include: (1) a load balancer that distributes          FIG. 18 shows the receiver's storage array after receiving
packets acroSS different transmission paths according to              a Sync request.




                                                      Appx102
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                             7                                                                        8
   FIG. 19 shows the receiver's storage array after new                of a TARP packet. To identify the link key needed to decrypt
addresses have been generated.                                         the outer layer of encryption of a TARP packet, a receiving
   FIG. 20 shows a system employing distributed transmis               TARP or routing terminal may identify the transmitting
Sion paths.                                                            terminal (which may indicate the link key used) by the
                                                                       sender field of the clear IP header. Alternatively, this identity
   FIG. 21 shows a plurality of link transmission tables that          may be hidden behind another layer of encryption in avail
can be used to route packets in the system of FIG. 20.                 able bits in the clear IP header. Each TARP router, upon
   FIG. 22A shows a flowchart for adjusting weight value               receiving a TARP message, determines if the message is a
distributions associated with a plurality of transmission              TARP message by using authentication data in the TARP
linkS.                                                                 packet. This could be recorded in available bytes in the
  FIG.22B shows a flowchart for setting a weight value to              TARP packet's IP header. Alternatively, TARP packets could
Zero if a transmitter turns off.                                       be authenticated by attempting to decrypt using the link key
   FIG. 23 shows a system employing distributed transmis               146 and determining if the results are as expected. The
Sion paths with adjusted weight value distributions for each           former may have computational advantages because it does
path.                                                             15   not involve a decryption process.
   FIG. 24 shows an example using the system of FIG. 23.                  Once the outer layer of decryption is completed by a
                                                                       TARP router 122-127, the TARP router determines the final
   FIG. 25 shows a conventional domain-name look-up                    destination. The System is preferably designed to cause each
Service.
                                                                       TARP packet 140 to undergo a minimum number of hops to
   FIG. 26 shows a system employing a DNS proxy server                 help foil traffic analysis. The time to live counter in the IP
with transparent VPN creation.                                         header of the TARP message may be used to indicate a
   FIG. 27 shows steps that can be carried out to implement            number of TARP router hops yet to be completed. Each
transparent VPN creation based on a DNS look-up function.              TARP router then would decrement the counter and deter
   FIG. 28 shows a System including a link guard function              mine from that whether it should forward the TARP packet
that prevents packet Overloading on a low-bandwidth link          25   140 to another TARP router 122-127 or to the destination
LOW BW.                                                                TARP terminal 110. If the time to live counter is zero or
   FIG. 29 shows one embodiment of a system employing                  below zero after decrementing, for an example of usage, the
the principles of FIG. 28.                                             TARP router receiving the TARP packet 140 may forward
   FIG. 30 shows a System that regulates packet transmission           the TARP packet 140 to the destination TARP terminal 110.
rates by throttling the rate at which Synchronizations are             If the time to live counter is above Zero after decrementing,
performed.                                                             for an example of usage, the TARP router receiving the
                                                                       TARP packet 140 may forward the TARP packet 140 to a
   FIG. 31 shows a signaling server 3101 and a transport               TARP router 122-127 that the current TARP terminal
server 3102 used to establish a VPN with a client computer.            chooses at random. As a result, each TARP packet 140 is
   FIG. 32 shows message flows relating to Synchronization        35   routed through some minimum number of hops of TARP
protocols of FIG. 31.                                                  routers 122-127 which are chosen at random.
           DETAILED DESCRIPTION OF THE                                    Thus, each TARP packet, irrespective of the traditional
                   INVENTION                                           factorS determining traffic in the Internet, makes random
                                                                       trips among a number of geographically disparate routers
   Referring to FIG. 2, a Secure mechanism for communi            40   before reaching its destination and each trip is highly likely
cating over the internet employs a number of Special routers           to be different for each packet composing a given message
or servers, called TARP routers 122-127 that are similar to            because each trip is independently randomly determined as
regular IP routers 128-132 in that each has one or more IP             described above. This feature is called agile routing. For
addresses and uses normal IP protocol to Send normal                   reasons that will become clear shortly, the fact that different
looking IP packet messages, called TARP packets 140.              45   packets take different routes provides distinct advantages by
TARP packets 140 are identical to normal IP packet mes                 making it difficult for an interloper to obtain all the packets
sages that are routed by regular IP routers 128-132 because            forming an entire multi-packet message. Agile routing is
each TARP packet 140 contains a destination address as in              combined with another feature that furthers this purpose, a
a normal IP packet. However, instead of indicating a final             feature that ensures that any message is broken into multiple
destination in the destination field of the IPheader, the TARP    50   packets.
packet's 140 IP header always points to a next-hop in a                   A TARP router receives a TARP packet when an IP
series of TARP router hops, or the final destination, TARP             address used by the TARP router coincides with the IP
terminal 110. Because the header of the TARP packet                    address in the TARP packet's IP header IP. The IP address
contains only the next-hop destination, there is no overt              of a TARP router, however, may not remain constant. To
indication from an intercepted TARP packet of the true            55   avoid and manage attacks, each TARP router, independently
destination of the TARP packet 140 since the destination               or under direction from another TARP terminal or router,
could always be the next-hop TARP router as well as the                may change its IP address. A separate, unchangeable iden
final destination, TARP terminal 110.                                  tifier or address is also defined. This address, called the
  Each TARP packet's true destination is concealed behind              TARP address, is known only to TARP routers and terminals
an outer layer of encryption generated using a link key 146.      60   and may be correlated at any time by a TARP router or a
The link key 146 is the encryption key used for encrypted              TARP terminal using a Lookup Table (LUT). When a TARP
communication between the end points (TARP terminals or                router or terminal changes its IP address, it updates the other
TARP routers) of a single link in the chain of hops connect            TARP routers and terminals which in turn update their
ing the originating TARP terminal 100 and the destination              respective LUTs. In reality, whenever a TARP router looks
TARP terminal 110. Each TARP router 122–127, using the            65   up the address of a destination in the encrypted header, it
link key 146 it uses to communicate with the previous hop              must convert a TARP address to a real IP address using its
in a chain, can use the link key to reveal the true destination        LUT




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   While every TARP router receiving a TARP packet has                   6. Destination address-indicates the destination termi
the ability to determine the packet's final destination, the                nal's address in the TARP network.
message payload is embedded behind an inner layer of                     7. Decoy/Real-an indicator of whether the packet con
encryption in the TARP packet that can only be unlocked                     tains real message data or dummy decoy data or a
using a Session key. The Session key is not available to any      5         combination.
of the TARP routers 122-127 intervening between the                       Obviously, the packets going into a Single interleave
originating 100 and destination 110 TARP terminals. The                window must include only packets with a common destina
session key is used to decrypt the payloads of the TARP                tion. Thus, it is assumed in the depicted example that the IP
packets 140 permitting an entire message to be recon                   headers of IP packets 207a-207c all contain the same
Structed.                                                              destination address or at least will be received by the same
   In one embodiment, communication may be made private                terminal so that they can be deinterleaved. Note that dummy
using link and Session keys, which in turn may be shared and           or decoy data or packets can be added to form a larger
used according any desired method. For example, a public               interleave window than would otherwise be required by the
key or Symmetric keys may be communicated between link                 Size of a given message. Decoy or dummy data can be added
or Session endpoints using a public key method. Any of a          15   to a stream to help foil traffic analysis by leveling the load
variety of other mechanisms for Securing data to ensure that           on the network. Thus, it may be desirable to provide the
only authorized computers can have access to the private               TARP process with an ability to respond to the time of day
information in the TARP packets 140 may be used as                     or other criteria to generate more decoy data during low
desired.                                                               traffic periods So that communication bursts at one point in
   Referring to FIG. 3a, to construct a series of TARP                 the Internet cannot be tied to communication bursts at
packets, a data stream 300 of IP packets 207a, 207b, 207c,             another point to reveal the communicating endpoints.
etc., Such Series of packets being formed by a network (IP)               Dummy data also helps to break the data into a larger
layer process, is broken into a Series of Small sized Segments.        number of inconspicuously-sized packets permitting the
In the present example, equal-sized Segments 1-9 are                   interleave window Size to be increased while maintaining a
defined and used to construct a set of interleaved data           25   reasonable size for each packet. (The packet size can be a
packets A, B, and C. Here it is assumed that the number of             Single Standard size or Selected from a fixed range of sizes.)
interleaved packets A, B, and C formed is three and that the           One primary reason for desiring for each message to be
number of IP packets 207a-207c used to form the three                  broken into multiple packets is apparent if a chain block
interleaved packets A, B, and C is exactly three. Of course,           encryption Scheme is used to form the first encryption layer
the number of IP packets spread over a group of interleaved            prior to interleaving. A Single block encryption may be
packets may be any convenient number as may be the                     applied to a portion, or the entirety, of a message, and that
number of interleaved packets over which the incoming data             portion or entirety then interleaved into a number of Separate
stream is spread. The latter, the number of interleaved                packets.
packets over which the data Stream is spread, is called the               Referring to FIG. 3b, in an alternative mode of TARP
interleave window.                                                35   packet construction, a Series of IP packets are accumulated
   To create a packet, the transmitting Software interleaves           to make up a predefined interleave window. The payloads of
the normal IP packets 207a et. Seq to form a new set of                the packets are used to construct a single block 520 for chain
interleaved payload data 320. This payload data 320 is then            block encryption using the Session key. The payloads used to
encrypted using a Session key to form a set of Session-key             form the block are presumed to be destined for the same
encrypted payload data 330, each of which, A, B, and C, will      40   terminal. The block size may coincide with the interleave
form the payload of a TARP packet. Using the IP header                 window as depicted in the example embodiment of FIG. 3b.
data, from the original packets 207a-207c, new TARP                    After encryption, the encrypted block is broken into Separate
headers IP are formed. The TARP headers IP can be                      payloads and Segments which are interleaved as in the
identical to normal IP headers or customized in Some way.              embodiment of FIG.3a. The resulting interleaved packets A,
In a preferred embodiment, the TARP headers IP are IP             45   B, and C, are then packaged as TARP packets with TARP
headers with added data providing the following information            headers as in the Example of FIG.3a. The remaining process
required for routing and reconstruction of messages, Some of           is as shown in, and discussed with reference to, FIG. 3a.
which data is ordinarily, or capable of being, contained in               Once the TARP packets 340 are formed, each entire TARP
normal IP headers:                                                     packet 340, including the TARP header IP, is encrypted
                                                                  50   using the link key for communication with the first-hop
  1. A window Sequence number-an identifier that indi                  TARP router. The first hop TARP router is randomly chosen.
     cates where the packet belongs in the original message            A final unencrypted IP header IP is added to each encrypted
     Sequence.
                                                                       TARP packet 340 to form a normal IP packet 360 that can
  2. An interleave Sequence number-an identifier that                  be transmitted to a TARP router. Note that the process of
     indicates the interleaving Sequence used to form the         55   constructing the TARP packet 360 does not have to be done
     packet So that the packet can be deinterleaved along              in Stages as described. The above description is just a useful
    with other packets in the interleave window.                       heuristic for describing the final product, namely, the TARP
  3. A time-to-live (TTL) datum-indicates the number of                packet.
     TARP-router-hops to be executed before the packet                    Note that, TARP header IP could be a completely custom
     reaches its destination. Note that the TTL parameter         60   header configuration with no similarity to a normal IP header
     may provide a datum to be used in a probabilistic                 except that it contain the information identified above. This
     formula for determining whether to route the packet to            is so since this header is interpreted by only TARP routers.
     the destination or to another hop.                                   The above scheme may be implemented entirely by
  4. Data type identifier-indicates whether the payload                processes operating between the data link layer and the
     contains, for example, TCP or UDP data.                      65   network layer of each Server or terminal participating in the
  5. Sender's address-indicates the Sender's address in the            TARP system. Referring to FIG. 4, a TARP transceiver 405
     TARP network.                                                     can be an originating terminal 100, a destination terminal




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110, or a TARP router 122–127. In each TARP Transceiver               of TARP routers on any given subnet is expected to be
405, a transmitting proceSS is generated to receive normal            relatively small, this process of updating the LUTs should be
packets from the Network (IP) layer and generate TARP                 relatively fast. It may not, however, work as well when there
packets for communication over the network. A receiving               is a relatively large number of TARP routers and/or a
proceSS is generated to receive normal IP packets containing          relatively large number of clients; this has motivated a
TARP packets and generate from these normal IP packets                refinement of this architecture to provide scalability; this
which are “passed up” to the Network (IP) layer. Note that            refinement has led to a Second embodiment, which is dis
where the TARP Transceiver 405 is a router, the received              cussed below.
TARP packets 140 are not processed into a stream of IP                   Upon detection of an attack, the TARP process may also
packets 415 because they need only be authenticated as                create a Subprocess that maintains the original IP address
proper TARP packets and then passed to another TARP                   and continues interacting with the attacker. The latter may
router or a TARP destination terminal 110. The intervening            provide an opportunity to trace the attacker or Study the
process, a “TARP Layer” 420, could be combined with                   attacker's methods (called “fishbowling” drawing upon the
either the data link layer 430 or the Network layer 410. In           analogy of a small fish in a fish bowl that “thinks' it is in the
either case, it would intervene between the data link layer      15   ocean but is actually under captive observation). A history of
430 so that the process would receive regular IP packets              the communication between the attacker and the abandoned
containing embedded TARP packets and “hand up' a series               (fishbowled) IP address can be recorded or transmitted for
of reassembled IP packets to the Network layer 410. As an             human analysis or further Synthesized for purposes of
example of combining the TARPlayer 420 with the data link             responding in Some way.
layer 430, a program may augment the normal processes                    AS mentioned above, decoy or dummy data or packets can
running a communications card, for example, an Ethernet               be added to outgoing data streams by TARP terminals or
card. Alternatively, the TARP layer processes may form part           routers. In addition to making it convenient to Spread data
of a dynamically loadable module that is loaded and                   over a larger number of Separate packets, Such decoy packets
executed to Support communications between the network                can also help to level the load on inactive portions of the
and data link layers.                                            25   Internet to help foil traffic analysis efforts.
   Because the encryption System described above can be                  Decoy packets may be generated by each TARP terminal
inserted between the data link and network layers, the                100, 110 or each router 122-127 on Some basis determined
processes involved in Supporting the encrypted communi                by an algorithm. For example, the algorithm may be a
cation may be completely transparent to processes at the IP           random one which calls for the generation of a packet on a
(network) layer and above. The TARP processes may also be             random basis when the terminal is idle. Alternatively, the
completely transparent to the data link layer processes as            algorithm may be responsive to time of day or detection of
well. Thus, no operations at or above the network layer, or           low traffic to generate more decoy packets during low traffic
at or below the data link layer, are affected by the insertion        times. Note that packets are preferably generated in groups,
of the TARP stack. This provides additional security to all           rather than one by one, the groups being sized to Simulate
processes at or above the network layer, Since the difficulty    35   real messages. In addition, So that decoy packets may be
of unauthorized penetration of the network layer (by, for             inserted in normal TARP message Streams, the background
example, a hacker) is increased Substantially. Even newly             loop may have a latch that makes it more likely to insert
developed Servers running at the Session layer leave all              decoy packets when a message Stream is being received.
processes below the Session layer Vulnerable to attack. Note          That is, when a Series of messages are received, the decoy
that in this architecture, Security is distributed. That is,     40   packet generation rate may be increased. Alternatively, if a
notebook computers used by executives on the road, for                large number of decoy packetS is received along with regular
example, can communicate over the Internet without any                TARP packets, the algorithm may increase the rate of
compromise in Security.                                               dropping of decoy packets rather than forwarding them. The
   Note that IP address changes made by TARP terminals                result of dropping and generating decoy packets in this way
and routers can be done at regular intervals, at random          45   is to make the apparent incoming message Size different
intervals, or upon detection of “attacks.” The variation of IP        from the apparent outgoing message size to help foil traffic
addresses hinders traffic analysis that might reveal which            analysis. The rate of reception of packets, decoy or
computers are communicating, and also provides a degree of            otherwise, may be indicated to the decoy packet dropping
immunity from attack. The level of immunity from attack is            and generating processes through perishable decoy and
roughly proportional to the rate at which the IP address of      50   regular packet counters. (A perishable counter is one that
the host is changing.                                                 resets or decrements its value in response to time So that it
   AS mentioned, IP addresses may be changed in response              contains a high value when it is incremented in rapid
to attacks. An attack may be revealed, for example, by a              Succession and a Small value when incremented either
regular Series of messages indicates that a router is being           Slowly or a small number of times in rapid Succession.) Note
probed in some way. Upon detection of an attack, the TARP        55   that destination TARP terminal 110 may generate decoy
layer proceSS may respond to this event by changing its IP            packets equal in number and size to those TARP packets
address. To accomplish this, the TARP process will construct          received to make it appear it is merely routing packets and
a TARP-formatted message, in the style of Internet Control            is therefore not the destination terminal.
Message Protocol (ICMP) datagrams as an example; this                    Referring to FIG. 5, the following particular steps may be
message will contain the machine's TARP address, its             60   employed in the above-described method for routing TARP
previous IP address, and its new IP address. The TARP layer           packets.
will transmit this packet to at least one known TARP router;            S0. A background loop operation is performed which
then upon receipt and validation of the message, the TARP                  applies an algorithm which determines the generation
router will update its LUT with the new IP address for the                 of decoy IP packets. The loop is interrupted when an
Stated TARP address. The TARP router will then format a          65        encrypted TARP packet is received.
similar message, and broadcast it to the other TARP routers             S2. The TARP packet may be probed in some way to
so that they may update their LUTs. Since the total number                 authenticate the packet before attempting to decrypt it




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    using the link key. That is, the router may determine             S25. A clear IP header with the first hop router's real IP
    that the packet is an authentic TARP packet by per                  address is generated and added to each of the encrypted
    forming a Selected operation on Some data included                  TARP packets and the resulting packets.
    with the clear IP header attached to the encrypted TARP           Referring to FIG. 7, the following particular steps may be
    packet contained in the payload. This makes it possible    5    employed in the above-described method for receiving
    to avoid performing decryption on packets that are not          TARP packets.
    authentic TARP packets.                                           S40. A background loop operation is performed which
  S3. The TARP packet is decrypted to expose the destina                applies an algorithm which determines the generation
     tion TARP address and an indication of whether the                 of decoy IP packets. The loop is interrupted when an
    packet is a decoy packet or part of a real message.        1O       encrypted TARP packet is received.
  S4. If the packet is a decoy packet, the perishable decoy           S42. The TARP packet may be probed to authenticate the
     counter is incremented.                                            packet before attempting to decrypt it using the link
  S5. Based on the decoy generation/dropping algorithm                  key.
    and the perishable decoy counter value, if the packet is   15     S43. The TARP packet is decrypted with the appropriate
    a decoy packet, the router may choose to throw it away.             link key to expose the destination TARP address and an
    If the received packet is a decoy packet and it is                  indication of whether the packet is a decoy packet or
     determined that it should be thrown away (S6), control             part of a real message.
    returns to step S0.                                               S44. If the packet is a decoy packet, the perishable decoy
  S7. The TTL parameter of the TARP header is decre                      counter is incremented.
    mented and it is determined if the TTL parameter is               S45. Based on the decoy generation/dropping algorithm
    greater than Zero.                                                  and the perishable decoy counter value, if the packet is
  S8. If the TTL parameter is greater than Zero, a TARP                 a decoy packet, the receiver may choose to throw it
    address is randomly chosen from a list of TARP                       away.
    addresses maintained by the router and the link key and    25     S46. The TARP packets are cached until all packets
    IP address corresponding to that TARP address memo                  forming an interleave window are received.
    rized for use in creating a new IP packet containing the          S47. Once all packets of an interleave window are
    TARP packet.                                                        received, the packets are deinterleaved.
  S9. If the TTL parameter is zero or less, the link key and          S48. The packets block of combined packets defining the
    IP address corresponding to the TARP address of the                 interleave window is then decrypted using the Session
    destination are memorized for use in creating the new               key.
    IP packet containing the TARP packet.
  S10. The TARP packet is encrypted using the memorized               S49. The decrypted block is then divided using the
    link key.                                                           window Sequence data and the IP headers are con
                                                               35       verted into normal IP headers. The window sequence
  S11. An IP header is added to the packet that contains the            numbers are integrated in the IP headers.
    stored IP address, the encrypted TARP packet wrapped              S50. The packets are then handed up to the IP layer
    with an IP header, and the completed packet transmitted              proceSSeS.
    to the next hop or destination.
  Referring to FIG. 6, the following particular steps may be                   1. SCALABILITY ENHANCEMENTS
                                                               40
employed in the above-described method for generating
TARP packets.                                                         The IP agility feature described above relies on the ability
  S20. A background loop operation applies an algorithm             to transmit IP address changes to all TARP routers. The
    that determines the generation of decoy IP packets. The         embodiments including this feature will be referred to as
    loop is interrupted when a data Stream containing IP            “boutique' embodiments due to potential limitations in
    packets is received for transmission.                      45   Scaling these features up for a large network, Such as the
  S21. The received IP packets are grouped into a set               Internet. (The “boutique' embodiments would, however, be
                                                                    robust for use in Smaller networks, Such as Small virtual
    consisting of messages with a constant IP destination           private networks, for example). One problem with the
    address. The set is further broken down to coincide             boutique embodiments is that if IP address changes are to
    with a maximum size of an interleave window The set        50   occur frequently, the message traffic required to update all
    is encrypted, and interleaved into a set of payloads            routerS Sufficiently quickly creates a Serious burden on the
    destined to become TARP packets.                                Internet when the TARP router and/or client population gets
  S22. The TARP address corresponding to the IP address is          large. The bandwidth burden added to the networks, for
    determined from a lookup table and Stored to generate           example in ICMP packets, that would be used to update all
    the TARP header. An initial TTL count is generated and     55   the TARP routers could overwhelm the Internet for a large
    stored in the header. The TTL count may be random               Scale implementation that approached the Scale of the Inter
    with minimum and maximum values or it may be fixed              net. In other words, the boutique System's Scalability is
    or determined by Some other parameter.                          limited.
  S23. The window sequence numbers and interleave                     A System can be constructed which trades Some of the
    sequence numbers are recorded in the TARP headers of       60   features of the above embodiments to provide the benefits of
    each packet.                                                    IP agility without the additional messaging burden. This is
  S24. One TARP router address is randomly chosen for               accomplished by IP address-hopping according to shared
    each TARP packet and the IP address corresponding to            algorithms that govern IP addresses used between links
    it stored for use in the clear IP header. The link key          participating in communications Sessions between nodes
    corresponding to this router is identified and used to     65   such as TARP nodes. (Note that the IP hopping technique is
    encrypt TARP packets containing interleaved and                 also applicable to the boutique embodiment.) The IP agility
    encrypted data and TARP headers.                                feature discussed with respect to the boutique System can be




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modified So that it becomes decentralized under this Scalable          fairly large window would be hard to fall into at random.) If
regime and governed by the above-described shared algo                 it is a member of this Set, the router accepts the packet and
rithm. Other features of the boutique system may be com                processes it further. This link-based IP-hopping Strategy,
bined with this new type of IP-agility.                                referred to as “IHOP, is a network element that stands on
   The new embodiment has the advantage of providing IP                its own and is not necessarily accompanied by elements of
agility governed by a local algorithm and Set of IP addresses          the boutique System described above. If the routing agility
eXchanged by each communicating pair of nodes. This local              feature described in connection with the boutique embodi
governance is Session-independent in that it may govern                ment is combined with this link-based IP-hopping Strategy,
communications between a pair of nodes, irrespective of the            the router's next step would be to decrypt the TARP header
Session or end points being transferred between the directly           to determine the destination TARP router for the packet and
communicating pair of nodes.                                           determine what should be the next hop for the packet. The
  In the Scalable embodiments, blocks of IP addresses are              TARP router would then forward the packet to a random
                                                                       TARP router or the destination TARP router with which the
allocated to each node in the network. (This scalability will          Source TARP router has a link-based IP hopping communi
increase in the future, when Internet Protocol addresses are      15   cation established.
increased to 128-bit fields, vastly increasing the number of             FIG. 8 shows how a client computer 801 and a TARP
distinctly addressable nodes). Each node can thus use any of           router 811 can establish a secure session. When client 801
the IP addresses assigned to that node to communicate with             seeks to establish an IHOP session with TARP router 811,
other nodes in the network. Indeed, each pair of communi               the client 801 sends “secure synchronization” request
cating nodes can use a plurality of Source IP addresses and            (“SSYN”) packet 821 to the TARP router 811. This SYN
destination IP addresses for communicating with each other.            packet 821 contains the client's 801 authentication token,
   Each communicating pair of nodes in a chain participating           and may be sent to the router 811 in an encrypted format.
in any Session Stores two blocks of IP addresses, called               The source and destination IP numbers on the packet 821 are
netblocks, and an algorithm and randomization Seed for                 the client's 801 current fixed IP address, and a “known”
Selecting, from each netblock, the next pair of Source/           25   fixed IP address for the router 811. (For security purposes,
destination IP addresses that will be used to transmit the next        it may be desirable to reject any packets from outside of the
message. In other words, the algorithm governs the Sequen              local network that are destined for the router's known fixed
tial Selection of IP-address pairs, one Sender and one                 IP address.) Upon receipt and validation of the client's 801
receiver IP address, from each netblock. The combination of            SSYN packet 821, the router 811 responds by sending an
algorithm, seed, and netblock (IP address block) will be               encrypted “Secure Synchronization acknowledgment'
called a “hopblock. A router issues Separate transmit and              (“SSYNACK") 822 to the client 801. This SSYNACK822
receive hopblocks to its clients. The Send address and the             will contain the transmit and receive hopblocks that the
receive address of the IPheader of each outgoing packet Sent           client 801 will use when communicating with the TARP
by the client are filled with the send and receive IP addresses        router 811. The client 801 will acknowledge the TARP
generated by the algorithm. The algorithm is "clocked”            35   router's 811 response packet 822 by generating an encrypted
(indexed) by a counter So that each time a pair is used, the           SSYN ACK ACK packet 823 which will be sent from the
algorithm turns out a new transmit pair for the next packet            client's 801 fixed IP address and to the TARP routers 811
to be sent.                                                            known fixed IP address. The client 801 will simultaneously
   The router's receive hopblock is identical to the client's          generate a SSYN ACK ACK packet; this SSYN ACK
transmit hopblock. The router uses the receive hopblock to        40   packet, referred to as the Secure Session Initiation (SSI)
predict what the send and receive IP address pair for the next         packet 824, will be sent with the first sender, receiver IP
expected packet from that client will be. Since packets can            pair in the client's transmit table 921 (FIG. 9), as specified
be received out of order, it is not possible for the router to         in the transmit hopblock provided by the TARP router 811
predict with certainty what IP address pair will be on the             in the SSYN ACK packet 822. The TARP router 811 will
next Sequential packet. To account for this problem, the          45   respond to the SSI packet 824 with an SSI ACK packet 825,
router generates a range of predictions encompassing the               which will be sent with the first sender, receiver IP pair in
number of possible transmitted packet Send/receive                     the TARP router's transmit table 923. Once these packets
addresses, of which the next packet received could leap                have been Successfully exchanged, the Secure communica
ahead. Thus, if there is a vanishingly small probability that          tions Session is established, and all further Secure commu
a given packet will arrive at the router ahead of 5 packets       50   nications between the client 801 and the TARP router 811
transmitted by the client before the given packet, then the            will be conducted via this Secure Session, as long as Syn
router can generate a Series of 6 Send/receive IP address pairs        chronization is maintained. If Synchronization is lost, then
(or “hop window”) to compare with the next received                    the client 801 and TARP router 802 may re-establish the
packet. When a packet is received, it is marked in the hop             secure session by the procedure outlined in FIG. 8 and
window as Such, So that a Second packet with the Same IP          55   described above.
address pair will be discarded. If an out-of-Sequence packet             While the Secure session is active, both the client 901 and
does not arrive within a predetermined timeout period, it can          TARP router 911 (FIG. 9) will maintain their respective
be requested for retransmission or simply discarded from the           transmit tables 921, 923 and receive tables 922, 924, as
receive table, depending upon the protocol in use for that             provided by the TARP router during session synchronization
communications Session, or possibly by convention.                60   822. It is important that the sequence of IP pairs in the
   When the router receives the client's packet, it compares           client's transmit table 921 be identical to those in the TARP
the send and receive IP addresses of the packet with the next          router's receive table 924; similarly, the sequence of IP pairs
N predicted send and receive IP address pairs and rejects the          in the client's receive table 922 must be identical to those in
packet if it is not a member of this Set. Received packets that        the router's transmit table 923. This is required for the
do not have the predicted source/destination IP addresses         65   session synchronization to be maintained. The client 901
falling with the window are rejected, thus thwarting possible          need maintain only one transmit table 921 and one receive
hackers. (With the number of possible combinations, even a             table 922 during the course of the secure session. Each




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sequential packet sent by the client 901 will employ the next           the range covering the allowed IP addresses with a given
 send, receive IP address pair in the transmit table, regard            Seed. Alternatively, the Session participants can assume a
less of TCP or UDP session. The TARP router 911 will                    certain type of algorithm and Specify Simply a parameter for
expect each packet arriving from the client 901 to bear the             applying the algorithm. For example the assumed algorithm
next IP address pair shown in its receive table.                        could be a particular pseudo-random number generator and
   Since packets can arrive out of order, however, the router           the Session participants could simply exchange Seed values.
911 can maintain a "look ahead' buffer in its receive table,               Note that there is no permanent physical distinction
and will mark previously-received IP pairs as invalid for               between the originating and destination terminal nodes.
future packets, any future packet containing an IP pair that            Either device at either end point can initiate a Synchroniza
is in the look-ahead buffer but is marked as previously                 tion of the pair. Note also that the authentication/
received will be discarded. Communications from the TARP
router 911 to the client 901 are maintained in an identical             Synchronization-request (and acknowledgment) and
manner; in particular, the router 911 will select the next IP           hopblock-exchange may all be served by a Single message
address pair from its transmit table 923 when constructing a            So that Separate message exchanges may not be required.
packet to send to the client 901, and the client 901 will          15
                                                                           AS another extension to the Stated architecture, multiple
maintain a look-ahead buffer of expected IP pairs on packets            physical paths can be used by a client, in order to provide
that it is receiving. Each TARP router will maintain separate           link redundancy and further thwart attempts at denial of
pairs of transmit and receive tables for each client that is            service and traffic monitoring. As shown in FIG. 10, for
currently engaged in a Secure Session with or through that              example, client 1001 can establish three simultaneous ses
TARP router.                                                            sions with each of three TARP routers provided by different
   While clients receive their hopblocks from the first server          ISPs 1011, 1012, 1013. As an example, the client 1001 can
linking them to the Internet, routerS eXchange hopblockS.               use three different telephone lines 1021, 1022, 1023 to
When a router establishes a link-based IP-hopping commu                 connect to the ISPs, or two telephone lines and a cable
nication regime with another router, each router of the pair            modem, etc. In this Scheme, transmitted packets will be sent
eXchanges its transmit hopblock. The transmit hopblock of          25
                                                                        in a random fashion among the different physical paths. This
each router becomes the receive hopblock of the other                   architecture provides a high degree of communications
router. The communication between routerS is governed as                redundancy, with improved immunity from denial-of
described by the example of a client Sending a packet to the            Service attacks and traffic monitoring.
first router.                                                                          2. FURTHER EXTENSIONS
  While the above strategy works fine in the IP milieu,
many local networks that are connected to the Internet are                The following describes various extensions to the
Ethernet systems. In Ethernet, the IP addresses of the                  techniques, Systems, and methods described above. AS
destination devices must be translated into hardware                    described above, the Security of communications occurring
addresses, and Vice versa, using known processes ("address              between computers in a computer network (Such as the
resolution protocol, and “reverse address resolution               35   Internet, an Ethernet, or others) can be enhanced by using
protocol’). However, if the link-based IP-hopping strategy is           Seemingly random Source and destination Internet Protocol
employed, the correlation process would become explosive                (IP) addresses for data packets transmitted over the network.
and burdensome. An alternative to the link-based IP hopping             This feature prevents eavesdroppers from determining
Strategy may be employed within an Ethernet network. The                which computers in the network are communicating with
Solution is to provide that the node linking the Internet to the   40   each other while permitting the two communicating com
Ethernet (call it the border node) use the link-based                   puters to easily recognize whether a given received data
IP-hopping communication regime to communicate with                     packet is legitimate or not. In one embodiment of the
nodes outside the Ethernet LAN. Within the Ethernet LAN,                above-described systems, an IP header extension field is
each TARP node would have a single IP address which                     used to authenticate incoming packets on an Ethernet.
would be addressed in the conventional way. Instead of             45     Various extensions to the previously described techniques
comparing the sender, receiver IP address pairs to authen               described herein include: (1) use of hopped hardware or
ticate a packet, the intra-LAN TARP node would use one of               "MAC" addresses in broadcast type network; (2) a self
the IP header extension fields to do so. Thus, the border node          Synchronization technique that permits a computer to auto
uses an algorithm shared by the intra-LAN TARP node to                  matically regain Synchronization with a Sender; (3) Synchro
generate a symbol that is stored in the free field in the IP       50   nization algorithms that allow transmitting and receiving
header, and the intra-LAN TARP node generates a range of                computers to quickly re-establish Synchronization in the
Symbols based on its prediction of the next expected packet             event of lost packets or other events; and (4) a fast-packet
to be received from that particular source IP address. The              rejection mechanism for rejecting invalid packets. Any or all
packet is rejected if it does not fall into the Set of predicted        of these extensions can be combined with the features
Symbols (for example, numerical values) or is accepted if it       55   described above in any of various ways.
does. Communications from the intra-LAN TARP node to                    A. Hardware Address Hopping
the border node are accomplished in the same manner,                       Internet protocol-based communications techniqueS on a
though the algorithm will necessarily be different for Secu             LAN-or acroSS any dedicated physical medium-typically
rity reasons. Thus, each of the communicating nodes will                embed the IP packets within lower-level packets, often
generate transmit and receive tables in a similar manner to        60   referred to as “frames.” As shown in FIG. 11, for example,
that of FIG.9; the intra-LAN TARP nodes transmit table will             a first Ethernet frame 1150 comprises a frame header 1101
be identical to the border node's receive table, and the                and two embedded IP packets IP1 and IP2, while a second
intra-LANTARP node's receive table will be identical to the             Ethernet frame 1160 comprises a different frame header
border node's transmit table.                                           1104 and a single IP packet IP3. Each frame header gener
  The algorithm used for IP address-hopping can be any             65   ally includes a source hardware address 1101A and a des
desired algorithm. For example, the algorithm can be a given            tination hardware address 1101B; other well-known fields in
pseudo-random number generator that generates numbers of                frame headers are omitted from FIG. 11 for clarity. Two




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hardware nodes communicating over a physical communi                  packets or “secure communications' to differentiate them
cation channel insert appropriate Source and destination              from ordinary data packets that are transmitted in the clear
hardware addresses to indicate which nodes on the channel             using ordinary, machine-correlated addresses.
or network should receive the frame.                                     One Straightforward method of generating non
  It may be possible for a nefarious listener to acquire              attributable MAC addresses is an extension of the IP hop
information about the contents of a frame and/or its com              ping Scheme. In this Scenario, two machines on the same
municants by examining frames on a local network rather               LAN that desire to communicate in a Secure fashion
than (or in addition to) the IP packets themselves. This is           eXchange random-number generators and Seeds, and create
especially true in broadcast media, Such as Ethernet, where           Sequences of quasi-random MAC addresses for Synchro
it is necessary to insert into the frame header the hardware          nized hopping. The implementation and Synchronization
address of the machine that generated the frame and the               issues are then Similar to that of IP hopping.
hardware address of the machine to which frame is being                  This approach, however, runs the risk of using MAC
Sent. All nodes on the network can potentially “See all               addresses that are currently active on the LAN which, in
packets transmitted acroSS the network. This can be a                 turn, could interrupt communications for those machines.
problem for Secure communications, especially in cases           15   Since an Ethernet MAC address is at present 48 bits in
where the communicants do not want for any third party to             length, the chance of randomly misusing an active MAC
be able to identify who is engaging in the information                address is actually quite Small. However, if that figure is
eXchange. One way to address this problem is to push the              multiplied by a large number of nodes (as would be found
address-hopping Scheme down to the hardware layer. In                 on an extensive LAN), by a large number of frames (as
accordance with various embodiments of the invention,                 might be the case with packet voice or streaming video), and
hardware addresses are “hopped' in a manner Similar to that           by a large number of concurrent Virtual Private Networks
used to change IP addresses, Such that a listener cannot              (VPNs), then the chance that a non-secure machine's MAC
determine which hardware node generated a particular mes              address could be used in an address-hopped frame can
Sage nor which node is the intended recipient.                        become non-trivial. In Short, any Scheme that runs even a
  FIG. 12A shows a system in which Media Access Control          25   Small risk of interrupting communications for other
("MAC") hardware addresses are “hopped” in order to                   machines on the LAN is bound to receive resistance from
increase Security over a network Such as an Ethernet. While           prospective System administrators. Nevertheless, it is tech
the description refers to the exemplary case of an Ethernet           nically feasible, and can be implemented without risk on a
environment, the inventive principles are equally applicable          LAN on which there is a small number of machines, or if all
to other types of communications media. In the Ethernet               of the machines on the LAN are engaging in MAC-hopped
case, the MAC address of the Sender and receiver are                  communications.
inserted into the Ethernet frame and can be observed by                  Synchronized MAC address hopping may incur Some
anyone on the LAN who is within the broadcast range for               overhead in the course of Session establishment, especially
that frame. For Secure communications, it becomes desirable           if there are multiple Sessions or multiple nodes involved in
to generate frames with MAC addresses that are not attrib        35   the communications. A simpler method of randomizing
utable to any Specific Sender or receiver.                            MAC addresses is to allow each node to receive and process
   As shown in FIG. 12A, two computer nodes 1201 and                  every incident frame on the network. Typically, each net
1202 communicate over a communication channel Such as                 work interface driver will check the destination MAC
an Ethernet. Each node executes one or more application               address in the header of every incident frame to see if it
programs 1203 and 1218 that communicate by transmitting          40   matches that machine's MAC address; if there is no match,
packets through communication software 1204 and 1217,                 then the frame is discarded. In one embodiment, however,
respectively. Examples of application programs include                these checks can be disabled, and every incident packet is
Video conferencing, e-mail, word processing programs,                 passed to the TARP stack for processing. This will be
telephony, and the like. Communication software 1204 and              referred to as “promiscuous” mode, Since every incident
1217 can comprise, for example, an OSI layered architecture      45   frame is processed. Promiscuous mode allows the Sender to
or "stack' that Standardizes various Services provided at             use completely random, unsynchronized MAC addresses,
different levels of functionality.                                    Since the destination machine is guaranteed to process the
  The lowest levels of communication Software 1204 and                frame. The decision as to whether the packet was truly
1217 communicate with hardware components 1206 and                    intended for that machine is handled by the TARP stack,
1214 respectively, each of which can include one or more         50   which checks the Source and destination IP addresses for a
registers 1207 and 1215 that allow the hardware to be                 match in its IP synchronization tables. If no match is found,
reconfigured or controlled in accordance with various com             the packet is discarded; if there is a match, the packet is
munication protocols. The hardware components (an Ether               unwrapped, the inner header is evaluated, and if the inner
net network interface card, for example) communicate with             header indicates that the packet is destined for that machine
each other over the communication medium. Each hardware          55   then the packet is forwarded to the IP stack-otherwise it is
component is typically pre-assigned a fixed hardware                  discarded.
address or MAC number that identifies the hardware com                   One disadvantage of purely-random MAC address hop
ponent to other nodes on the network. One or more interface           ping is its impact on processing overhead; that is, Since
drivers control the operation of each card and can, for               every incident frame must be processed, the machine's CPU
example, be configured to accept or reject packets from          60   is engaged considerably more often than if the network
certain hardware addresses. AS will be described in more              interface driver is discriminating and rejecting packets uni
detail below, various embodiments of the inventive prin               laterally. A compromise approach is to Select either a single
ciples provide for “hopping different addresses using one or          fixed MAC address or a small number of MAC addresses
more algorithms and one or more moving windows that                   (e.g., one for each virtual private network on an Ethernet) to
track a range of valid addresses to validate received packets.   65   use for MAC-hopped communications, regardless of the
Packets transmitted according to one or more of the inven             actual recipient for which the message is intended. In this
tive principles will be generally referred to as “secure”             mode, the network interface driver can check each incident




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frame against one (or a few) pre-established MAC                             At the receiving node 1202, the same IP hop algorithm
addresses, thereby freeing the CPU from the task of                        1222X is maintained and used to generate a receive table
physical-layer packet discrimination. This Scheme does not                 1222 that lists valid triplets of Source IP address, destination
betray any useful information to an interloper on the LAN;                 IP address, and discriminator field. This is shown by virtue
in particular, every Secure packet can already be identified               of the first five entries of transmit table 1208 matching the
by a unique packet type in the Outer header. However, Since                second five entries of receive table 1222. (The tables may be
all machines engaged in Secure communications would                        Slightly offset at any particular time due to lost packets,
either be using the same MAC address, or be Selecting from                 misordered packets, or transmission delays). Additionally,
a Small pool of predetermined MAC addresses, the associa                   node 1202 maintains a receive window W3 that represents
tion between a Specific machine and a specific MAC address                 a list of valid IP source, IP destination, and discriminator
is effectively broken.                                                     fields that will be accepted when received as part of an
   In this scheme, the CPU will be engaged more often than                 incoming IP packet. As packets are received, window W3
it would be in non-Secure communications (or in Synchro                    slides down the list of valid entries, such that the possible
nized MAC address hopping), Since the network interface                    valid entries change over time. Two packets that arrive out
driver cannot always unilaterally discriminate between                15   of order but are nevertheless matched to entries within
Secure packets that are destined for that machine, and Secure              window W3 will be accepted; those falling outside of
packets from other VPNs. However, the non-secure traffic is                window W3 will be rejected as invalid. The length of
easily eliminated at the network interface, thereby reducing               window W3 can be adjusted as necessary to reflect network
the amount of processing required of the CPU. There are                    delays or other factors.
boundary conditions where these Statements would not hold,                   Node 1202 maintains a similar transmit table 1221 for
of course-e.g., if all of the traffic on the LAN is secure traffic,        creating IP packets and frames destined for node 1201 using
then the CPU would be engaged to the same degree as it is                  a potentially different hopping algorithm 1221X, and node
in the purely-random address hopping case, alternatively, if               1201 maintains a matching receive table 1209 using the
each VPN on the LAN uses a different MAC address, then                     same algorithm 1209X. As node 1202 transmits packets to
the network interface can perfectly discriminate Secure               25   node 1201 using seemingly random IP source, IP
frames destined for the local machine from those constitut                 destination, and/or discriminator fields, node 1201 matches
ing other VPNs. These are engineering tradeoffs that might                 the incoming packet values to those falling within Window
be best handled by providing administrative options for the                WI maintained in its receive table. In effect, transmit table
users when installing the software and/or establishing VPNs.               1208 of node 1201 is synchronized (i.e., entries are selected
   Even in this Scenario, however, there Still remains a Slight            in the same order) to receive table 1222 of receiving node
risk of Selecting MAC addresses that are being used by one                 1202. Similarly, transmit table 1221 of node 1202 is syn
or more nodes on the LAN. One solution to this problem is                  chronized to receive table 1209 of node 1201. It will be
to formally assign one address or a range of addresses for                 appreciated that although a common algorithm is shown for
use in MAC-hopped communications. This is typically done                   the Source, destination and discriminator fields in FIG. 12A
via an assigned numbers registration authority; e.g., in the          35   (using, e.g., a different Seed for each of the three fields), an
case of Ethernet, MAC address ranges are assigned to                       entirely different algorithm could in fact be used to establish
vendors by the Institute of Electrical and Electronics Engi                values for each of these fields. It will also be appreciated that
neers (IEEE). A formally-assigned range of addresses would                 one or two of the fields can be “hopped' rather than all three
ensure that Secure frames do not conflict with any properly                as illustrated.
configured and properly-functioning machines on the LAN.              40     In accordance with another aspect of the invention, hard
  Reference will now be made to FIGS. 12A and 12B in                       ware or “MAC addresses are hopped instead of or in
order to describe the many combinations and features that                  addition to IP addresses and/or the discriminator field in
follow the inventive principles. AS explained above, two                   order to improve Security in a local area or broadcast-type
computer nodes 1201 and 1202 are assumed to be commu                       network. To that end, node 1201 further maintains a transmit
nicating over a network or communication medium Such as               45   table 1210 using a transmit algorithm 1210X to generate
an Ethernet. A communication protocol in each node (1204                   Source and destination hardware addresses that are inserted
and 1217, respectively) contains a modified element 1205                   into frame headers (e.g., fields 1101A and 1101B in FIG. 11)
and 1216 that performs certain functions that deviate from                 that are Synchronized to a corresponding receive table 1224
the Standard communication protocols. In particular, com                   at node 1202. Similarly, node 1202 maintains a different
puter node 1201 implements a first “hop' algorithm 1208X              50   transmit table 1223 containing Source and destination hard
that Selects Seemingly random Source and destination IP                    ware addresses that is Synchronized with a corresponding
addresses (and, in one embodiment, seemingly random IP                     receive table 1211 at node 1201. In this manner, outgoing
header discriminator fields) in order to transmit each packet              hardware frames appear to be originating from and going to
to the other computer node. For example, node 1201 main                    completely random nodes on the network, even though each
tains a transmit table 1208 containing triplets of source (S),        55   recipient can determine whether a given packet is intended
destination (D), and discriminator fields (DS) that are                    for it or not. It will be appreciated that the hardware hopping
inserted into outgoing IP packet headers. The table is gen                 feature can be implemented at a different level in the
erated through the use of an appropriate algorithm (e.g., a                communications protocol than the IP hopping feature (e.g.,
random number generator that is Seeded with an appropriate                 in a card driver or in a hardware card itself to improve
seed) that is known to the recipient node 1202. As each new           60   performance).
IP packet is formed, the next Sequential entry out of the                    FIG. 12B shows three different embodiments or modes
sender's transmit table 1208 is used to populate the IP                    that can be employed using the aforementioned principles.
Source, IP destination, and IP header extension field (e.g.,               In a first mode referred to as “promiscuous” mode, a
discriminator field). It will be appreciated that the transmit             common hardware address (e.g., a fixed address for Source
table need not be created in advance but could instead be             65   and another for destination) or else a completely random
created on-the-fly by executing the algorithm when each                    hardware address is used by all nodes on the network, Such
packet is formed.                                                          that a particular packet cannot be attributed to any one node.




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Each node must initially accept all packets containing the             hopped or ignored. Using a discriminator field offers the
common (or random) hardware address and inspect the IP                 following advantages: (1) an arbitrarily high level of pro
addresses or discriminator field to determine whether the              tection can be provided, and (2) address hopping is unnec
packet is intended for that node. In this regard, either the IP        essary to provide protection. This may be important in
addresses or the discriminator field or both can be varied in          environments where address hopping would cause routing
accordance with an algorithm as described above. AS                    problems.
explained previously, this may increase each node's over               C. Synchronization Techniques
head Since additional processing is involved to determine                It is generally assumed that once a Sending node and
whether a given packet has valid Source and destination                receiving node have exchanged algorithms and Seeds (or
hardware addresses.                                                    Similar information Sufficient to generate quasi-random
  In a second mode referred to as “promiscuous per VPN”                Source and destination tables), Subsequent communication
mode, a Small Set of fixed hardware addresses are used, with           between the two nodes will proceed smoothly. Realistically,
a fixed Source/destination hardware address used for all               however, two nodes may lose Synchronization due to net
nodes communicating over a virtual private network. For                work delays or outages, or other problems. Consequently, it
example, if there are six nodes on an Ethernet, and the           15   is desirable to provide means for re-establishing Synchroni
network is to be split up into two private Virtual networks            Zation between nodes in a network that have lost Synchro
such that nodes on one VPN can communicate with only the               nization.
other two nodes on its own VPN, then two sets of hardware                 One possible technique is to require that each node
addresses could be used: one set for the first VPN and a               provide an acknowledgment upon Successful receipt of each
Second set for the second VPN. This would reduce the                   packet and, if no acknowledgment is received within a
amount of overhead involved in checking for valid frames               certain period of time, to re-send the unacknowledged
since only packets arriving from the designated VPN would              packet. This approach, however, drives up overhead costs
need to be checked. IP addresses and one or more discrimi              and may be prohibitive in high-throughput environments
nator fields could still be hopped as before for secure                Such as Streaming video or audio, for example.
communication within the VPN. Of course, this solution            25     A different approach is to employ an automatic Synchro
compromises the anonymity of the VPNs (i.e., an outsider               nizing technique that will be referred to herein as “self
can easily tell what traffic belongs in which VPN, though he           Synchronization.” In this approach, Synchronization infor
cannot correlate it to a specific machine/person). It also             mation is embedded into each packet, thereby enabling the
requires the use of a discriminator field to mitigate the              receiver to re-synchronize itself upon receipt of a Single
Vulnerability to certain types of DoS attacks. (For example,           packet if it determines that is has lost Synchronization with
without the discriminator field, an attacker on the LAN                the Sender. (If communications are already in progress, and
could stream frames containing the MAC addresses being                 the receiver determines that it is still in Sync with the Sender,
used by the VPN, rejecting those frames could lead to                  then there is no need to re-synchronize.) A receiver could
excessive processing overhead. The discriminator field                 detect that it was out of Synchronization by, for example,
would provide a low-overhead means of rejecting the false         35   employing a “dead-man' timer that expires after a certain
packets.)                                                              period of time, wherein the timer is reset with each valid
  In a third mode referred to as “hardware hopping” mode,              packet. A time Stamp could be hashed into the public Sync
hardware addresses are varied as illustrated in FIG. 12A,              field (see below) to preclude packet-retry attacks.
Such that hardware Source and destination addresses are                   In one embodiment, a “sync field” is added to the header
changed constantly in order to provide non-attributable           40   of each packet Sent out by the Sender. This Sync field could
addressing. Variations on these embodiments are of course              appear in the clear or as part of an encrypted portion of the
possible, and the invention is not intended to be limited in           packet. ASSuming that a Sender and receiver have Selected a
any respect by these illustrative examples.                            random-number generator (RNG) and seed value, this com
B. Extending the Address Space                                         bination of RNG and Seed can be used to generate a
   Address hopping provides Security and privacy. However,        45   random-number sequence (RNS). The RNS is then used to
the level of protection is limited by the number of addresses          generate a sequence of Source/destination IP pairs (and, if
in the blocks being hopped. A hopblock denotes a field or              desired, discriminator fields and hardware Source and des
fields modulated on a packet-wise basis for the purpose of             tination addresses), as described above. It is not necessary,
providing a VPN. For instance, if two nodes communicate                however, to generate the entire sequence (or the first N-1
with IP address hopping using hopblocks of 4 addresses (2         50   values) in order to generate the Nth random number in the
bits) each, there would be 16 possible address-pair combi              Sequence; if the Sequence indeX N is known, the random
nations. A window of size 16 would result in most address              value corresponding to that indeX can be directly generated
pairs being accepted as valid most of the time. This limita            (see below). Different RNGs (and seeds) with different
tion can be overcome by using a discriminator field in                 fundamental periods could be used to generate the Source
addition to or instead of the hopped address fields. The          55   and destination IPSequences, but the basic concepts would
discriminator field would be hopped in exactly the same                Still apply. For the Sake of Simplicity, the following discus
fashion as the address fields and it would be used to                  Sion will assume that IPSource and destination address pairs
determine whether a packet should be processed by a                    (only) are hopped using a single RNG sequencing mecha
receiver.                                                              nism.
  Suppose that two clients, each using four-bit hopblocks,        60     In accordance with a “self-Synchronization' feature, a
would like the same level of protection afforded to clients            Sync field in each packet header provides an index (i.e., a
communicating via IP hopping between two A blocks (24                  sequence number) into the RNS that is being used to
address bits eligible for hopping). A discriminator field of 20        generate IP pairs. Plugging this index into the RNG that is
bits, used in conjunction with the 4 address bits eligible for         being used to generate the RNS yields a Specific random
hopping in the IP address field, provides this level of           65   number value, which in turn yields a specific IP pair. That is,
protection. A 24-bit discriminator field would provide a               an IP pair can be generated directly from knowledge of the
similar level of protection if the address fields were not             RNG, Seed, and index number; it is not necessary, in this




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Scheme, to generate the entire Sequence of random numbers               sender and a second ISP 1303 is the receiver. (Other alter
that precede the Sequence value associated with the indeX               natives are possible from FIG. 13.) A transmitted packet
number provided.                                                        comprises a public or “outer header 1305 that is not
   Since the communicants have presumably previously                    encrypted, and a private or “inner” header 1306 that is
eXchanged RNGS and Seeds, the only new information that                 encrypted using for example a link key. Outer header 1305
must be provided in order to generate an IP pair is the                 includes a public sync portion while inner header 1306
Sequence number. If this number is provided by the Sender               contains the private Sync portion. A receiving node decrypts
in the packet header, then the receiver need only plug this             the inner header using a decryption function 1307 in order
number into the RNG in order to generate an IP pair-and                 to extract the private Sync portion. This step is necessary
thus verify that the IP pair appearing in the header of the             only if the lifetime of the currently buffered private sync has
packet is valid. In this Scheme, if the Sender and receiver lose        expired. (If the currently-buffered private sync is still valid,
Synchronization, the receiver can immediately                           then it is simply extracted from memory and “added” (which
re-synchronize upon receipt of a single packet by Simply                could be an inverse hash) to the public Sync, as shown in Step
comparing the IP pair in the packet header to the IP pair               1308.) The public and decrypted private sync portions are
generated from the index number. Thus, Synchronized com            15   combined in function 1308 in order to generate the com
munications can be resumed upon receipt of a Single packet,             bined sync 1309. The combined sync (1309) is then fed into
making this Scheme ideal for multicast communications.                  the RNG (1310) and compared to the IP address pair (1311)
Taken to the extreme, it could obviate the need for synchro             to validate or reject the packet.
nization tables entirely; that is, the Sender and receiver could           An important consideration in this architecture is the
simply rely on the index number in the sync field to validate           concept of “future” and “past” where the public sync values
the IP pair on each packet, and thereby eliminate the tables            are concerned. Though the Sync values, themselves, should
entirely.                                                               be random to prevent spoofing attacks, it may be important
   The aforementioned Scheme may have Some inherent                     that the receiver be able to quickly identify a Sync value that
Security issues associated with it-namely, the placement of             has already been sent-even if the packet containing that
the sync field. If the field is placed in the outer header, then   25   Sync value was never actually received by the receiver. One
an interloper could observe the values of the field and their           Solution is to hash a time Stamp or Sequence number into the
relationship to the IP stream. This could potentially com               public Sync portion, which could be quickly extracted,
promise the algorithm that is being used to generate the                checked, and discarded, thereby validating the public Sync
IP-address Sequence, which would compromise the Security                portion itself.
of the communications. If, however, the value is placed in                 In one embodiment, packets can be checked by compar
the inner header, then the Sender must decrypt the inner                ing the Source/destination IP pair generated by the Sync field
header before it can extract the Sync value and validate the            with the pair appearing in the packet header. If (1) they
IP pair; this opens up the receiver to certain types of                 match, (2) the time stamp is valid, and (3) the dead-man
denial-of-service (DoS) attacks, Such as packet replay. That            timer has expired, then re-synchronization occurs;
is, if the receiver must decrypt a packet before it can validate   35   otherwise, the packet is rejected. If enough processing
the IP pair, then it could potentially be forced to expend a            power is available, the dead-man timer and Synchronization
Significant amount of processing on decryption if an attacker           tables can be avoided altogether, and the receiver would
Simply retransmits previously valid packets. Other attack               Simply resynchronize (e.g., validate) on every packet.
methodologies are possible in this Scenario.                              The foregoing Scheme may require large-integer (e.g.,
   A possible compromise between algorithm Security and            40   160-bit) math, which may affect its implementation. Without
processing Speed is to Split up the Sync value between an               Such large-integer registers, processing throughput would be
inner (encrypted) and outer (unencrypted) header. That is, if           affected, thus potentially affecting Security from a denial
the Sync value is Sufficiently long, it could potentially be            of-Service Standpoint. Nevertheless, as large-integer math
Split into a rapidly-changing part that can be viewed in the            processing features become more prevalent, the costs of
clear, and a fixed (or very slowly changing) part that must be     45   implementing Such a feature will be reduced.
protected. The part that can be viewed in the clear will be             D. Other Synchronization Schemes
called the “public sync' portion and the part that must be                AS explained above, if W or more consecutive packets are
protected will be called the “private sync' portion.                    lost between a transmitter and receiver in a VPN (where W
   Both the public Sync and private Sync portions are needed            is the window size), the receiver's window will not have
to generate the complete Sync value. The private portion,          50   been updated and the transmitter will be transmitting packets
however, can be Selected Such that it is fixed or will change           not in the receiver's window. The Sender and receiver will
only occasionally. Thus, the private Sync value can be Stored           not recover Synchronization until perhaps the random pairs
by the recipient, thereby obviating the need to decrypt the             in the window are repeated by chance. Therefore, there is a
header in order to retrieve it. If the sender and receiver have         need to keep a transmitter and receiver in Synchronization
previously agreed upon the frequency with which the private        55   whenever possible and to re-establish Synchronization
part of the Sync will change, then the receiver can Selectively         whenever it is lost.
decrypt a Single header in order to extract the new private               A “checkpoint Scheme can be used to regain Synchroni
Sync if the communications gap that has led to lost Synchro             Zation between a Sender and a receiver that have fallen out
nization has exceeded the lifetime of the previous private              of Synchronization. In this Scheme, a checkpoint message
Sync. This should not represent a burdensome amount of             60   comprising a random IP address pair is used for communi
decryption, and thus should not open up the receiver to                 cating Synchronization information. In one embodiment,
denial-of-Service attack Simply based on the need to occa               two messages are used to communicate Synchronization
Sionally decrypt a Single header.                                       information between a Sender and a recipient:
   One implementation of this is to use a hashing function                 1. SYNC REQ is a message used by the sender to
with a one-to-one mapping to generate the private and public       65         indicate that it wants to Synchronize; and
Sync portions from the Sync value. This implementation is                 2. SYNC ACK is a message used by the receiver to
shown in FIG. 13, where (for example) a first ISP1302 is the                  inform the transmitter that it has been Synchronized.




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According to one variation of this approach, both the trans             case, it is desirable to move the window ahead without
mitter and receiver maintain three checkpoints (see FIG.14):            having to Step through the intervening random numbers
  1. In the transmitter, ckpt o (“checkpoint old”) is the IP            Sequentially. (This feature is also desirable for the auto-Sync
     pair that was used to re-send the last SYNC REQ                    approach discussed above).
     packet to the receiver. In the receiver, ckpt o                    E. Random Number Generator with a Jump-Ahead Capa
     (“checkpoint old”) is the IP pair that receives repeated           bility
     SYNC REQ packets from the transmitter.                                An attractive method for generating randomly hopped
  2. In the transmitter, ckpt n (“checkpoint new') is the IP            addresses is to use identical random number generators in
     pair that will be used to send the next SYNC REQ                   the transmitter and receiver and advance them as packets are
     packet to the receiver. In the receiver, ckpt in                   transmitted and received. There are many random number
     (“checkpoint new') is the IP pair that receives a new              generation algorithms that could be used. Each one has
     SYNC REQ packet from the transmitter and which                     Strengths and weaknesses for address hopping applications.
     causes the receiver's window to be re-aligned, ckpt o                Linear congruential random number generators (LCRs)
     Set to ckpt n, a new ckpt n to be generated and a new              are fast, Simple and well characterized random number
     ckpt r to be generated.                                       15   generators that can be made to jump ahead in Steps efficiently.
  3. In the transmitter, ckpt r is the IP pair that will be used        An LCR generates random numbers X, X, X . . . X.
     to send the next SYNC ACK packet to the receiver. In               Starting with Seed X using a recurrence
     the receiver, ckpt r is the IP pair that receives a new
     SYNC ACK packet from the transmitter and which                           X=(aX, +b)mod c,                                       (1)
     causes a new ckpt in to be generated. Since SYNC                   where a, b and c define a particular LCR. Another expression
     ACK is transmitted from the receiver ISP to the Sender
     ISP, the transmitter ckpt r refers to the ckpt r of the            for X,
     receiver and the receiver ckpt r refers to the ckpt r of
     the transmitter (see FIG. 14).
When a transmitter initiates synchronization, the IP pair it       25   enables the jump-ahead capability. The factor a can grow
will use to transmit the next data packet is set to a prede             very large even for modest i if left unfettered. Therefore
termined value and when a receiver first receives a SYNC                Some Special properties of the modulo operation can be used
REQ, the receiver window is updated to be centered on the               to control the size and processing time required to compute
transmitter's next IP pair. This is the primary mechanism for           (2). (2) can be rewritten as:
checkpoint Synchronization.
   Synchronization can be initiated by a packet counter (e.g.,
after every N packets transmitted, initiate a Synchronization)          It can be shown that:
or by a timer (every S Seconds, initiate a synchronization) or
a combination of both. See FIG. 15. From the transmitter's
perspective, this technique operates as follows: (1) Each          35
transmitter periodically transmits a “sync request' message
to the receiver to make Sure that it is in Sync. (2) If the             (X(a-1)+b) can be stored as (X(a-1)+b) modic, b as b mod
receiver is still in Sync, it sends back a “sync ack' message.          c and compute a mod((a-1)c) (this requires O(log(i)) Steps).
(If this works, no further action is necessary). (3) If no “sync          A practical implementation of this algorithm would jump
ack’ has been received within a period of time, the trans          40   a fixed distance, n, between Synchronizations; this is tanta
mitter retransmits the Sync request again. If the transmitter           mount to Synchronizing every n packets. The window would
reaches the next checkpoint without receiving a “sync ack'              commence n IP pairs from the start of the previous window.
response, then Synchronization is broken, and the transmitter           Using X", the random number at the j" checkpoint, as Xo
should stop transmitting. The transmitter will continue to              and n as i, a node can Store a' mod((a-1)c) once per LCR
                                                                        and Set
Send Sync reqS until it receives a Sync ack, at which point        45
transmission is reestablished.
  From the receiver's perspective, the Scheme operates as                     X,"=X      =(a" mod(a-1)c)(X,"(a-1)+b)-b)/(a-1))mod c, (5)
follows: (1) when it receives a "sync request request from              to generate the random number for the j+1" synchroniza
the transmitter, it advances its window to the next check               tion. Using this construction, a node could jump ahead an
point position (even skipping pairs if necessary), and sends       50   arbitrary (but fixed) distance between Synchronizations in a
a “sync ack' message to the transmitter. If Sync was never              constant amount of time (independent of n).
lost, then the "jump ahead’ really just advances to the next               Pseudo-random number generators, in general, and LCRS,
available pair of addresses in the table (i.e., normal                  in particular, will eventually repeat their cycles. This rep
advancement).                                                           etition may present Vulnerability in the IP hopping Scheme.
   If an interloper intercepts the "Sync request' messages         55   An adversary would simply have to wait for a repeat to
and tries to interfere with communication by Sending new                predict future Sequences. One way of coping with this
ones, it will be ignored if the Synchronization has been                Vulnerability is to create a random number generator with a
established or it it will actually help to re-establish synchro         known long cycle. A random Sequence can be replaced by a
nization.                                                               new random number generator before it repeats. LCRS can
   A window is realigned whenever a re-synchronization             60   be constructed with known long cycles. This is not currently
occurs. This realignment entails updating the receiver's                true of many random number generators.
window to Straddle the address pairs used by the packet                    Random number generators can be cryptographically
transmitted immediately after the transmission of the                   insecure. An adversary can derive the RNG parameters by
SYNC REQ packet. Normally, the transmitter and receiver                 examining the output or part of the output. This is true of
are in Synchronization with one another. However, when             65   LCGS. This Vulnerability can be mitigated by incorporating
network events occur, the receiver's window may have to be              an encryptor, designed to Scramble the output as part of the
advanced by many Steps during resynchronization. In this                random number generator. The random number generator




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prevents an adversary from mounting an attack—e.g., a                       the packet is hostile, and reject any hostile packets or
known plaintext attack-against the encryptor.                               determine which active IP pair the packet header matches.
F. Random Number Generator Example                                          The problem is a classical associative memory problem. A
  Consider a RNG where a=31, b=4 and c=15. For this case                    variety of techniques have been developed to Solve this
equation (1) becomes:                                                       problem (hashing, B-trees etc). Each of these approaches has
                                                                            its Strengths and weaknesses. For instance, hash tables can
        X=(31X, +4)mod 15.                                      (6)         be made to operate quite fast in a Statistical Sense, but can
                                                                            occasionally degenerate into a much slower algorithm. This
  If one sets X=1, equation (6) will produce the Sequence                   SlowneSS can persist for a period of time. Since there is a
1, 5, 9, 13, 2, 6, 10, 14, 3, 7, 11, 0, 4, 8, 12. This sequence             need to discard hostile packets quickly at all times, hashing
will repeat indefinitely. For a jump ahead of 3 numbers in                  would be unacceptable.
this sequence a'=31=29791, c*(a-1)=15*30=450 and a”                         H. Presence Vector Algorithm
mod((a-1)c)=31 mod(15*30)=29791 mod(450)=91. Equa                              A presence vector is a bit vector of length 2 that can be
tion (5) becomes:                                                           indexed by n-bit numbers (each ranging from 0 to 2"-1).
                                                                            One can indicate the presence of k n-bit numbers (not
        ((91(X,30+4)-4)/30)mod 15                               (7).   15   necessarily unique), by Setting the bits in the presence vector
                                                                            indexed by each number to 1. Otherwise, the bits in the
  Table 1 shows the jump ahead calculations from (7). The                   presence vector are 0. An n-bit number, X, is one of the k
calculations Start at 5 and jump ahead 3.                                   numbers if and only if the x' bit of the presence vector is 1.
                                                                            A fast packet filter can be implemented by indexing the
                             TABLE 1.                                       presence vector and looking for a 1, which will be referred
                                                                            to as the “test.”
                               91            (91                              For example, Suppose one wanted to represent the number
  I      X    (X30 + 4) (X30 + 4) - 4 (X30 + 4) - 4)/30   Xis
                                                                            135 using a presence vector. The 135" bit of the vector
  1.
  4
          5
          2
                 154
                  64
                             14010
                              582O
                                             467
                                             194
                                                            2
                                                           14
                                                                            would be Set. Consequently, one could very quickly deter
  7      14      424         3858O          1286           11
                                                                       25   mine whether an address of 135 was valid by checking only
 1O      11      334         3O390          1013            8               one bit: the 135" bit. The presence vectors could be created
 13       8      244         222OO           740            5               in advance corresponding to the table entries for the IP
                                                                            addresses. In effect, the incoming addresses can be used as
G. Fast Packet Filter                                                       indices into a long vector, making comparisons very fast. AS
  Address hopping VPNs must rapidly determine whether a                     each RNG generates a new address, the presence vector is
packet has a valid header and thus requires further                         updated to reflect the information. AS the window moves,
processing, or has an invalid header (a hostile packet) and                 the presence vector is updated to Zero out addresses that are
should be immediately rejected. Such rapid determinations                   no longer Valid.
will be referred to as “fast packet filtering.” This capability                There is a trade-off between efficiency of the test and the
protects the VPN from attacks by an adversary who streams
                                                                       35   amount of memory required for Storing the presence vector
hostile packets at the receiver at a high rate of Speed in the              (s). For instance, if one were to use the 48 bits of hopping
hope of Saturating the receiver's processor (a so-called                    addresses as an index, the presence vector would have to be
“denial of Service' attack). Fast packet filtering is an impor              35 terabytes. Clearly, this is too large for practical purposes.
tant feature for implementing VPNs on shared media such as                  Instead, the 48 bits can be divided into several Smaller fields.
Ethernet.
                                                                       40   For instance, one could Subdivide the 48 bits into four 12-bit
   ASSuming that all participants in a VPN share an unas                    fields (see FIG. 16). This reduces the storage requirement to
signed “A” block of addresses, one possibility is to use an                 2048 bytes at the expense of occasionally having to process
experimental “A” block that will never be assigned to any                   a hostile packet. In effect, instead of one long presence
machine that is not address hopping on the shared medium.                   vector, the decomposed address portions must match all four
“A” blocks have a 24 bits of address that can be hopped as
                                                                       45   Shorter presence vectors before further processing is
opposed to the 8 bits in “C” blocks. In this case a hopblock                allowed. (If the first part of the address portion doesn't
will be the “A” block. The use of the experimental “A” block                match the first presence vector, there is no need to check the
is a likely option on an Ethernet because:                                  remaining three presence vectors).
                                                                              A presence vector will have a 1 in the y' bit if and only
   1. The addresses have no validity outside of the Ethernet           50   if one or more addresses with a corresponding field of y are
      and will not be routed out to a valid outside destination             active. An address is active only if each presence vector
      by a gateway.                                                         indexed by the appropriate Sub-field of the address is 1.
  2. There are 2'' (-16 million) addresses that can be                        Consider a window of 32 active addresses and 3 check
       hopped within each “A” block. This yields >280 trillion              points. A hostile packet will be rejected by the indexing of
       possible address pairs making it very unlikely that an          55   one presence vector more than 99% of the time. A hostile
       adversary would guess a valid address. It also provides              packet will be rejected by the indexing of all 4 presence
       acceptably low probability of collision between Sepa                 vectors more than 99.9999995% of the time. On average,
       rate VPNs (all VPNs on a shared medium indepen                       hostile packets will be rejected in less than 1.02 presence
       dently generate random address pairs from the same                   vector index operations.
       “A” block).                                                     60      The Small percentage of hostile packets that pass the fast
  3. The packets will not be received by someone on the                     packet filter will be rejected when matching pairs are not
       Ethernet who is not on a VPN (unless the machine is in               found in the active window or are active checkpoints.
       promiscuous mode) minimizing impact on non-VPN                       Hostile packets that Serendipitously match a header will be
       computers.                                                           rejected when the VPN Software attempts to decrypt the
  The Ethernet example will be used to describe one                    65   header. However, these cases will be extremely rare. There
implementation of fast packet filtering. The ideal algorithm                are many other ways this method can be configured to
would quickly examine a packet header, determine whether                    arbitrate the Space/speed tradeoffs.




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I. Further Synchronization Enhancements                                between ISPs is labeled in FIG. 20 to indicate a specific
   A slightly modified form of the synchronization tech                physical transmission path (e.g., AD is a physical path that
niques described above can be employed. The basic prin                 links ISP A (element 2005) to ISP D (element 2008)).
ciples of the previously described checkpoint Synchroniza              Packets arriving at each edge router are Selectively trans
tion Scheme remain unchanged. The actions resulting from               mitted to one of the ISPs to which the router is attached on
the reception of the checkpoints are, however, Slightly                the basis of a randomly or quasi-randomly Selected basis.
different. In this variation, the receiver will maintain                  As shown in FIG. 21, computer 2001 or edge router 2003
between OoO (“Out of Order”) and 2xWINDOW SIZE+                        incorporates a plurality of link transmission tables 2100 that
OoO active addresses (1s OoosWINDOW SIZE and                           identify, for each potential transmission path through the
WINDOW SIZE21). OOO and WINDOW SIZE are                                network, valid sets of IP addresses that can be used to
engineerable parameters, where Oo0 is the minimum num                  transmit the packet. For example, AD table 2101 contains a
ber of addresses needed to accommodate lost packets due to             plurality of IPSource/destination pairs that are randomly or
events in the network or out of order arrivals and
                                                                       quasi-randomly generated. When a packet is to be transmit
WINDOW SIZE is the number of packets transmitted                       ted from first computer 2001 to second computer 2002, one
before a SYNC REQ is issued. FIG. 17 depicts a storage            15   of the link tables is randomly (or quasi-randomly) selected,
array for a receiver's active addresses.                               and the next valid Source/destination address pair from that
  The receiver starts with the first 2xWINDOW SIZE                     table is used to transmit the packet through the network. If
addresses loaded and active (ready to receive data). AS                path AD is randomly Selected, for example, the next Source/
packets are received, the corresponding entries are marked             destination IP address pair (which is pre-determined to
as “used' and are no longer eligible to receive packets. The           transmit between ISPA (element 2005) and ISPB (element
transmitter maintains a packet counter, initially Set to 0,            2008)) is used to transmit the packet. If one of the trans
containing the number of data packets transmitted Since the            mission paths becomes degraded or inoperative, that link
last initial transmission of a SYNC REO for which                      table can be set to a "down” condition as shown in table
SYNC ACK has been received. When the transmitter                       2105, thus preventing addresses from being selected from
packet counter equals WINDOW SIZE, the transmitter                25   that table. Other transmission paths would be unaffected by
generates a SYNC REQ and does its initial transmission.                this broken link.
When the receiver receives a SYNC REQ corresponding to
its current CKPT N, it generates the next WINDOW                           3. CONTINUATION-IN-PART IMPROVEMENTS
SIZE addresses and Starts loading them in order Starting at               The following describes various improvements and fea
the first location after the last active address wrapping              tures that can be applied to the embodiments described
around to the beginning of the array after the end of the array        above. The improvements include: (1) a load balancer that
has been reached. The receiver's array might look like FIG.            distributes packets acroSS different transmission paths
18 when a SYNC REQ has been received. In this case a                   according to transmission path quality; (2) a DNS proxy
couple of packets have been either lost or will be received            Server that transparently creates a virtual private network in
out of order when the SYNC REO is received.                       35   response to a domain name inquiry; (3) a large-to-Small link
  FIG. 19 shows the receiver's array after the new addresses           bandwidth management feature that prevents denial-of
have been generated. If the transmitter does not receive a             Service attacks at System chokepoints; (4) a traffic limiter
SYNC ACK, it will re-issue the SYNC REQ at regular                     that regulates incoming packets by limiting the rate at which
intervals. When the transmitter receives a SYNC ACK, the               a transmitter can be Synchronized with a receiver; and (5) a
packet counter is decremented by WINDOW SIZE. If the              40   Signaling Synchronizer that allows a large number of nodes
packet counter reaches 2xWINDOW SIZE-OoO then the                      to communicate with a central node by partitioning the
transmitter ceases Sending data packets until the appropriate          communication function between two separate entities. Each
SYNC ACK is finally received. The transmitter then                     is discussed separately below.
resumes Sending data packets. Future behavior is essentially           A. Load Balancer
a repetition of this initial cycle. The advantages of this        45      Various embodiments described above include a system in
approach are:                                                          which a transmitting node and a receiving node are coupled
   1. There is no need for an efficient jump ahead in the              through a plurality of transmission paths, and wherein
      random number generator,                                         Successive packets are distributed quasi-randomly over the
   2. No packet is ever transmitted that does not have a               plurality of paths. See, for example, FIGS. 20 and 21 and
      corresponding entry in the receiver Side                    50   accompanying description. The improvement extends this
   3. No timer based re-synchronization is necessary. This is          basic concept to encompass distributing packets acroSS
      a consequence of 2.                                              different paths in Such a manner that the loads on the paths
   4. The receiver will always have the ability to accept data         are generally balanced according to transmission link qual
      messages transmitted within OOO messages of the most             ity.
      recently transmitted message.                               55      In one embodiment, a System includes a transmitting node
J. Distributed Transmission Path Variant                               and a receiving node that are linked via a plurality of
   Another embodiment incorporating various inventive                  transmission paths having potentially varying transmission
principles is shown in FIG. 20. In this embodiment, a                  quality. Successive packets are transmitted over the paths
message transmission System includes a first computer 2001             based on a weight value distribution function for each path.
in communication with a Second computer 2002 through a            60   The rate that packets will be transmitted over a given path
network 2011 of intermediary computers. In one variant of              can be different for each path. The relative “health' of each
this embodiment, the network includes two edge routers                 transmission path is monitored in order to identify paths that
2003 and 2004 each of which is linked to a plurality of                have become degraded. In one embodiment, the health of
Internet Service Providers (ISPs) 2005 through 2010. Each              each path is monitored in the transmitter by comparing the
ISP is coupled to a plurality of other ISPs in an arrangement     65   number of packets transmitted to the number of packet
as shown in FIG. 20, which is a representative configuration           acknowledgements received. Each transmission path may
only and is not intended to be limiting. Each connection               comprise a physically separate path (e.g., via dial-up phone




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line, computer network, router, bridge, or the like), or may                In Step 2203, the link quality is compared to a given
comprise logically Separate paths contained within a broad                threshold (e.g., 50%, or any arbitrary number). If the quality
band communication medium (e.g., separate channels in an                  falls below the threshold, then in step 2207 a check is made
FDM, TDM, CDMA, or other type of modulated or                             to determine whether the weight is above a minimum level
unmodulated transmission link).                                           (e.g., 1%). If not, then in step 2209 the weight is set to the
   When the transmission quality of a path falls below a                  minimum level and processing resumes at Step 2201. If the
predetermined threshold and there are other paths that can                weight is above the minimum level, then in step 2208 the
transmit packets, the transmitter changes the weight value                weight is gradually decreased for the path, then in Step 2206
used for that path, making it less likely that a given packet             the weights for the remaining paths are adjusted accordingly
will be transmitted over that path. The weight will preferably            to compensate (e.g., they are increased).
be set no lower than a minimum value that keeps nominal                     If in step 2203 the quality of the path was greater than or
traffic on the path. The weights of the other available paths             equal to the threshold, then in step 2204 a check is made to
are altered to compensate for the change in the affected path.            determine whether the weight is less than a steady-state
When the quality of a path degrades to where the transmitter
is turned off by the Synchronization function (i.e., no packets           value for that path. If so, then in step 2205 the weight is
are arriving at the destination), the weight is set to Zero. If      15   increased toward the Steady-state value, and in Step 2206 the
all transmitters are turned off, no packets are sent.                     weights for the remaining paths are adjusted accordingly to
   Conventional TCP/IP protocols include a “throttling”                   compensate (e.g., they are decreased). If in Step 2204 the
feature that reduces the transmission rate of packets when it             weight is not leSS than the Steady-state value, then process
is determined that delayS or errors are occurring in trans                ing resumes at Step 2201 without adjusting the weights.
mission. In this respect, timers are Sometimes used to                       The weights can be adjusted incrementally according to
determine whether packets have been received. These con                   various functions, preferably by changing the value gradu
ventional techniques for limiting transmission of packets,                ally. In one embodiment, a linearly decreasing function is
however, do not involve multiple transmission paths                       used to adjust the weights, according to another
between two nodes wherein transmission acroSS a particular                embodiment, an exponential decay function is used. Gradu
path relative to the otherS is changed based on link quality.        25   ally changing the weights helps to damp oscillators that
   According to certain embodiments, in order to damp                     might otherwise occur if the probabilities were abruptly.
oscillations that might otherwise occur if weight distribu                   Although not explicitly shown in FIG. 22A the process
tions are changed drastically (e.g., according to a step                  can be performed only periodically (e.g., according to a time
function), a linear or an exponential decay formula can be                Schedule), or it can be continuously run, Such as in a
applied to gradually decrease the weight value over time that             background mode of operation. In one embodiment, the
a degrading path will be used. Similarly, if the health of a              combined weights of all potential paths should add up to
degraded path improves, the weight value for that path is                 unity (e.g., when the weighting for one path is decreased, the
gradually increased.                                                      corresponding weights that the other paths will be selected
   Transmission link health can be evaluated by comparing                 will increase).
the number of packets that are acknowledged within the               35     Adjustments to weight values for other paths can be
transmission window (see embodiments discussed above) to                  prorated. For example, a decrease of 10% in weight value for
the number of packets transmitted within that window and                  one path could result in an evenly distributed increase in the
by the state of the transmitter (i.e., on or off). In other words,        weights for the remaining paths. Alternatively, weightings
rather than accumulating general transmission Statistics over             could be adjusted according to a weighted formula as
time for a path, one specific implementation uses the “win           40   desired (e.g., favoring healthy paths over less healthy paths).
dowing concepts described above to evaluate transmission                  In yet another variation, the difference in weight value can
path health.                                                              be amortized over the remaining links in a manner that is
   The same Scheme can be used to shift Virtual circuit paths             proportional to their traffic weighting.
from an “unhealthy” path to a “healthy” one, and to select                   FIG.22B shows steps that can be executed to shut down
a path for a new virtual circuit.                                    45   transmission links where a transmitter turns off. In Step
   FIG. 22A shows a flowchart for adjusting weight values                 2210, a transmitter shut-down event occurs. In step 2211, a
asSociated with a plurality of transmission linkS. It is                  test is made to determine whether at least one transmitter is
assumed that Software executing in one or more computer                   still turned on. If not, then in step 2215 all packets are
nodes executes the steps shown in FIG. 22A. It is also                    dropped until a transmitter turns on. If in Step 2211 at least
assumed that the Software can be Stored on a computer                50   one transmitter is turned on, then in Step 2212 the weight for
readable medium Such as a magnetic or optical disk for                    the path is Set to Zero, and the weights for the remaining
execution by a computer.                                                  paths are adjusted accordingly.
   Beginning in Step 2201, the transmission quality of a                     FIG. 23 shows a computer node 2301 employing various
given transmission path is measured. AS described above,                  principles of the above-described embodiments. It is
this measurement can be based on a comparison between the            55   assumed that two computer nodes of the type shown in FIG.
number of packets transmitted over a particular link to the               23 communicate over a plurality of Separate physical trans
number of packet acknowledgements received over the link                  mission paths. AS shown in FIG. 23, four transmission paths
(e.g., per unit time, or in absolute terms). Alternatively, the           X1 through X4 are defined for communicating between the
quality can be evaluated by comparing the number of                       two nodes. Each node includes a packet transmitter 2302
packets that are acknowledged within the transmission win            60   that operates in accordance with a transmit table 2308 as
dow to the number of packets that were transmitted within                 described above. (The packet transmitter could also operate
that window. In yet another variation, the number of missed               without using the IP-hopping features described above, but
Synchronization messages can be used to indicate link                     the following description assumes that Some form of hop
quality. Many other variations are of course possible.                    ping is employed in conjunction with the path Selection
   In step 2202, a check is made to determine whether more           65   mechanism.). The computer node also includes a packet
than one transmitter (e.g., transmission path) is turned on. If           receiver 2303 that operates in accordance with a receive
not, the process is terminated and resumes at Step 2201.                  table 2309, including a moving window W that moves as




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valid packets are received. Invalid packets having Source                   transmitter was turned off, the transmitter is turned on
and destination addresses that do not fall within window W                  and the weight P for that link will be set to a minimum
are rejected.                                                               value MIN. This will keep a trickle of traffic on the link
   AS each packet is readied for transmission, Source and                   for monitoring purposes until it recovers. If the trans
destination IP addresses (or other discriminator values) are                mitter was turned on, the weight P for that link will be
selected from transmit table 2308 according to any of the                   Set to:
various algorithms described above, and packets containing
these Source/destination address pairs, which correspond to                   P=CixMIN+(1-C)xP                                         (1)
the node to which the four transmission paths are linked, are
generated to a transmission path switch 2307. Switch 2307,             Equation 1 will exponentially damp the traffic weight value
which can comprise a Software function, Selects from one of            to MIN during Sustained periods of degraded Service.
the available transmission paths according to a weight                    2. If MESS R for a link is greater than or equal to
distribution table 2306. For example, if the weight for path                 THRESH, the link will be deemed healthy. If the
X1 is 0.2, then every fifth packet will be transmitted on path              weight P for that link is greater than or equal to the
X1. A similar regime holds true for the other paths as shown.     15         steady state value S for that link, then P is left unaltered.
Initially, each links weight value can be set Such that it is                If the weight P for that link is less than THRESH then
proportional to its bandwidth, which will be referred to as its             P will be set to:
“steady-state' value.
   Packet receiver 2303 generates an output to a link quality
measurement function 2304 that operates as described above
to determine the quality of each transmission path. (The               where B is a parameter Such that 0<=B<=1 that determines
input to packet receiver 2303 for receiving incoming packets           the damping rate of P.
is omitted for clarity). Link quality measurement function                Equation 2 will increase the traffic weight to S during
2304 compares the link quality to a threshold for each                 Sustained periods of acceptable Service in a damped expo
transmission link and, if necessary, generates an output to            nential fashion.
weight adjustment function 2305. If a weight adjustment is        25
                                                                         A detailed example will now be provided with reference
required, then the weights in table 2306 are adjusted                  to FIG. 24. As shown in FIG. 24, a first computer 2401
accordingly, preferably according to a gradual (e.g., linearly         communicates with a Second computer 2402 through two
or exponentially declining) function. In one embodiment,               routers 2403 and 2404. Each router is coupled to the other
the weight values for all available paths are initially Set to         router through three transmission linkS. AS described above,
the same value, and only when paths degrade in quality are             these may be physically diverse links or logical links
the weights changed to reflect differences.                            (including virtual private networks).
   Link quality measurement function 2304 can be made to                 Suppose that a first link L1 can Sustain a transmission
operate as part of a synchronizer function as described                bandwidth of 100 Mb/s and has a window size of 32; link L2
above. That is, if resynchronization occurs and the receiver           can Sustain 75 Mb/s and has a window size of 24, and link
detects that Synchronization has been lost (e.g., resulting in    35
                                                                       L3 can Sustain 25 Mb/s and has a window size of 8. The
the synchronization window W being advanced out of                     combined links can thus sustain 200 Mb/s. The steady state
Sequence), that fact can be used to drive link quality mea             traffic weights are 0.5 for link L1; 0.375 for link L2, and
surement function 2304. According to one embodiment,                   0.125 for link L3. MIN=1 Mb/s, THRESH=0.8 MESS T
load balancing is performed using information garnered                 for each link, C=0.75 and B=0.5. These traffic weights will
during the normal Synchronization, augmented Slightly to          40
                                                                       remain Stable until a link Stops for Synchronization or reports
communicate link health from the receiver to the transmitter.
                                                                       a number of packets received less than its THRESH. Con
The receiver maintains a count, MESS R(W), of the mes                  sider the following Sequence of events:
sages received in synchronization window W. When it
receives a synchronization request (SYNC REQ) corre                       1. Link L1 receives a SYNC ACK containing a
sponding to the end of window W, the receiver includes            45
                                                                            MESS R of 24, indicating that only 75% of the
counter MESS R in the resulting synchronization acknowl                     MESS T(32) messages transmitted in the last window
edgement (SYNC ACK) sent back to the transmitter. This                      were successfully received. Link 1 would be below
allows the transmitter to compare messages Sent to messages                 THRESH (0.8). Consequently, link L1's traffic weight
received in order to asses the health of the link.                          value would be reduced to 0.12825, while link L2's
   If Synchronization is completely lost, weight adjustment       50        traffic weight value would be increased to 0.65812 and
function 2305 decreases the weight value on the affected                    link L3’s traffic weight value would be increased to
                                                                            O.217938.
path to Zero. When Synchronization is regained, the weight
value for the affected path is gradually increased to its                2. Link L2 and L3 remained healthy and link L1 stopped
original value. Alternatively, link quality can be measured                 to synchronize. Then link L1s traffic weight value
by evaluating the length of time required for the receiver to     55        would be set to 0, link L2's traffic weight value would
acknowledge a Synchronization request. In one embodiment,                   be set to 0.75, and link L33's traffic weight value would
Separate transmit and receive tables are used for each                      be set to 0.25.
transmission path.                                                       3. Link L1 finally received a SYNC ACK containing a
  When the transmitter receives a SYNC ACK, the                             MESS R of 0 indicating that none of the MESS T
MESS R is compared with the number of messages trans              60        (32) messages transmitted in the last window were
mitted in a window (MESS T). When the transmitter                           successfully received. Link L1 would be below
receives a SYNC ACK, the traffic probabilities will be                      THRESH. Link L1's traffic weight value would be
examined and adjusted if necessary. MESS R is compared                      increased to 0.005, link L2's traffic weight value would
with the number of messages transmitted in a window                         be decreased to 0.74625, and link L3’s traffic weight
(MESS T). There are two possibilities:                            65        value would be decreased to 0.24875.
  1. If MESS R is less than a threshold value, THRESH,                   4. Link L1 received a SYNC ACK containing a
     then the link will be deemed to be unhealthy. If the                  MESS R of 32 indicating that 100% of the MESS T




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     (32) messages transmitted in the last window were                 automatically Sets up a virtual private network between the
     successfully received. Link L1 would be above                     target node and the user. The VPN is preferably imple
     THRESH. Link L1's traffic weight value would be                   mented using the IP address “hopping” features of the basic
     increased to 0.2525, while link L2's traffic weight value         invention described above, such that the true identity of the
     would be decreased to 0.560625 and link L3’s traffic              two nodes cannot be determined even if packets during the
    weight value would be decreased to 0.186875.                       communication are intercepted. For DNS requests that are
  5. Link L1 received a SYNC ACK containing a                          determined to not require Secure Services (e.g., an unregis
    MESS R of 32 indicating that 100% of the MESS T                    tered user), the DNS server transparently “passes through”
     (32) messages transmitted in the last window were                 the request to provide a normal look-up function and return
     successfully received. Link L1 would be above                     the IP address of the target web server, provided that the
     THRESH. Link L1's traffic weight value would be                   requesting host has permissions to resolve unsecured sites.
     increased to 0.37625; link L2's traffic weight value              Different users who make an identical DNS request could be
     would be decreased to 0.4678.125, and link L3’s traffic           provided with different results.
                                                                          FIG. 26 Shows a System employing various principles
     weight value would be decreased to 0.1559375.                     summarized above. A user's computer 2601 includes a
  6. Link L1 remains healthy and the traffic probabilities        15
                                                                       conventional client (e.g., a web browser) 2605 and an IP
     approach their steady State traffic probabilities.                protocol Stack 2606 that preferably operates in accordance
B. Use of a DNS Proxy to Transparently Create Virtual                  with an IP hopping function 2607 as outlined above. A
Private Networks                                                       modified DNS server 2602 includes a conventional DNS
  A Second improvement concerns the automatic creation of              server function 2609 and a DNS proxy 2610. A gatekeeper
a virtual private network (VPN) in response to a domain                server 2603 is interposed between the modified DNS server
name Server look-up function.                                          and a secure target site 2704. An "unsecure” target site 2611
  Conventional Domain Name Servers (DNSS) provide a                    is also accessible via conventional IP protocols.
look-up function that returns the IP address of a requested               According to one embodiment, DNS proxy 2610 inter
computer or host. For example, when a computer user types              cepts all DNS lookup functions from client 2605 and deter
in the web name "Yahoo.com,” the user's web browser               25   mines whether access to a Secure Site has been requested. If
transmits a request to a DNS, which converts the name into             access to a secure site has been requested (as determined, for
a four-part IP address that is returned to the user's browser          example, by a domain name extension, or by reference to an
and then used by the browser to contact the destination web            internal table of such sites), DNS proxy 2610 determines
Site.                                                                  whether the user has Sufficient Security privileges to acceSS
   This conventional Scheme is shown in FIG. 25. A user's              the site. If so, DNS proxy 2610 transmits a message to
computer 2501 includes a client application 2504 (for                  gatekeeper 2603 requesting that a virtual private network be
example, a web browser) and an IP protocol stack 2505.                 created between user computer 2601 and Secure target Site
When the user enters the name of a destination host, a                 2604. In one embodiment, gatekeeper 2603 creates "hop
request DNS REQ is made (through IP protocol stack 2505)               blocks” to be used by computer 2601 and secure target site
to a DNS 2502 to look up the IP address associated with the       35   2604 for secure communication. Then, gatekeeper 2603
name. The DNS returns the IP address DNS RESP to client                communicates these to user computer 2601. Thereafter,
application 2504, which is then able to use the IP address to          DNS proxy 2610 returns to user computer 2601 the resolved
communicate with the host 2503 through separate transac                address passed to it by the gatekeeper (this address could be
tions. Such as PAGE REO and PAGE RESP                                  different from the actual target computer) 2604, preferably
  In the conventional architecture shown in FIG. 25, nefari       40   using a secure administrative VPN. The address that is
ous listeners on the Internet could intercept the DNS REQ              returned need not be the actual address of the destination
and DNS RESP packets and thus learn what IP addresses the              computer.
user was contacting. For example, if a user wanted to Set up             Had the user requested lookup of a non-Secure web site
a Secure communication path with a web site having the                 such as site 2611, DNS proxy would merely pass through to
name “Target.com,” when the user's browser contacted a            45   conventional DNS server 2609 the look-up request, which
DNS to find the IP address for that web site, the true IP              would be handled in a conventional manner, returning the IP
address of that web site would be revealed over the Internet           address of non-secure web site 2611. If the user had
as part of the DNS inquiry. This would hamper anonymous                requested lookup of a Secure web site but lacked credentials
communications on the Internet.                                        to create such a connection, DNS proxy 2610 would return
   One conventional Scheme that provides Secure virtual           50   a "host unknown' error to the user. In this manner, different
private networks over the Internet provides the DNS server             users requesting access to the same DNS name could be
with the public keys of the machines that the DNS server has           provided with different look-up results.
the addresses for. This allows hosts to retrieve automatically           Gatekeeper 2603 can be implemented on a separate
the public keys of a host that the host is to communicate with         computer (as shown in FIG. 26) or as a function within
so that the host can set up a VPN without having the user         55   modified DNS server 2602. In general, it is anticipated that
enter the public key of the destination host. One implemen             gatekeeper 2703 facilitates the allocation and eXchange of
tation of this Standard is presently being developed as part of        information needed to communicate Securely, Such as using
the FreeS/WAN project(RFC 2535).                                       “hopped’ IP addresses. Secure hosts such as site 2604 are
  The conventional Scheme Suffers from certain drawbackS.              assumed to be equipped with a Secure communication
For example, any user can perform a DNS request.                  60   function such as an IP hopping function 2608.
Moreover, DNS requests resolve to the same value for all                  It will be appreciated that the functions of DNS proxy
USCS.                                                                  2610 and DNS server 2609 can be combined into a single
  According to certain aspects of the invention, a special             server for convenience. Moreover, although element 2602 is
ized DNS server traps DNS requests and, if the request is              shown as combining the functions of two Servers, the two
from a special type of user (e.g., one for which Secure           65   Servers can be made to operate independently.
communication Services are defined), the Server does not                  FIG. 27 shows steps that can be executed by DNS proxy
return the true IP address of the target node, but instead             server 2610 to handle requests for DNS look-up for secure




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hosts. In step 2701, a DNS look-up request is received for a            DNS server 2609, which would resolve the request and
target host. In Step 2702, a check is made to determine                 return the result to the DNS proxy server and then back to
whether access to a Secure host was requested. If not, then             the client.
in step 2703 the DNS request is passed to conventional DNS                 Scenario #4: Client does not have permission to establish
server 2609, which looks up the IP address of the target site           a normal/non-VPN link, and the gatekeeper does not have a
and returns it to the user's application for further processing.        rule to make a VPN for the client to the target site. In this
   In Step 2702, if access to a Secure host was requested, then         scenario, the DNS proxy server would receive the client's
in step 2704 a further check is made to determine whether               DNS request and forward it to gatekeeper 2603. Gatekeeper
the user is authorized to connect to the Secure host. Such a            2603 would determine that no special VPN was needed, but
check can be made with reference to an internally Stored list           that the client is not authorized to communicate with non
of authorized IP addresses, or can be made by communi                   VPN members. The gatekeeper would reject the request,
cating with gatekeeper 2603 (e.g., over an “administrative”             causing DNS proxy server 2610 to return an error message
VPN that is secure). It will be appreciated that different              to the client.
levels of Security can also be provided for different catego            C. Large Link to Small Link Bandwidth Management
ries of hosts. For example, Some sites may be designated as        15      One feature of the basic architecture is the ability to
having a certain Security level, and the Security level of the          prevent So-called “denial of Service' attacks that can occur
user requesting access must match that Security level. The              if a computer hacker floods a known Internet node with
user's Security level can also be determined by transmitting            packets, thus preventing the node from communicating with
a request message back to the user's computer requiring that            other nodes. Because IP addresses or other fields are
it prove that it has Sufficient privileges.                             “hopped' and packets arriving with invalid addresses are
  If the user is not authorized to access the Secure Site, then         quickly discarded, Internet nodes are protected against
a “host unknown” message is returned (step 2705). If the                flooding targeted at a single IP address.
user has sufficient security privileges, then in step 2706 a              In a System in which a computer is coupled through a link
secure VPN is established between the user's computer and               having a limited bandwidth (e.g., an edge router) to a node
the Secure target Site. AS described above, this is preferably     25   that can Support a much higher-bandwidth link (e.g., an
done by allocating a hopping regime that will be carried out            Internet Service Provider), a potential weakness could be
between the user's computer and the Secure target Site, and             exploited by a determined hacker. Referring to FIG. 28,
is preferably performed transparently to the user (i.e., the            Suppose that a first host computer 2801 is communicating
user need not be involved in creating the Secure link). AS              with a second host computer 2804 using the IP address
described in various embodiments of this application, any of            hopping principles described above. The first host computer
various fields can be “hopped” (e.g., IP source/destination             is coupled through an edge router 2802 to an Internet Service
addresses; a field in the header, etc.) in order to communi             Provider (ISP) 2803 through a low bandwidth link (LOW
cate Securely.                                                          BW), and is in turn coupled to second host computer 2804
  Some or all of the security functions can be embedded in              through parts of the Internet through a high bandwidth link
gatekeeper 2603, Such that it handles all requests to connect      35   (HIGH BW). In this architecture, the ISP is able to support
to secure sites. In this embodiment, DNS proxy 2610                     a high bandwidth to the internet, but a much lower band
communicates with gatekeeper 2603 to determine                          width to the edge router 2802.
(preferably over a secure administrative VPN) whether the                 Suppose that a computer hacker is able to transmit a large
user has access to a particular web site. Various Scenarios for         quantity of dummy packets addressed to first host computer
implementing these features are described by way of                40   2801 across high bandwidth link HIGH BW. Normally, host
example below:                                                          computer 2801 would be able to quickly reject the packets
   Scenario #1: Client has permission to acceSS target                  Since they would not fall within the acceptance window
computer, and gatekeeper has a rule to make a VPN for the               permitted by the IP address hopping scheme. However,
client. In this scenario, the client's DNS request would be             because the packets must travel acroSS low bandwidth link
received by the DNS proxy server 2610, which would                 45   LOW BW, the packets overwhelm the lower bandwidth link
forward the request to gatekeeper 2603. The gatekeeper                  before they are received by host computer 2801.
would establish a VPN between the client and the requested              Consequently, the link to host computer 2801 is effectively
target. The gatekeeper would provide the address of the                 flooded before the packets can be discarded.
destination to the DNS proxy, which would then return the                 According to one inventive improvement, a “link guard”
resolved name as a result. The resolved address can be             50   function 2805 is inserted into the high-bandwidth node (e.g.,
transmitted back to the client in a Secure administrative               ISP 2803) that quickly discards packets destined for a
VPN.                                                                    low-bandwidth target node if they are not valid packets.
   Scenario #2: Client does not have permission to acceSS               Each packet destined for a low-bandwidth node is crypto
target computer. In this Scenario, the client's DNS request             graphically authenticated to determine whether it belongs to
would be received by the DNS proxy server 2610, which              55   a VPN. If it is not a valid VPN packet, the packet is
would forward the request to gatekeeper 2603. The gate                  discarded at the high-bandwidth node. If the packet is
keeper would reject the request, informing DNS proxy                    authenticated as belonging to a VPN, the packet is passed
server 2610 that it was unable to find the target computer.             with high preference. If the packet is a valid non-VPN
The DNS proxy 2610 would then return a “host unknown”                   packet, it is passed with a lower quality of Service (e.g.,
error message to the client.                                       60   lower priority).
   Scenario #3: Client has permission to connect using a                  In one embodiment, the ISP distinguishes between VPN
normal non-VPN link, and the gatekeeper does not have a                 and non-VPN packets using the protocol of the packet. In the
rule to set up a VPN for the client to the target site. In this         case of IPSECrfc 2401), the packets have IP protocols 420
scenario, the client's DNS request is received by DNS proxy             and 421. In the case of the TARP VPN, the packets will have
server 2610, which would check its rules and determine that        65   an IP protocol that is not yet defined. The ISP's link guard,
no VPN is needed. Gatekeeper 2603 would then inform the                 2805, maintains a table of valid VPNs which it uses to
DNS proxy server to forward the request to conventional                 validate whether VPN packets are cryptographically valid.




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According to one embodiment, packets that do not fall                   node instructing it to Shut down all transmissions on a
within any hop windows used by nodes on the low                         particular IP address, Such that only hopped packets will
bandwidth link are rejected, or are Sent with a lower quality           pass through to the low-bandwidth node. This embodiment
of Service. One approach for doing this is to provide a copy            would prevent a hacker from flooding packets using a single
of the IP hopping tables used by the low-bandwidth nodes to             IP address. According to yet a fourth embodiment, the
the high-bandwidth node, such that both the high-bandwidth              high-bandwidth node can be configured to discard packets
and low-bandwidth nodes track hopped packets (e.g., the                 transmitted to the low-bandwidth node if the transmission
high-bandwidth node moves its hopping window as valid                   rate exceeds a certain predetermined threshold for any given
packets are received). In Such a scenario, the high                     IP address; this would allow hopped packets to go through.
bandwidth node discards packets that do not fall within the             In this respect, link guard 2911 can be used to detect that the
hopping window before they are transmitted over the low                 rate of packets on a given IP address are exceeding a
bandwidth link. Thus, for example, ISP 2903 maintains a                 threshold rate; further packets addressed to that same IP
copy 2910 of the receive table used by host computer 2901.              address would be dropped or transmitted at a lower priority
Incoming packets that do not fall within this receive table are         (e.g., delayed).
discarded. According to a different embodiment, link guard         15
                                                                        D. Traffic Limiter
2805 validates each VPN packet using a keyed hashed                        In a System in which multiple nodes are communicating
message authentication code (HMAC) Irfc 2104).                          using “hopping technology, a treasonous insider could
   According to another embodiment, separate VPNS (using,               internally flood the System with packets. In order to prevent
for example, hopblocks) can be established for communi                  this possibility, one inventive improvement involves Setting
cating between the low-bandwidth node and the high                      up “contracts” between nodes in the System, Such that a
bandwidth node (i.e., packets arriving at the high-bandwidth            receiver can impose a bandwidth limitation on each packet
node are converted into different packets before being                  Sender. One technique for doing this is to delay acceptance
transmitted to the low-bandwidth node).                                 of a checkpoint Synchronization request from a Sender until
   As shown in FIG.29, for example, suppose that a first host           a certain time period (e.g., one minute) has elapsed. Each
computer 2900 is communicating with a second host com                   receiver can effectively control the rate at which its hopping
puter 2902 over the Internet, and the path includes a high         25   window moves by delaying “SYNC ACK' responses to
bandwidth link HIGH BW to an ISP 2901 and a low                         “SYNC REQ' messages.
bandwidth link LOW BW through an edge router 2904. In                     A simple modification to the checkpoint Synchronizer will
accordance with the basic architecture described above, first           Serve to protect a receiver from accidental or deliberate
host computer 2900 and second host computer 2902 would                  overload from an internally treasonous client. This modifi
                                                                        cation is based on the observation that a receiver will not
exchange hopblocks (or a hopblock algorithm) and would be               update its tables until a SYNC REQ is received on hopped
able to create matching transmit and receive tables 2905,               address CKPT N. It is a simple matter of deferring the
2906, 2912 and 2913. Then in accordance with the basic                  generation of a new CKPT N until an appropriate interval
architecture, the two computers would transmit packets                  after previous checkpoints.
having Seemingly random IP Source and destination                          Suppose a receiver wished to restrict reception from a
addresses, and each would move a corresponding hopping             35   transmitter to 100 packets a Second, and that checkpoint
window in its receive table as valid packets were received.             Synchronization messages were triggered every 50 packets.
   Suppose that a nefarious computer hacker 2903 was able               A compliant transmitter would not issue new SYNC REQ
to deduce that packets having a certain range of IP addresses           messages more often than every 0.5 Seconds. The receiver
(e.g., addresses 100 to 200 for the sake of simplicity) are             could delay a non-compliant transmitter from Synchronizing
being transmitted to ISP 2901, and that these packets are          40   by delaying the issuance of CKPT N for 0.5 second after
being forwarded over a low-bandwidth link. Hacker com                   the last SYNC REQ was accepted.
puter 2903 could thus “flood” packets having addresses                     In general, if M receivers need to restrict N transmitters
falling into the range 100 to 200, expecting that they would            issuing new SYNC REQ messages after every W messages
be forwarded along low bandwidth link LOW BW, thus                      to Sending R messages a Second in aggregate, each receiver
causing the low bandwidth link to become overwhelmed.              45   could defer issuing a new CKPT N until MXNxW/R sec
The fast packet reject mechanism in first host computer 3000            onds have elapsed since the last SYNC REQ has been
would be of little use in rejecting these packets, Since the low        received and accepted. If the transmitter exceeds this rate
bandwidth link was effectively jammed before the packets                between a pair of checkpoints, it will issue the new check
could be rejected. In accordance with one aspect of the                 point before the receiver is ready to receive it, and the
improvement, however, VPN link guard 2911 would prevent            50   SYNC REQ will be discarded by the receiver. After this,
the attack from impacting the performance of VPN traffic                the transmitter will re-issue the SYNC REQ every Ti
because the packets would either be rejected as invalid VPN             Seconds until it receives a SYNC ACK. The receiver will
packets or given a lower quality of service than VPN traffic            eventually update CKPT N and the SYNC REQ will be
over the lower bandwidth link. A denial-of-service flood                acknowledged. If the transmission rate greatly exceeds the
attack could, however, still disrupt non-VPN traffic.              55   allowed rate, the transmitter will Stop until it is compliant. If
   According to one embodiment of the improvement, ISP                  the transmitter exceeds the allowed rate by a little, it will
2901 maintains a separate VPN with first host computer                  eventually Stop after Several rounds of delayed Synchroni
2900, and thus translates packets arriving at the ISP into              Zation until it is in compliance. Hacking the transmitter's
packets having a different IP header before they are trans              code to not shut off only permits the transmitter to lose the
mitted to host computer 2900. The cryptographic keys used          60   acceptance window. In this case it can recover the window
to authenticate VPN packets at the link guard 2911 and the              and proceed only after it is compliant again.
cryptographic keys used to encrypt and decrypt the VPN                     Two practical issues should be considered when imple
packets at host 2902 and host 2901 can be different, so that            menting the above Scheme:
link guard 2911 does not have access to the private host data;             1. The receiver rate should be slightly higher than the
it only has the capability to authenticate those packets.          65         permitted rate in order to allow for Statistical fluctua
   According to yet a third embodiment, the low-bandwidth                     tions in traffic arrival times and non-uniform load
node can transmit a special message to the high-bandwidth                     balancing.




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  2. Since a transmitter will rightfully continue to transmit             SYNC REO received from transmitter 3001 was received
     for a period after a SYNC REQ is transmitted, the                    at a rate that exceeds the allowable rate R (i.e., the period
     algorithm above can artificially reduce the transmitter's            between the time of the last SYNC REQ message). The
     bandwidth. If events prevent a compliant transmitter                 value R can be a constant, or it can be made to fluctuate as
     from Synchronizing for a period (e.g. the network                    desired. If the rate exceeds R, then in step 3008 the next
     dropping a SYNC REQ or a SYNC ACK) a SYNC                            activation of the next CKPT N hopping table entry is
     REQ will be accepted later than expected. After this,                delayed by W/R seconds after the last SYNC REQ has
     the transmitter will transmit fewer than expected mes                been accepted.
     Sages before encountering the next checkpoint. The                      Otherwise, if the rate has not been exceeded, then in Step
     new checkpoint will not have been activated and the                  3109 the next CKPT N value is calculated and inserted into
     transmitter will have to retransmit the SYNC REO.                    the receiver's hopping table prior to the next SYNC REQ
    This will appear to the receiver as if the transmitter is             from the transmitter 3101. Transmitter 3101 then processes
    not compliant. Therefore, the next checkpoint will be                 the SYNC REO in the normal manner.
    accepted late from the transmitter's perspective. This                E. Signaling Synchronizer
    has the effect of reducing the transmitter's allowed             15      In a System in which a large number of users communi
    packet rate until the transmitter transmits at a packet               cate with a central node using Secure hopping technology, a
    rate below the agreed upon rate for a period of time.                 large amount of memory must be set aside for hopping tables
  To guard against this, the receiver should keep track of the            and their Supporting data Structures. For example, if one
times that the last C SYNC REOS were received and                         million Subscribers to a web site occasionally communicate
accepted and use the minimum of MxNxW/R seconds after                     with the web site, the Site must maintain one million hopping
the last SYNC REQ has been received and accepted,                         tables, thus using up valuable computer resources, even
2xMXNXW/R Seconds after next to the last SYNC REO                         though only a Small percentage of the users may actually be
has been received and accepted, CxMxNxW/R seconds                         using the System at any one time. A desirable Solution would
after (C-1)" to the last SYNC REQ has been received, as                   be a System that permits a certain maximum number of
the time to activate CKPT N. This prevents the receiver              25   Simultaneous links to be maintained, but which would
from inappropriately limiting the transmitter's packet rate if            “recognize” millions of registered users at any one time. In
at least one out of the last C SYNC REQs was processed                    other words, out of a population of a million registered users,
on the first attempt.                                                     a few thousand at a time could simultaneously communicate
   FIG. 30 shows a system employing the above-described                   with a central Server, without requiring that the Server
principles. In FIG. 30, two computers 3000 and 3001 are                   maintain one million hopping tables of appreciable size.
assumed to be communicating over a network N in accor                        One Solution is to partition the central node into two
dance with the “hopping principles described above (e.g.,                 nodes: a signaling Server that performs Session initiation for
hopped IP addresses, discriminator values, etc.). For the sake            user log-on and log-off (and requires only minimally sized
of simplicity, computer 3000 will be referred to as the                   tables), and a transport Server that contains larger hopping
receiving computer and computer 3001 will be referred to as          35   tables for the users. The Signaling Server listens for the
the transmitting computer, although full duplex operation is              millions of known users and performs a fast-packet reject of
of course contemplated. Moreover, although only a single                  other (bogus) packets. When a packet is received from a
transmitter is shown, multiple transmitters can transmit to               known user, the Signaling Server activates a virtual private
receiver 3000.                                                            link (VPL) between the user and the transport server, where
  As described above, receiving computer 3000 maintains a            40   hopping tables are allocated and maintained. When the user
receive table 3002 including a window W that defines valid                logs onto the Signaling Server, the user's computer is pro
IP address pairs that will be accepted when appearing in                  Vided with hop tables for communicating with the transport
incoming data packets. Transmitting computer 3001 main                    server, thus activating the VPL. The VPLS can be torn down
tains a transmit table 3003 from which the next IP address                when they become inactive for a time period, or they can be
pairs will be Selected when transmitting a packet to receiv          45   torn down upon user log-out. Communication with the
ing computer 3000. (For the sake of illustration, window W                Signaling Server to allow user log-on and log-off can be
is also illustrated with reference to transmit table 3003). As            accomplished using a specialized version of the checkpoint
transmitting computer moves through its table, it will even               Scheme described above.
tually generate a SYNC REQ message as illustrated in                         FIG. 31 shows a system employing certain of the above
function 3010. This is a request to receiver 3000 to syn             50   described principles. In FIG. 31, a signaling server 3101 and
chronize the receive table 3002, from which transmitter                   a transport Server 3102 communicate over a link. Signaling
3001 expects a response in the form of a CKPT N (included                 server 3101 contains a large number of small tables 3106
as part of a SYNC ACK message). If transmitting com                       and 3107 that contain enough information to authenticate a
puter 3001 transmits more messages than its allotment, it                 communication request with one or more clients 3103 and
will prematurely generate the SYNC REQ message. (If it               55   3104. As described in more detail below, these Small tables
has been altered to remove the SYNC REQ message gen                       may advantageously be constructed as a special case of the
eration altogether, it will fall out of Synchronization Since             Synchronizing checkpoint tables described previously.
receiver 3000 will quickly reject packets that fall outside of            Transport server 3102, which is preferably a separate com
window W, and the extra packets generated by transmitter                  puter in communication with Signaling Server 3101, contains
3001 will be discarded).                                             60   a smaller number of larger hopping tables 3108, 3109, and
   In accordance with the improvements described above,                   3110 that can be allocated to create a VPN with one of the
receiving computer 3000 performs certain steps when a                     client computers.
SYNC REQ message is received, as illustrated in FIG. 30.                     According to one embodiment, a client that has previ
In step 3004, receiving computer 3000 receives the SYNC                   ously registered with the System (e.g., via a system admin
REQ message. In step 3005, a check is made to determine              65   istration function, a user registration procedure, or Some
whether the request is a duplicate. If So, it is discarded in Step        other method) transmits a request for information from a
3006. In step 3007, a check is made to determine whether the              computer (e.g., a web site). In one variation, the request is




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made using a “hopped' packet, Such that Signaling Server                     DATA, SYNC REO and SYNC ACK. In the normal
3101 will quickly reject invalid packets from unauthorized                   algorithm, Some potential problems can be prevented
computers such as hacker computer 3105. An “administra                       by identifying each message type as part of the
tive’ VPN can be established between all of the clients and                  encrypted inner header field. In this algorithm, it is
the Signaling Server in order to ensure that a hacker cannot       5         important to distinguish a data packet and a SYNC
flood signaling server 3101 with bogus packets. Details of                   REQ in the Signaling Synchronizer Since the data and
this scheme are provided below.                                              the SYNC REO come in on the same address.
   Signaling server 3101 receives the request 3111 and uses               2. When the server receives a data message on its CKPT
it to determine that client 3103 is a validly registered user.               N, it verifies the message and passes it up the Stack. The
Next, Signaling Server 3101 issues a request to transport                    message can be verified by checking message type and
Server 3102 to allocate a hopping table (or hopping algo                     and other information (i.e. user credentials) contained in
rithm or other regime) for the purpose of creating a VPN                     the inner header. It replaces its CKPT O with
with client 3103. The allocated hopping parameters are                       CKPT N and generates the next CKPT N. It updates
returned to signaling server 3101 (path 3113), which then                    its transmitter side CKPT R to correspond to the
Supplies the hopping parameters to client 3103 via path            15        client's receiver Side CKPT R and transmits a SYNC
3114, preferably in encrypted form.                                          ACK containing CKPT O in its payload.
   Thereafter, client 3103 communicates with transport                    3. When the client Side receiver receives a SYNC ACK
Server 3102 using the normal hopping techniques described
above. It will be appreciated that although Signaling Server                 on its CKPT R with a payload matching its transmitter
3101 and transport server 3102 are illustrated as being two                  side CKPT O and the transmitter is off, the transmitter
Separate computers, they could of course be combined into                    is turned on and the receiver side CKPT R is updated.
a Single computer and their functions performed on the                       If the SYNC ACK's payload does not match the
Single computer. Alternatively, it is possible to partition the              transmitter side CKPT O or the transmitter is on, the
functions shown in FIG. 31 differently from as shown                         SYNC ACK is simply discarded.
without departing from the inventive principles.                          4. T1 expires: If the transmitter is off and the client's
   One advantage of the above-described architecture is that       25        transmitter side CKPT O matches the CKPT O asso
Signaling Server 3101 need only maintain a Small amount of                   ciated with the timer, it starts timer T1 noting CKPT O
information on a large number of potential users, yet it                     again, and a SYNC REQ is sent using the transmit
retains the capability of quickly rejecting packets from                     ter's CKPT O address. Otherwise, no action is taken.
unauthorized userS Such as hacker computer 3105. Larger                   5. When the server receives a SYNC REO on its
data tables needed to perform the hopping and Synchroni
Zation functions are instead maintained in a transport Server                CKPT N it replaces its CKPT O with CKPT N and
3102, and a smaller number of these tables are needed since                  generates the next CKPT N. It updates its transmitter
they are only allocated for “active” links. After a VPN has                  side CKPT R to correspond to the client's receiver
become inactive for a certain time period (e.g., one hour),                  side CKPT R and transmits a SYNC ACK contain
the VPN can be automatically torn down by transport server         35
                                                                             ing CKPT O in its payload.
3102 or signaling server 3101.                                            6. When the server receives a SYNC REO on its
   A more detailed description will now be provided regard                   CKPT O, it updates its transmitter side CKPT R to
ing how a special case of the checkpoint Synchronization                     correspond to the client's receiver side CKPT R and
feature can be used to implement the Signaling Scheme                        transmits a SYNC ACK containing CKPT O in its
described above.                                                             payload.
   The Signaling Synchronizer may be required to Support           40
                                                                           FIG. 32 shows message flows to highlight the protocol.
many (millions) of Standing, low bandwidth connections. It              Reading from top to bottom, the client Sends data to the
therefore should minimize per-VPL memory usage while                    server using its transmitter side CKPT N. The client side
providing the Security offered by hopping technology. In                transmitter is turned off and a retry timer is turned off The
order to reduce memory usage in the Signaling Server, the               transmitter will not transmit messages as long as the trans
data hopping tables can be completely eliminated and data          45   mitter is turned off. The client side transmitter then loads
can be carried as part of the SYNC REQ message. The                     CKPT N into CKPT O and updates CKPT N. This mes
table used by the server side (receiver) and client side                Sage is Successfully received and a passed up the Stack. It
(transmitter) is shown schematically as element 3106 in                 also synchronizes the receiver i.e., the server loads CKPT N
FIG. 31.                                                                into CKPT O and generates a new CKPT N, it generates
  The meaning and behaviors of CKPT N, CKPT O and                  50   a new CKPT R in the server side transmitter and transmits
CKPT R remain the same from the previous description,                   a SYNC ACK containing the server side receiver's
except that CKPT N can receive a combined data and                      CKPT O the server. The SYNC ACK is successfully
SYNC REQ message or a SYNC REQ message without                          received at the client. The client side receiver's CKPT R is
the data.                                                               updated, the transmitter is turned on and the retry timer is
   The protocol is a Straightforward extension of the earlier      55   killed. The client Side transmitter is ready to transmit a new
Synchronizer. ASSume that a client transmitter is on and the            data message.
tables are Synchronized. The initial tables can be generated               Next, the client Sends data to the Server using its trans
“out of band.” For example, a client can log into a web                 mitter side CKPT N. The client side transmitter is turned
server to establish an account over the Internet. The client            off and a retry timer is turned off. The transmitter will not
will receive keys etc encrypted over the Internet.                      transmit messages as long as the transmitter is turned off.
Meanwhile, the server will set up the signaling VPN on the         60
                                                                        The client side transmitter then loads CKPT N into
Signaling Server.                                                       CKPT O and updates CKPT N. This message is lost. The
   ASSuming that a client application wishes to Send a packet           client side timer expires and as a result a SYNC REQ is
to the Server on the client's Standing Signaling VPL:                   transmitted on the client side transmitter's CKPT O (this
   1. The client sends the message marked as a data message             will keep happening until the SYNC ACK has been
      on the inner header using the transmitter's CKPT N           65   received at the client). The SYNC REQ is successfully
     address. It turns the transmitter off and starts a timer T1        received at the Server. It Synchronizes the receiver i.e., the
     noting CKPT O. Messages can be one of three types:                 server loads CKPT N into CKPT O and generates a new




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CKPT N. it generates an new CKPT R in the server side                  determine whether the client computer is authorized to
transmitter and transmits a SYNC ACK containing the                    establish the VPN target computer.
Server side receiver's CKPT O the server. The SYNC                        10. A System that transparently creates a virtual private
ACK is successfully received at the client. The client side            network (VPN) between a client computer and a secure
receiver's CKPT R is updated, the transmitter is turned off       5    target computer, comprising:
and the retry timer is killed. The client side transmitter is             a DNS proxy server that receives a request from the client
ready to transmit a new data message.                                       computer to look up an IP address for a domain name,
  There are numerous other scenarios that follow this flow.
For example, the SYNC ACK could be lost. The transmit                       wherein the DNS proxy server returns the IP address
ter would continue to re-send the SYNC REO until the                        for the requested domain name if it is determined that
receiver Synchronizes and responds.                                         access to a non-Secure web site has been requested, and
   The above-described procedures allow a client to be                      wherein the DNS proxy server generates a request to
authenticated at Signaling Server 3201 while maintaining the                create the VPN between the client computer and the
ability of signaling server 3201 to quickly reject invalid                  Secure target computer if it is determined that access to
packets, Such as might be generated by hacker computer                      a Secure web site has been requested; and
3205. In various embodiments, the signaling synchronizer is       15
really a derivative of the Synchronizer. It provides the same             a gatekeeper computer that allocates resources for the
protection as the hopping protocol, and it does So for a large              VPN between the client computer and the secure web
number of low bandwidth connections.                                        computer in response to the request by the DNS proxy
  What is claimed is:                                                       SCWC.
  1. A method of transparently creating a virtual private                 11. The system of claim 10, wherein the gatekeeper
network (VPN) between a client computer and a target                   computer creates the VPN by establishing an IP address
computer, comprising the Steps of:                                     hopping regime that is used to pseudorandomly change IP
  (1) generating from the client computer a Domain Name                addresses in packets transmitted between the client com
     Service (DNS) request that requests an IP address                 puter and the Secure target computer.
     corresponding to a domain name associated with the           25      12. The system of claim 10, wherein the gatekeeper
     target computer,                                                  computer determines whether the client computer has Suf
  (2) determining whether the DNS request transmitted in               ficient security privileges to create the VPN and, if the client
                                                                       computer lackS Sufficient Security privileges, rejecting the
     Step (1) is requesting access to a Secure web site; and           request to create the VPN.
  (3) in response to determining that the DNS request in                  13. A method of establishing communication between one
     Step (2) is requesting access to a Secure target web site,        of a plurality of client computers and a central computer that
     automatically initiating the VPN between the client               maintains a plurality of authentication tables each corre
     computer and the target computer.                                 sponding to one of the client computers, the method com
  2. The method of claim 1, wherein steps (2) and (3) are              prising the steps of:
performed at a DNS server separate from the client com            35     (1) in the central computer, receiving from one of the
 uter.                                                                      plurality of client computers a request to establish a
p 3. The method of claim 1, further comprising the step of:                 connection;
  (4) in response to determining that the DNS request in                 (2) authenticating, with reference to one of the plurality of
     Step (2) is not requesting access to a secure target web               authentication tables, that the request received in Step
     Site, resolving the IP address for the domain name and       40        (1) is from an authorized client;
     returning the IP address to the client computer.                    (3) responsive to a determination that the request is from
  4. The method of claim 1, wherein step (3) comprises the                  an authorized client, allocating resources to establish a
step of, prior to automatically initiating the VPN between                  Virtual private link between the client and a Second
the client computer and the target computer, determining                    computer, and
whether the client computer is authorized to establish a VPN
with the target computer and, if not So authorized, returning     45     (4) communicating between the authorized client and the
an error from the DNS request.                                              Second computer using the Virtual private link.
   5. The method of claim 1, wherein step (3) comprises the              14. The method of claim 13, wherein step (4) comprises
step of, prior to automatically initiating the VPN between             the Step of communicating according to a Scheme by which
the client computer and the target computer, determining               at least one field in a Series of data packetS is periodically
whether the client computer is authorized to resolve              50   changed according to a known Sequence.
addresses of non Secure target computers and, if not So                   15. The method of claim 14, wherein step (4) comprises
authorized, returning an error from the DNS request.                   the step of comparing an Internet Protocol (IP) address in a
  6. The method of claim 1, wherein step (3) comprises the             header of each data packet to a table of valid IP addresses
step of establishing the VPN by creating an IP address                 maintained in a table in the Second computer.
hopping Scheme between the client computer and the target         55     16. The method of claim 15, wherein step (4) comprises
computer.                                                              the Step of comparing the IP address in the header of each
  7. The method of claim 1, wherein step (3) comprises the             data packet to a moving window of valid IP addresses, and
Step of using a gatekeeper computer that allocates VPN                 rejecting data packets having IP addresses that do not fall
resources for communicating between the client computer                within the moving window.
and the target computer.                                          60     17. The method of claim 13, wherein step (2) comprises
   8. The method of claim 1, wherein step (2) is performed             the Step of using a checkpoint data Structure that maintains
in a DNS proxy server that passes through the request to a             Synchronization of a periodically changing parameter
DNS server if it is determined in step (3) that access is not          known by the central computer and the client computer to
being requested to a Secure target web site.                           authenticate the client.
   9. The method of claim 5, wherein step (3) comprises the
Step of transmitting a message to the client computer to




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               UNITED STATES PATENT AND TRADEMARK OFFICE
                     CERTIFICATE OF CORRECTION

PATENT NO.      : 6,502,135 B1                                                                   Page 1 of 1
DATED           : December 31, 2002
INVENTOR(S) : Edmund Colby Munger et al.

       It is certified that error appears in the above-identified patent and that said Letters Patent is
       hereby corrected as shown below:

       Title page,
       Item 56, References Cited, OTHER PUBLICATIONS, insert the following:
       -- Search Report (dated 8/20/02), International Application No. PCT/US01/04340
       Search Report (dated 8/23/02), International Application No. PCT/US01/13260
       James E. Bellaire, “New Statement of Rules - Naming Internet Domains”, Internet
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       Rich Winkel, “CAO: Networking With Spooks: The NET & The Control Of
       Information”, Internet Newsgroup, June 21, 1997, 4 pages. --
       Column 48
       Line 2, “VPN target computer” has been replaced with -- VPN with the target
       computer --.




                                                                   Signed and Sealed this
                                                            Ninth Day of September, 2003




                                                                           JAMES E ROGAN
                                                           Director of the United States Patent and Trademark Office




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                                                                                               US006502135C1

 (12) INTERPARTES REEXAMINATION CERTIFICATE (0271st)
United States Patent                                                         (10) Number:                       US 6,502,135 C1
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        Issued:              Dec. 31, 2002                                                             (Continued)
        Appl. No.:           09/504.783
        Filed:               Feb. 15, 2000                              Primary Examiner Andrew L Nalven
Certificate of Correction issued Sep. 9, 2003.                          (57)                   ABSTRACT
                Related U.S. Application Data                           A plurality of computer nodes communicate using seem
                                                                        ingly random Internet Protocol source and destination
(63) Continuation of application No. 09/429,643, filed on Oct.          addresses. Data packets matching criteria defined by a mov
     29, 1999, now Pat. No. 7,010,604.                                  ing window of valid addresses are accepted for further
(60) Provisional application No. 60/106,261, filed on Oct. 30,          processing, while those that do not meet the criteria are
        1998, and provisional application No. 60/137.704, filed on      quickly rejected. Improvements to the basic design include
        Jun. 7, 1999.                                                   (1) a load balancer that distributes packets across different
(51) Int. Cl.                                                           transmission paths according to transmission path quality;
     G06F 5/73                  (2006.01)                               (2) a DNS proxy server that transparently creates a virtual
                                                                        private network in response to a domain name inquiry; (3) a
(52) U.S. Cl. ......................... 709/225; 709/229; 709/245       large-to-Small link bandwidth management feature that pre
(58) Field of Classification Search ................... 709,225         vents denial-of-service attacks at System chokepoints; (4) a
        See application file for complete search history.               traffic limiter that regulates incoming packets by limiting the
                                                                        rate at which a transmitter can be synchronized with a
(56)                    References Cited                                receiver; and (5) a signaling synchronizer that allows a large
                  U.S. PATENT DOCUMENTS                                 number of nodes to communicate with a central node by
                                                                        partitioning the communication function between two sepa
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                                                            100
                                                   ORIGINANG
                                                    TERMINA




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                                                   ROUTER
                                                                29
                                                       P
                                                     ROUER




                                                                                               10
                                               ENCRYPTION KEY                            DESTNATON
                                                                                          TERMINAL




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                                                   US 6,502,135 C1
                 1.                                                                           2
           INTERPARTES                                              (1) generating from the client computer a Domain Name
    REEXAMINATION CERTIFICATE                                          Service (DNS) request that requests an IP address cor
      ISSUED UNDER 35 U.S.C. 316                                       responding to a domain name associated with the tar
                                                                      get computer,
       THE PATENT IS HEREBY AMENDED AS
              INDICATED BELOW.                                    (2) determining whether the DNS request transmitted in
                                                                     step (1) is requesting access to a secure web site, and
   Matter enclosed in heavy brackets appeared in the              (3)  in response to determining that the DNS request in
patent, but has been deleted and is no longer a part of the
patent; matter printed in italics indicates additions made 10        step (2) is requesting access to a secure target website,
to the patent.                                                       automatically initiating the VPN between the client
AS A RESULT OF REEXAMINATION, IT HAS BEEN
                                                                     computer and the target computer; wherein.
   DETERMINED THAT:                                            steps (2) and (3) are performed at a DNS server separate
                                                            15 from the client computer; and step (3) comprises the step of
   The patentability of claims 1-10 and 12 is confirmed.       prior to automatically initiating the VPN between the client
   New claim 18 is added and determined to be patentable.      computer and the target computer; determining whether the
                                                               client computer is authorized to resolve addresses of non
   Claims 11 and 13-17 were not reexamined.                 2O secure   target computers and, if not so authorized, returning
   18. A method of transparently creating a virtual private    an  error  from the DNS request.
network (VPN) between a client computer and a target
computer; comprising the steps of




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                        CERTIFICATE OF SERVICE

      I, Naveen Modi, hereby certify that on August 22, 2022, the foregoing

brief was filed using the Court’s CM/ECF system and a copy served on the

parties’ counsel of record via ECF.



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      CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME
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